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           EXHIBIT E
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                                                                                          Date of               Form of
                                                                                        Acceptance:           Arbitration
                                                                     Employment Status/  Arbitration          Agreement
            Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
    Abazie                     Uloaku                   3/26/2018             7/17/2018         3/29/2018   TTEC
    Abdurrahman                Latifah                   9/6/2018              1/7/2019         9/28/2018   TTEC
    Ables                      Libby                    7/29/2016            11/15/2016        11/10/2014   TTEC
    Abney-Hill                 Ayanna                   5/15/2017             2/27/2019         5/19/2017   TTEC
    Abram                      Asia                     8/13/2018             2/26/2019        12/27/2018   TTEC
    Abrams                     Debbie                    9/5/2017             9/18/2017          9/5/2017   TTEC
    Abrams                     Nancy                   10/28/2016            11/21/2016        10/28/2016   TTEC
    Acosta                     Syretta                  7/22/2019   Current Employee            9/13/2019   TTEC
    Adair                      Erica                    5/15/2017   Current Employee            5/25/2017   TTEC
    Adams                      Brittany                 10/6/2017   Current Employee            10/6/2017   TTEC
    Adams                      Chara                    5/15/2017            12/31/2017         5/23/2017   TTEC
    Adams                      Ella                     2/11/2016             9/30/2016         9/11/2019   Taleo
    Adams                      Jackie                  12/11/2017             4/23/2018         2/27/2017   TTEC
    Adams                      Jessica                  4/17/2017              5/1/2017         7/23/2019   Taleo
    Adams-Seland               Michelle                10/14/2016             5/16/2017        10/17/2016   TTEC
    Addis                      Deanna                   8/13/2019             8/13/2019          8/5/2019   Taleo
    Addison                    Neeley                   11/8/2018              8/9/2019         11/8/2018   TTEC
    Adek                       Daniel                   5/15/2017             6/17/2018         5/19/2017   TTEC
    Adenusi                    Ebonee                    1/2/2018              5/7/2018          1/3/2018   TTEC
    Adkins                     Chelsea                   1/2/2018              1/4/2019          1/3/2018   TTEC
    Adkins                     Sherrion                 10/9/2017            12/29/2017        10/11/2017   TTEC
    Adkisson                   Shari                    9/18/2017              1/9/2018        11/17/2014   TTEC
    Agee                       Quenton                  8/19/2016            12/30/2016         9/17/2015   TTEC
    Akin                       Travis                    9/2/2016             4/27/2017         8/15/2014   TTEC
    Al Dabbagh                 Faisal                   9/11/2017             5/12/2018         9/21/2017   TTEC
    Alamreeyn                  Wandra                   8/19/2019   Current Employee            8/20/2019   TTEC
    Alaniz                     Rebecca                  7/10/2017             2/20/2019         10/1/2018   TTEC
    Aldridge                   Renaldo                   1/8/2018             6/28/2018          1/8/2018   TTEC
    Alejandro                  Alexis                    4/2/2018             5/22/2019         4/13/2018   TTEC
    Alexander                  Kenrica                   8/6/2018   Current Employee            11/1/2013   TTEC
    Alexander                  Maria                   12/17/2018             4/18/2019        12/17/2018   TTEC
    Alexander                  Shakayla                 8/28/2017             4/26/2018         8/29/2017   TTEC
    Alexis                     Judith                    8/5/2019             9/12/2019         7/30/2019   Taleo
    Alkhazov                   Olesia                    4/8/2019              5/1/2019         4/10/2019   TTEC
    Allard                     Deborah                   3/9/2018             3/19/2018          9/8/2014   TTEC
    Allen                      Brandi                   9/17/2018            12/26/2018         9/17/2018   TTEC
    Allen                      Gia                      8/29/2018             11/8/2018          9/6/2018   TTEC
    Allen                      Robin                   11/20/2017             11/1/2018        11/20/2017   TTEC
    Allen                      Elise                    7/17/2017             1/11/2018          7/5/2019   TTEC
    Allen-Woods                Keyonna                   1/7/2019             4/15/2019         5/30/2017   TTEC
    Almond                     Charity                   7/9/2018             3/15/2019         9/17/2018   TTEC
    Alston                     Cindy                    8/29/2018            12/13/2018          6/6/2017   TTEC
    Alston - Foster            Yolanda                  5/15/2017              4/1/2019         5/23/2017   TTEC
    Altro                      Frank                    3/25/2019   Current Employee            7/24/2017   TTEC
    Alvarez                    Jessenia                 8/14/2017             9/14/2017         8/14/2017   TTEC
    Amaya                      Miaya                    11/7/2018            12/10/2018        11/14/2018   TTEC
    Amerio                     Bibi-Shamina            10/15/2018             3/28/2019          3/7/2019   TTEC


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                                                                                          Date of               Form of
                                                                                        Acceptance:           Arbitration
                                                                     Employment Status/  Arbitration          Agreement
            Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
    Amick                      Barbara                  11/7/2018             3/15/2019        11/14/2018   TTEC
    Amisial                    Renise                   7/26/2019   Current Employee            7/31/2019   TTEC
    Anderson                   Bryanna                  2/11/2019              6/3/2019         2/12/2019   TTEC
    Anderson                   Casey                    7/30/2018             12/7/2018         10/4/2018   TTEC
    Anderson                   Germaine                 4/10/2017             4/19/2017         4/12/2017   TTEC
    Anderson*                  Jennifer                 10/2/2017             1/28/2019         10/2/2017   Revana
    Anderson*                  Jennifer                11/27/2017             7/20/2018        11/30/2017   TTEC
    Anderson                   June                     7/17/2017             9/14/2017         7/18/2017   TTEC
    Anderson                   Lila                     3/27/2017             3/27/2017        10/15/2015   TTEC
    Anderson                   Monica                   8/29/2018             3/22/2019          9/7/2018   TTEC
    Anderson                   Synoria                  6/24/2019   Current Employee            6/24/2019   TTEC
    Anderson                   Teniesha                 12/5/2016             1/12/2017         12/5/2016   TTEC
    Anderson                   Zella                   11/27/2017              6/5/2018        11/28/2017   TTEC
    Andino                     Yarjeliz                 8/28/2017            12/10/2018         11/6/2017   TTEC
    Andres                     Lois                     9/28/2016            10/10/2016        10/19/2015   TTEC
    Andrews                    Crystal                  8/21/2017             1/25/2018         8/24/2017   TTEC
    Andrews                    Kenneth                  6/19/2017             4/30/2018         12/1/2014   TTEC
    Andrews                    Tarik                    5/15/2017             9/18/2017         5/26/2017   TTEC
    Andrews-Carter             Brandy                   9/17/2018            12/27/2018         9/17/2018   TTEC
    Andruskiwec                Rebecca                  5/30/2017             5/30/2017         7/19/2017   TTEC
    Angelo                     Gina                     8/19/2016              3/9/2017         9/17/2015   TTEC
    Annable                    Jackquline                7/3/2017            12/18/2017         8/24/2017   TTEC
    Antoine                    Catherine                5/15/2017   Current Employee            5/25/2017   TTEC
    Anyanwu                    Esther                    9/3/2019   Current Employee             9/6/2019   TTEC
    Aponte                     Carmen                    1/7/2019             9/10/2019          1/7/2019   TTEC
    Aponte-Randolph            Shenequa                 7/15/2019   Current Employee            7/22/2019   TTEC
    Arbuckle                   Jeffrey                  8/13/2019             8/26/2019         8/14/2019   TTEC
    Ardelean                   Carol                    10/9/2017   Current Employee           10/10/2017   TTEC
    Aris                       Wilny                    11/1/2017             1/25/2018         11/1/2017   TTEC
    Armando Garranchan         Jean                     8/12/2019   Current Employee            8/15/2019   TTEC
    Armstrong                  Alichia                  9/11/2017            10/18/2017        10/26/2016   TTEC
    Arnett                     Randi                    11/2/2015             7/18/2016         11/3/2015   TTEC
    Arnold                     Amber                   11/17/2017             1/18/2018          3/7/2016   TTEC
    Arrambide                  Norma                   10/23/2017            11/15/2017          8/3/2017   TTEC
    Arrington                  Caitlyn                  7/15/2019   Current Employee            7/15/2019   TTEC
    Arrowood-Tate              Samantha                 10/8/2018             1/24/2019         10/9/2018   TTEC
    Asfaha                     Wintana                  7/29/2019   Current Employee            9/16/2019   TTEC
    Asongwe                    Clement                  9/24/2018            11/22/2018         9/24/2018   TTEC
    Atencio                    Dennis                   6/27/2019   Current Employee           12/10/2018   TTEC
    Attieh                     Richard                  5/15/2017             7/10/2017         5/19/2017   TTEC
    Atwater                    Linda                     8/9/2019   Current Employee            8/15/2019   TTEC
    Aunspaugh                  Erica                   10/24/2016             1/16/2017        10/25/2016   TTEC
    Austin*                    Crystal                 10/14/2016            10/14/2016        11/16/2015   TTEC
    Austin*                    Crystal                  9/17/2018            12/27/2018         9/21/2018   TTEC
    Austin-James               Justina                  9/25/2017            12/21/2017         9/25/2017   TTEC
    Autrey                     Marianna                 8/27/2018   Current Employee            9/18/2018   TTEC
    Avila                      Erika                    9/25/2017             7/26/2018         9/25/2017   TTEC


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                                                                                          Date of               Form of
                                                                                        Acceptance:           Arbitration
                                                                     Employment Status/  Arbitration          Agreement
             Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
    Ayres                      Krystal                 11/27/2017            12/11/2017        11/27/2017   TTEC
    Babb                       Terry                    6/17/2019             8/12/2019         7/10/2019   TTEC
    Babers                     Leslie                   7/31/2017             9/12/2017         7/31/2017   TTEC
    Baca                       Patrick                  7/18/2019   Current Employee            7/23/2019   TTEC
    Bailey                     Andrew                   9/11/2017             5/27/2019        10/16/2017   TTEC
    Bailey                     Asia                     5/15/2017              1/1/2018          1/4/2017   TTEC
    Bailey                     Donna                     6/3/2019   Current Employee            5/22/2017   TTEC
    Bailey                     Kristen                  8/16/2018             1/25/2019          9/4/2018   TTEC
    Bailey                     Laurie                   8/26/2016              3/2/2017        12/11/2017   TTEC
    Bailey                     Myrties                  5/14/2018             3/31/2019          6/6/2018   TTEC
    Bailey                     Rachel                   9/10/2018            12/10/2018         9/13/2018   TTEC
    Bailey                     Rose                    10/23/2017             4/15/2018        10/24/2017   TTEC
    Bailey                     Tylisha                   9/4/2018             9/25/2018         10/6/2016   TTEC
    Baker                      Akyra                   10/15/2018             1/31/2019        10/15/2018   TTEC
    Baker                      Chastity                 9/26/2016            11/11/2016          1/5/2017   TTEC
    Baker                      Fashionnett              8/21/2017            10/30/2017         8/24/2017   TTEC
    Baker                      Jaquitta                11/13/2018             2/28/2019         3/20/2017   TTEC
    Baker                      Marianna                  3/6/2014             5/15/2017         8/14/2017   TTEC
    Baldwin                    Eric                     12/3/2018   Current Employee            12/3/2018   TTEC
    Baldwin                    Shannon                 11/27/2017              4/2/2018        11/27/2017   TTEC
    Ball                       Tyreonna                 5/15/2017            12/31/2017         5/25/2017   TTEC
    Ballard                    Ashley                    9/4/2018             5/21/2019          9/4/2018   TTEC
    Bankhead                   Leslie                   9/11/2017             3/26/2018        10/19/2017   TTEC
    Banks                      Alicia                   7/26/2019              9/5/2019          8/9/2018   TTEC
    Banks                      Chastity                 10/2/2017            11/30/2017        10/24/2017   TTEC
    Banks                      John                     8/26/2016             2/22/2017        11/24/2015   TTEC
    Banks                      John                     8/26/2016             2/22/2017        11/24/2015   TTEC
    Banks                      Patricia                 7/29/2016             9/18/2016         8/21/2014   TTEC
    Banks                      Valencia                 8/26/2016              2/3/2017         9/17/2018   TTEC
    Banks                      Wanessa                 10/16/2017             2/19/2018        10/16/2017   TTEC
    Banner                     Kristy                  10/20/2017             12/6/2017        11/22/2017   TTEC
    Barber                     Lachelle                 10/1/2018             4/12/2019         10/1/2018   TTEC
    Barber                     Lobuitka                 10/7/2016            10/25/2016         8/28/2015   TTEC
    Barbour                    Thomas                   9/18/2017            11/21/2018        10/19/2017   TTEC
    Barfield                   Jasmyne                 10/15/2018            11/20/2018        10/16/2018   TTEC
    Barfield                   Lashon                   8/26/2019             8/26/2019         8/21/2019   Taleo
    Barich                     Jami                    12/20/2016              1/5/2017         7/23/2018   TTEC
    Barker                     Myesha                   4/22/2019              8/7/2019         4/24/2019   TTEC
    Barlow                     Jordan                  10/30/2017              1/9/2018        10/30/2017   TTEC
    Barnes                     Connie                   2/27/2017             7/24/2017        12/10/2018   TTEC
    Barnes                     Earl                      8/3/2018             10/8/2018         8/22/2018   TTEC
    Barnes                     Sakhya                  10/29/2018             4/17/2019        11/26/2018   TTEC
    Barnett II                 Edward                   1/15/2018              2/4/2019         1/15/2018   TTEC
    Barnette                   Gloria                   9/18/2017            10/25/2018         9/18/2017   TTEC
    Barnette                   Jennifer                11/13/2017             10/8/2018        11/13/2017   TTEC
    Barnette                   Kimberly                 5/15/2017   Current Employee            7/11/2019   TTEC
    Barnhart                   Zhainer                 12/22/2016              5/1/2017         9/25/2017   TTEC


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                                                                                          Date of               Form of
                                                                                        Acceptance:           Arbitration
                                                                     Employment Status/  Arbitration          Agreement
            Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
    Barrett                    Belinda                  8/19/2019   Current Employee            8/20/2019   TTEC
    Barrett                    Oshay                    5/15/2017            10/30/2018         5/19/2017   TTEC
    Barry                      Amy                     11/19/2018            12/26/2018        11/26/2018   TTEC
    Barsosky                   John                    11/19/2018             2/20/2019        11/28/2018   TTEC
    Bartholomew                Brenda                    9/6/2018              5/3/2019         9/10/2018   TTEC
    Bartholomew                Whitney                  4/23/2018             1/29/2019         4/24/2018   TTEC
    Barton                     Dana                     10/4/2017            10/26/2017         10/6/2017   TTEC
    Barton                     Raven                    11/5/2018             3/13/2019         11/7/2018   TTEC
    Bass                       Mary                     8/26/2016            10/24/2016         8/29/2016   TTEC
    Bateman                    Freda                    10/9/2017            12/22/2017         10/9/2017   TTEC
    Bates                      Ann                      8/14/2017             8/30/2017         12/2/2014   TTEC
    Bates                      Margaret                 11/5/2018             9/11/2019         11/5/2018   TTEC
    Bates                      Marisha                  10/7/2016            11/28/2016        11/21/2011   TTEC
    Bates                      Nornekia                 5/15/2017              6/9/2017        10/12/2010   TTEC
    Bates                      Tosha                    7/29/2016             7/29/2016         8/22/2016   TTEC
    Batista                    Dave                      3/4/2019              9/9/2019          3/5/2019   TTEC
    Batiste                    Loretta                  8/17/2018              1/4/2019         8/20/2018   TTEC
    Battles                    Keith                    9/29/2017             11/2/2017         11/2/2015   TTEC
    Baum                       Londa                     4/2/2018             4/23/2018         1/17/2018   TTEC
    Bays                       Elena                   10/30/2017              1/5/2018        10/30/2017   TTEC
    Bean                       Matthew                  8/21/2017              9/7/2018         8/22/2017   TTEC
    Beard                      Tania                    8/28/2017             4/16/2018          9/8/2017   TTEC
    Bearden                    Elizabeth                2/28/2019             7/17/2019          4/3/2019   TTEC
    Beasley                    Linda                    7/22/2016   Current Employee             9/4/2018   TTEC
    Beattie                    Ashley                   1/29/2018            10/12/2018         1/29/2018   TTEC
    Beattie                    Sondra                   7/31/2017             3/22/2019          8/4/2017   TTEC
    Becknell                   Audrey                   9/11/2017             7/24/2018         7/16/2018   TTEC
    Beede                      Jason                    9/25/2017            11/16/2017         9/25/2017   TTEC
    Behrens                    Kelly                    7/18/2019   Current Employee            8/15/2018   TTEC
    Beisel                     Heather                  12/3/2018   Current Employee            12/3/2018   TTEC
    Bell                       Cindi                     9/5/2017             3/15/2019         6/26/2018   TTEC
    Bell                       Florene                  6/11/2018            10/19/2018         6/12/2018   TTEC
    Bell                       Leonette                12/17/2018              5/4/2019        12/17/2018   TTEC
    Bell                       Melissa                  6/10/2019             8/21/2019         6/10/2019   TTEC
    Benfield                   Alisha                   7/17/2017             9/17/2019         7/17/2017   TTEC
    Benjamin                   Noel                     7/16/2018            12/10/2018         8/27/2018   TTEC
    Benjamin                   Paulette                11/13/2017              6/3/2018        11/22/2017   TTEC
    Bennett                    Debra                    3/24/2014             9/16/2016         3/31/2014   TTEC
    Bennett                    Jeraldine                5/15/2017             6/21/2018         5/25/2017   TTEC
    Bennett                    Kimberly                  6/5/2017             6/19/2017         8/27/2019   TTEC
    Bennett                    Tamara                   7/29/2019              8/2/2019         7/22/2019   Taleo
    Benton                     Shimesia                 6/12/2017             6/12/2017         9/18/2017   TTEC
    Benton                     Traci                    7/16/2018            10/17/2018         7/16/2018   TTEC
    Berlin                     Stacie                    7/8/2019              7/8/2019         8/15/2014   TTEC
    Bernard                    Gay                       9/3/2019   Current Employee            8/27/2019   Taleo
    Berrios                    Leeann                   5/15/2017              2/5/2018          6/9/2017   TTEC
    Berry                      Wendi                   11/17/2017            12/21/2017        11/22/2017   TTEC


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             Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
    Bertha                     Donnell                  1/15/2018             2/16/2018         1/16/2018   TTEC
    Bertolino                  Laura                    10/9/2017              1/4/2018         10/9/2017   TTEC
    Bess                       Beverly                  8/28/2017             5/21/2018         8/29/2017   TTEC
    Bharath                    Eleanor                  9/18/2017             12/1/2017         9/19/2017   TTEC
    Bibbs                      Antuan                  10/23/2017             4/15/2019        10/25/2017   TTEC
    Bigbee                     Kaneitha                 8/27/2018             12/7/2018         9/17/2018   TTEC
    Bigbee                     Makeya                    1/7/2019              1/7/2019         9/17/2018   TTEC
    Biggs                      Kristina                 9/11/2017              3/6/2018         9/14/2017   TTEC
    Biggs                      Melissa                  9/10/2018             12/8/2018         10/8/2018   TTEC
    Bilas                      Diane                    5/15/2017             9/20/2017         5/25/2017   TTEC
    Bilbrew                    Deloris                   2/3/2014             2/13/2017          9/5/2017   TTEC
    Birchfield                 Kristi                   5/13/2019             8/26/2019         5/16/2019   TTEC
    Bivins                     Twanna                   8/27/2018   Current Employee            8/28/2018   TTEC
    Bixler                     Teresa                  10/12/2016            12/22/2016         8/11/2015   TTEC
    Black                      Michael                   9/2/2016             4/22/2017          9/6/2016   TTEC
    Blackburn                  Austin                   8/27/2018             12/3/2018         8/27/2018   TTEC
    Blackburn                  Stephen                  12/3/2018              1/7/2019         12/6/2018   TTEC
    Blackmon                   Juanita                  5/15/2017             2/27/2019         5/25/2017   TTEC
    Blade                      Matthew                 11/19/2018   Current Employee           11/26/2018   TTEC
    Blair                      Diana                   10/14/2016             12/1/2016        10/17/2016   TTEC
    Blake                      Kiera                    8/28/2017            12/10/2017         9/20/2017   TTEC
    Blake                      Marvin                   9/17/2018             4/22/2019         9/20/2018   TTEC
    Blake                      Nan                     10/30/2017             3/14/2019         11/6/2017   TTEC
    Blakeney                   Chamoine                 6/19/2017             3/14/2018         6/21/2017   TTEC
    Blakley                    Raymond                  7/31/2017            10/27/2017         7/31/2017   TTEC
    Blalock                    Doris                    7/29/2019   Current Employee             9/5/2018   TTEC
    Blanchard                  Kimberly                10/14/2016              8/9/2018        10/14/2016   TTEC
    Blanco                     Sheryll                  9/18/2017              2/1/2018         9/19/2017   TTEC
    Blayney                    Jeffrey                 10/29/2018             2/12/2019        11/23/2018   TTEC
    Blugh                      Marlon                   5/15/2017             12/7/2017         5/19/2017   TTEC
    Boatman                    Shmequa                  3/28/2016              8/2/2016         3/28/2016   TTEC
    Bodie                      Kirkland                 10/5/2017            10/30/2017         4/14/2017   TTEC
    Boe                        Justin                  10/11/2018            10/29/2018        10/11/2018   TTEC
    Boehlke                    Paulette                10/29/2018            11/29/2018         11/2/2018   TTEC
    Boerigter                  Anthony                  6/17/2013   Current Employee             5/8/2019   TTEC
    Boise                      Leigh                    6/25/2018              8/1/2018         6/25/2018   TTEC
    Bombard                    Joshua                   9/26/2016            10/11/2016         9/15/2014   TTEC
    Bond                       Lisa                     6/17/2019             7/15/2019         6/20/2019   TTEC
    Bond                       Shawne                   9/25/2017             2/23/2018         9/28/2017   TTEC
    Bonilla                    Jackie                   5/15/2017   Current Employee            5/23/2017   TTEC
    Bonne                      Alfredo                   9/9/2016            12/26/2018         7/16/2018   TTEC
    Bonne                      Alfredo                   9/9/2016            12/26/2018         7/16/2018   TTEC
    Bonsal                     Kayla                    8/26/2016             9/13/2016         8/26/2016   TTEC
    Booher                     Martha                  10/14/2016             1/15/2019        10/24/2016   TTEC
    Boone                      Shailia                 10/11/2018            11/29/2018        12/28/2018   TTEC
    Borha                      Ehidiamhen               1/21/2019             1/22/2019         7/23/2018   TTEC
    Borough                    Brennah                  3/13/2017             3/23/2017         3/13/2017   TTEC


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                                                                                         Date of                Form of
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                                                                    Employment Status/  Arbitration           Agreement
            Last Name               First Name      Date of Hire   Assignment End Date Agreement               Accepted
    Borrero                    Omar                      6/3/2019           6/26/2019            6/6/2019   TTEC
    Borts                      Paul                      8/2/2018           12/7/2018            8/2/2018   TTEC
    Borts                      Susan                    8/26/2019 Current Employee               8/3/2018   TTEC
    Bostick                    Jerrell                   7/2/2018            8/4/2018            7/2/2018   TTEC
    Boston                     Rochelle                 8/27/2018            4/9/2019           8/27/2018   TTEC
    Boucher                    Emily                     9/2/2016           3/26/2019            9/2/2016   TTEC
    Bove                       Dominique                8/22/2019           8/22/2019          11/20/2018   TTEC
    Bowden                     Gus                      5/15/2017          12/31/2017           5/26/2017   TTEC
    Bowden                     Mary                     7/30/2018            8/1/2018           10/9/2018   TTEC
    Bowers                     Randall                  3/11/2019            4/1/2019           3/11/2019   TTEC
    Bowie                      Brittany                 8/12/2019           9/23/2019           7/30/2019   Taleo
    Bowling                    Clarence                  8/2/2018           9/24/2018            8/2/2018   TTEC
    Bowman                     Chelsea                  7/29/2016          12/26/2016           3/18/2016   TTEC
    Bowman                     Gwendolyn               10/23/2018           7/29/2019            3/7/2019   TTEC
    Bowman                     Jamila                   10/8/2018           4/15/2019           10/8/2018   TTEC
    Bowman                     Janet                    5/30/2017           7/27/2017           5/30/2017   TTEC
    Bowman                     Latonya                  8/16/2018           1/15/2019           8/16/2018   TTEC
    Bowman                     Shiann                   7/18/2019           9/17/2019           7/19/2019   TTEC
    Bowyer                     Brady                    8/29/2019 Current Employee               9/3/2019   TTEC
    Boyd                       Eunique                  10/2/2017            3/1/2018          10/20/2017   TTEC
    Boyes                      Anaiya                   10/1/2018            9/3/2019           10/1/2018   TTEC
    Boykin                     LaTesha                  9/16/2016            4/4/2017          10/16/2018   TTEC
    Bozeman                    Miesha                  10/28/2016          11/25/2016          10/28/2016   TTEC
    Bradbury Beachel           Marsha                    9/8/2015 Current Employee              9/24/2019   TTEC
    Bradley                    Trakeia                   4/4/2019            8/9/2019            4/5/2019   TTEC
    Bradshaw                   Sam                      8/26/2016            1/9/2017            1/3/2017   TTEC
    Bradshaw                   Tiki                      7/2/2018           8/30/2019           8/14/2018   TTEC
    Brady                      Joseph                   3/13/2017           4/14/2017           3/13/2017   TTEC
    Brady                      Renee                    9/11/2017           1/17/2019           1/10/2018   TTEC
    Branch                     Shahari                  1/23/2017           3/13/2017           1/23/2017   TTEC
    Brasher                    Sandra                   8/12/2019           9/10/2019           1/19/2016   TTEC
    Brassfield                 Melanie                  8/27/2018           9/28/2018            3/7/2014   TTEC
    Brazeal                    Kaila                    8/20/2018           12/9/2018           9/17/2018   TTEC
    Breashears                 Tonya                   10/23/2017           3/15/2019          10/23/2017   TTEC
    Brecheen                   Glenda                  11/27/2017           9/22/2018          10/11/2016   TTEC
    Brecheisen                 Ariadna                  7/29/2016           1/27/2017           7/29/2016   TTEC
    Brett                      Zaida                    7/29/2019           8/28/2019           7/24/2019   Taleo
    Brevard                    Bria                      8/7/2017          12/18/2017            8/8/2017   TTEC
    Brevard                    Takeya                   11/6/2017           8/14/2019           11/9/2017   TTEC
    Brewer                     Jennifer                11/21/2016            4/3/2017          11/21/2016   TTEC
    Brezzel                    Myeisha                  1/14/2019           3/14/2019           1/14/2019   TTEC
    Brice                      Jill                     5/15/2017            3/2/2018           5/19/2017   TTEC
    Brickley                   Amy                       8/6/2018           12/9/2018           9/10/2018   TTEC
    Bridges                    Kiana                    6/11/2018           6/22/2018           6/12/2018   TTEC
    Brittmon                   Amber                     4/4/2019           8/22/2019            4/5/2019   TTEC
    Brockington                Alesha                   9/11/2017           1/25/2018          10/25/2017   TTEC
    Brockington                Ethel                    9/17/2018          10/22/2018           9/24/2018   TTEC


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                                                                                          Date of               Form of
                                                                                        Acceptance:           Arbitration
                                                                     Employment Status/  Arbitration          Agreement
           Last Name              First Name        Date of Hire    Assignment End Date Agreement              Accepted
    Brooker                    Breana                    8/7/2017              1/4/2018         9/24/2018   TTEC
    Brookins                   Shellvonda              11/14/2017             1/15/2018        11/17/2017   TTEC
    Brooks                     Chanelle                 9/17/2018             11/5/2018         9/21/2018   TTEC
    Brooks                     LaVonne                 10/16/2017            10/31/2017        12/20/2017   TTEC
    Brooks                     Maria                     1/3/2017              1/5/2017          1/4/2017   TTEC
    Brooks*                    Stephanie                8/27/2018             9/11/2018        10/30/2018   TTEC
    Brooks*                    Stephanie               11/19/2018             8/20/2019        11/26/2018   TTEC
    Brooks                     Thomas                   4/15/2019             7/29/2019         4/16/2019   TTEC
    Brown*                     Alexia                    8/2/2018   Current Employee             8/3/2018   TTEC
    Brown*                     Alexia                   10/8/2018            10/18/2018         10/8/2018   TTEC
    Brown                      Alma                     5/15/2017            11/15/2017         9/13/2017   TTEC
    Brown*                     Andrea                  12/11/2015             5/31/2017        10/17/2012   TTEC
    Brown*                     Andrea                   7/16/2018             10/1/2018         7/16/2018   TTEC
    Brown                      Arielle                   8/6/2018             8/17/2018         6/25/2018   TTEC
    Brown*                     Ashley                   10/9/2017            10/30/2017        10/12/2017   TTEC
    Brown*                     Ashley                   6/18/2018            10/19/2018         7/30/2018   TTEC
    Brown                      Caprice                 11/20/2017            10/19/2018        11/28/2017   TTEC
    Brown                      Charde                   11/6/2017             12/4/2017         11/6/2017   TTEC
    Brown                      Dakira                  11/12/2018              4/5/2019        11/14/2018   TTEC
    Brown                      Dana                     1/14/2019             5/10/2019         10/5/2018   TTEC
    Brown                      David                   10/15/2018            12/17/2018        10/22/2018   TTEC
    Brown                      Inez                      4/4/2011              9/3/2018          4/4/2011   TTEC
    Brown*                     Jacqueline              10/15/2018            10/15/2018          1/5/2015   TTEC
    Brown*                     Jacqueline               7/18/2019   Current Employee             5/9/2018   TTEC
    Brown                      Janet                    5/30/2017             5/23/2018         5/30/2017   TTEC
    Brown*                     Joseph                   8/13/2018   Current Employee             9/4/2018   TTEC
    Brown*                     Joseph                   9/17/2018            10/24/2018         9/18/2018   TTEC
    Brown                      Kimberly                 3/12/2018             3/23/2019         3/12/2018   TTEC
    Brown                      Loretta                  3/26/2018             5/16/2018         3/26/2018   TTEC
    Brown                      Melinda                   1/7/2019   Current Employee           10/31/2018   TTEC
    Brown                      Najma                    11/2/2015             9/27/2016         11/2/2015   TTEC
    Brown                      Nikkita                  9/23/2016             8/29/2017         9/23/2016   TTEC
    Brown                      Shatonga                  1/2/2018             4/15/2019         1/18/2018   TTEC
    Brown                      Steven                   9/14/2015             4/13/2018          9/4/2013   TTEC
    Brown                      Tanisha                  11/7/2018   Current Employee           11/14/2018   TTEC
    Brown*                     Teresa                   5/14/2018              7/9/2018         5/15/2018   TTEC
    Brown*                     Teresa                   8/13/2018             9/19/2018         8/13/2018   TTEC
    Brown                      Tia                     10/29/2018            11/21/2018        10/29/2018   TTEC
    Brown                      T'Quiesha               10/23/2017            11/26/2018        10/31/2017   TTEC
    Brown                      Tyler                    10/7/2016             9/18/2017         10/8/2016   TTEC
    Brown                      Vaneshia                 9/18/2017             7/10/2019         7/25/2016   TTEC
    Brown                      Zamirra                 10/29/2018             2/19/2019         11/9/2018   TTEC
    Brownlee                   Bobbie                   12/3/2018            12/21/2018         12/7/2018   TTEC
    Brown-Williams             Randon                   5/14/2018             5/22/2019         5/15/2018   TTEC
    Bruening                   Auneva                   9/17/2018             1/31/2019         9/24/2018   TTEC
    Brunson                    Brianna                  6/17/2016             1/31/2019         6/17/2016   TTEC
    Brunson                    William                  6/17/2016             1/31/2019         6/17/2016   TTEC


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                                                                                          Date of               Form of
                                                                                        Acceptance:           Arbitration
                                                                     Employment Status/  Arbitration          Agreement
            Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
    Brunton                    Devon                    8/22/2019              9/6/2019          8/5/2019   Taleo
    Bryant                     Anecia                    9/6/2018            12/21/2018          9/6/2018   TTEC
    Bryant                     Breonna                 10/29/2018              3/8/2019        10/29/2018   TTEC
    Bryant                     Divonye                   8/6/2018             2/11/2019          8/7/2018   TTEC
    Bryant                     LaShaunda                 3/4/2019              8/5/2019          3/4/2019   TTEC
    Bryant                     Robin                    5/15/2017   Current Employee            5/26/2017   TTEC
    Bryant                     Shatyra                   4/1/2019   Current Employee             4/1/2019   TTEC
    Bryant                     Shelondria                9/4/2015   Current Employee            10/1/2018   TTEC
    Bryant-Harris              Kofi                     7/25/2016             1/22/2018         3/18/2016   TTEC
    Brzeski                    Alison                   11/8/2018             3/25/2019         11/8/2018   TTEC
    Buchanan                   Veronica                 12/3/2015              2/2/2018         1/14/2016   TTEC
    Buerger                    Terrill                  11/3/2017              1/4/2018         11/9/2017   TTEC
    Buffalo Heart              Valerie                  8/26/2016             1/30/2017         8/26/2016   TTEC
    Buford                     Latoya                    8/5/2016             1/21/2019          8/5/2016   TTEC
    Buirl                      Dshay                   10/28/2016            11/25/2016         7/21/2014   TTEC
    Bull                       April                     9/5/2017              4/3/2018          9/6/2017   TTEC
    Bullocks                   Khamerance               3/12/2018             9/25/2018         3/13/2018   TTEC
    Bunce                      Raymond                  8/28/2015            11/28/2016         8/31/2015   TTEC
    Bundy, Jr.                 Harry                   12/20/2016              5/2/2017        12/23/2016   TTEC
    Bunn Jr.                   Darryl                   6/26/2017             4/27/2018         6/27/2017   TTEC
    Bunton                     Tifany                  10/29/2018             1/10/2019        10/30/2018   TTEC
    Burden                     Tia                     11/27/2017             4/10/2019        11/27/2017   TTEC
    Burgess                    Brittany                 8/21/2017             9/22/2017         8/22/2017   TTEC
    Burgess                    Karen                    5/15/2017            10/12/2017         5/19/2017   TTEC
    Burgos                     Edna                     8/14/2017             8/25/2017         8/17/2017   TTEC
    Burke                      Brenita                  5/15/2017             5/30/2019         5/25/2017   TTEC
    Burke                      Haley                   12/10/2016            10/13/2017        12/15/2016   TTEC
    Burke                      Patricia                 7/23/2018            12/21/2018         8/22/2018   TTEC
    Burke                      Stacey                   8/29/2018            10/31/2018          9/7/2018   TTEC
    Burkell                    Brian                    10/7/2016             1/30/2017        10/10/2016   TTEC
    Burkert                    Michael                  8/27/2017             12/6/2018         8/30/2017   TTEC
    Burks                      Charles                  6/19/2017             8/16/2017         6/20/2017   TTEC
    Burns                      Anthony                  5/15/2017             8/19/2017         5/23/2017   TTEC
    Burns                      Nanci                     9/6/2018            11/26/2018         9/10/2018   TTEC
    Burns                      Queen                     8/2/2018             8/14/2018          8/3/2018   TTEC
    Burnstine                  Kerri                    10/8/2018             11/1/2018         5/17/2019   TTEC
    Burrell                    Nenita                   11/5/2018            11/30/2018        11/13/2018   TTEC
    Burris-Watson              Johnnie                  8/19/2019   Current Employee            9/16/2019   TTEC
    Burrows                    Margaret                 4/16/2018             9/17/2018          9/1/2017   TTEC
    Bush                       Areh                      8/5/2016            11/11/2016          8/5/2016   TTEC
    Bush                       Barbara                  8/26/2019   Current Employee            8/27/2019   TTEC
    Bush                       Biaca                    9/10/2018              4/9/2019         9/24/2018   TTEC
    Bush                       Janice                   9/11/2017             9/28/2017         7/21/2017   TTEC
    Butler                     Devonne                  7/22/2019   Current Employee            7/26/2019   TTEC
    Butler                     Ebony                    12/6/2018             3/11/2019        12/10/2018   TTEC
    Butler                     Falonna                  9/25/2017            10/30/2017         9/25/2017   TTEC
    Butler                     Johnna                   5/21/2018             5/25/2018         6/11/2018   TTEC


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                                                                                        Date of                Form of
                                                                                      Acceptance:            Arbitration
                                                                   Employment Status/  Arbitration           Agreement
            Last Name             First Name       Date of Hire   Assignment End Date Agreement               Accepted
   Butler                     Shanneatha               3/19/2018           5/10/2018           3/21/2018   TTEC
   Byers                      Brenda                   5/15/2017           6/10/2017           5/19/2017   TTEC
   Bynum                      Frank                    1/14/2019            7/1/2019           1/14/2019   TTEC
   Bynum                      Tiffany                 11/16/2017            5/4/2018          11/21/2017   TTEC
   Byrd                       Bobby                    2/20/2017           4/27/2017           2/21/2017   TTEC
   Byrd                       Kandace                  7/31/2017           7/19/2018           7/31/2017   TTEC
   Cabrera                    Noemi                    5/15/2017           11/3/2017           5/25/2017   TTEC
   Caccia                     Stephanie                 7/2/2018            3/5/2019           9/25/2018   TTEC
   Caldwell                   Ira                      6/11/2018          12/26/2018           6/12/2018   TTEC
   Caldwell                   Michelle                 5/15/2017           8/31/2017           5/23/2017   TTEC
   Calhoun                    Joshua                   7/22/2016           9/18/2016           7/25/2016   TTEC
   Calisto                    Keri                    11/30/2017          12/12/2018           12/1/2017   TTEC
   Calixte                    Tatiana                  7/30/2018           2/21/2019           7/30/2018   TTEC
   Calvert                    Kris                    11/27/2017          12/27/2017           12/4/2017   TTEC
   Camargo                    Brandon                  9/18/2017            6/1/2019          10/16/2017   TTEC
   Campbell                   Bruce                   11/19/2018           1/29/2019          11/29/2018   TTEC
   Campbell                   Elizabeth                9/26/2018           12/7/2018           11/6/2018   TTEC
   Campbell                   Jacqueline                7/5/2016           1/28/2017           1/10/2020   Taleo
   Campbell                   Kenroy                    7/8/2019            8/9/2019           7/11/2019   TTEC
   Campbell                   Miranda                  9/10/2018           9/13/2018           7/31/2017   TTEC
   Campos                     Felicia                  8/12/2019            9/3/2019           7/31/2019   Taleo
   Campos                     Susana                   7/31/2017           1/21/2019          11/25/2017   TTEC
   Cancel                     Jennifer                  9/3/2018 Current Employee               9/5/2018   TTEC
   Canidate                   Peggy                     3/4/2019           4/10/2019            3/4/2019   TTEC
   Cannon                     Leslie                   8/14/2017           1/18/2018           8/14/2017   TTEC
   Cano                       Edgar                    10/1/2018           12/1/2018           10/1/2018   TTEC
   Cansler                    Suzy                     7/31/2017           10/6/2017            8/4/2017   TTEC
   Carey                      Darayia                  8/12/2019           8/22/2019            8/7/2019   Taleo
   Carle                      Byron                   11/20/2018           2/14/2019           12/6/2018   TTEC
   Carmichael                 Zharonda                 8/19/2019 Current Employee              8/20/2019   TTEC
   Carn                       Kaxaphia                12/10/2018           7/19/2019          12/10/2018   TTEC
   Carpenter                  Traniecia                7/30/2018          10/24/2018           8/21/2018   TTEC
   Carr                       Christine                9/21/2017          12/30/2017           9/26/2017   TTEC
   Carranza                   Jorge                    9/25/2017           11/6/2017           9/26/2017   TTEC
   Carrigan                   Crystal                 11/19/2018          12/19/2018          11/26/2018   TTEC
   Carrillo                   Alicia                   7/30/2018           11/9/2018          11/20/2017   TTEC
   Carroll                    Frank                   10/22/2018          10/22/2018          12/11/2018   TTEC
   Carroll                    Laura                    10/8/2018          12/10/2018           7/24/2017   TTEC
   Carroll                    Megan                    7/24/2017           1/16/2018           7/24/2017   TTEC
   Carr-Pruitt                Traci                   10/15/2018           12/7/2018          10/15/2018   TTEC
   Carter                     D'arcy                   9/16/2019 Current Employee             10/18/2017   TTEC
   Carter                     Deborah                 10/24/2016           11/2/2016          10/25/2016   TTEC
   Carter                     John                      4/8/2019            4/8/2019            5/1/2018   TTEC
   Carter                     Karen                    1/14/2019           3/14/2019           1/14/2019   TTEC
   Carter                     Lacangy                   9/6/2018          10/31/2018            9/7/2018   TTEC
   Carter                     Sophie                  11/20/2017            5/1/2018          11/20/2017   TTEC
   Carter-Badie               JaNairia                  3/4/2019           5/23/2019           3/19/2018   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
            Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Caruso                     John                     5/15/2017             4/25/2018         5/19/2017   TTEC
   Castellano                 Margaret                11/20/2017   Current Employee            6/10/2019   TTEC
   Castellanos                Andrew                  10/15/2018            10/29/2018        10/15/2018   TTEC
   Castellanos                Lisa                     4/23/2018             3/26/2019          5/7/2018   TTEC
   Castilleja                 Pourche                  12/4/2017              2/7/2019         12/4/2017   TTEC
   Castillo                   Luis                     4/23/2018   Current Employee            4/25/2018   TTEC
   Castleberry                Emily                   12/29/2015             1/24/2017        12/30/2015   TTEC
   Caston                     Alexandria                8/5/2019   Current Employee            7/31/2019   Taleo
   Castro                     Andrea                   10/1/2018             12/8/2018        10/10/2018   TTEC
   Castro                     Giovani                  5/15/2017              7/6/2017         9/26/2014   TTEC
   Catanzaro                  Carmen                   7/10/2017              3/6/2018         7/10/2017   TTEC
   Causey                     Mary                     11/6/2017            11/12/2018         11/7/2017   TTEC
   Causey                     Serenah                  10/3/2016            10/18/2016         12/5/2016   TTEC
   Celestin                   Marie                    11/5/2018              9/5/2019         11/6/2018   TTEC
   Chacon                     Tedi                    10/26/2017            11/10/2017          8/5/2017   TTEC
   Chadwick                   Elizabeth                8/14/2017             9/15/2017         8/14/2017   TTEC
   Challenger                 Gianni                   12/3/2018              3/7/2019         12/7/2018   TTEC
   Chambers                   Aprilyn                  7/16/2018            12/15/2018         8/13/2018   TTEC
   Chambers                   Kayla                    9/18/2017             11/7/2017         9/18/2017   TTEC
   Chambers                   Sharye                   8/19/2019              9/6/2019         8/13/2019   Taleo
   Chambers                   Susan                    5/15/2017            12/13/2017         5/23/2017   TTEC
   Chambers                   Sharmeney               11/30/2015             4/12/2018        12/18/2015   TTEC
   Chance                     Alaneisha                 2/4/2019              7/2/2019          2/5/2019   TTEC
   Chandler                   Cynthia                  7/18/2019   Current Employee            8/16/2017   TTEC
   Chant                      Eric                     3/18/2019              6/6/2019         3/18/2019   TTEC
   Chapman                    Melba                    8/27/2018            10/12/2018         9/19/2017   TTEC
   Chapman*                   Michele                   2/2/2017             11/9/2018          2/2/2017   TTEC
   Chapman*                   Michele                  9/25/2017            11/10/2017        10/11/2017   TTEC
   Chapman                    Toi                      8/27/2018             9/28/2018         8/29/2018   TTEC
   Chappell                   Chakenna                 9/24/2018              2/3/2019         9/27/2018   TTEC
   Charles                    Ruth                      8/6/2018   Current Employee            8/10/2018   TTEC
   Chase                      Shantel                  1/28/2019             3/19/2019        10/25/2017   TTEC
   Chasse                     Alexis                   8/26/2016             1/30/2017         8/26/2016   TTEC
   Chedda                     Brian                    1/14/2019              9/9/2019         1/14/2019   TTEC
   Chelcher-Isidore           LaToya                    9/3/2018             2/20/2019          9/4/2018   TTEC
   Chenault                   Renata                   7/31/2017            10/27/2017         7/31/2017   TTEC
   Cherry                     Jennifer                  1/2/2018             3/11/2019         1/17/2018   TTEC
   Cherry                     Leon                     8/25/2014             5/12/2017         8/26/2014   TTEC
   Cherry                     Tynette                  8/29/2018             4/10/2019          9/6/2018   TTEC
   Chester                    Vernessa                 10/3/2018            10/15/2018         1/17/2017   TTEC
   Chestnut                   Precious                 3/20/2019              9/6/2019         9/21/2018   TTEC
   Chevalier                  Richard                  4/30/2018             6/18/2018          5/1/2018   TTEC
   Chevalier                  Samantha                 4/30/2018            11/19/2018          5/1/2018   TTEC
   Childress                  Lakia                    7/15/2019   Current Employee            7/18/2019   TTEC
   Chionye                    Sarah                    7/15/2019             8/16/2019         7/18/2019   TTEC
   Chouinard                  Angela                   1/15/2018             2/16/2018         1/16/2018   TTEC
   Christensen                Edmund                    8/7/2017             5/14/2019          8/8/2017   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Christopher                Quintin                   8/6/2018              9/6/2018         8/10/2018   TTEC
   Church                     Stephanie                 8/2/2018             8/14/2018          9/4/2018   TTEC
   Cimpi                      Jasmine                  11/5/2018              1/7/2019         11/6/2018   TTEC
   Cisero                     Shantel                  11/6/2017            11/24/2018        11/27/2017   TTEC
   Clark                      Amanda                    3/1/2010              9/4/2018         4/25/2017   TTEC
   Clark                      Carol                    9/10/2018             9/19/2018         9/10/2018   TTEC
   Clark                      Christopher              6/10/2019             8/13/2019         6/26/2019   TTEC
   Clark                      Latrice                  7/16/2018             8/20/2018         7/16/2018   TTEC
   Clark                      Lisa                     5/22/2017             7/24/2017          6/1/2017   TTEC
   Clark                      Regina                   4/22/2019   Current Employee            4/24/2019   TTEC
   Clark                      Steven                    9/4/2018             10/1/2018         8/26/2016   TTEC
   Clay                       Doris                     6/3/2019              8/9/2019         9/15/2014   TTEC
   Cleavenger                 Samantha                10/17/2016              2/1/2017        10/17/2016   TTEC
   Clemons                    Samiah                   9/18/2017             9/24/2018         9/18/2017   TTEC
   Clewis                     Effie                    9/17/2018             11/5/2018         9/24/2018   TTEC
   Clinton                    Lynetia                  8/20/2018   Current Employee            8/21/2018   TTEC
   Coa                        Laura                    10/1/2018              2/1/2019         10/1/2018   TTEC
   Coakley Gillette           Gena                    10/15/2018             2/13/2019          8/3/2018   TTEC
   Cobb                       Thomas                    9/7/2018             2/25/2019         8/10/2018   TTEC
   Cockerham                  Trenecia                 10/7/2016             1/23/2017         10/8/2016   TTEC
   Colberg                    Rise                     5/15/2017             10/9/2018         5/19/2017   TTEC
   Colbert                    Chassidy                  8/5/2016              1/5/2017          8/5/2016   TTEC
   Cole                       Jennifer                 5/15/2017              7/5/2019         5/23/2017   TTEC
   Cole                       JoAnna                  11/19/2018             2/14/2019        11/26/2018   TTEC
   Cole                       Margie                  11/26/2018             1/31/2019        11/27/2018   TTEC
   Coleman                    Judy                      9/5/2017            12/11/2017          9/5/2017   TTEC
   Coleman                    Olivia                    4/2/2018   Current Employee             4/3/2018   TTEC
   Coleman                    Tarsha                    6/5/2017   Current Employee             6/6/2017   TTEC
   Collazo                    Ricardo                  8/21/2017              8/3/2018         9/19/2017   TTEC
   Collins                    Karina                    9/5/2017             12/4/2017         10/2/2015   TTEC
   Collins                    Marquesha                6/19/2017              8/7/2017         6/20/2017   TTEC
   Collins                    Stacy                   12/19/2016             1/12/2017        10/24/2011   TTEC
   Collins                    Tia                      9/11/2017             10/5/2017         9/27/2017   TTEC
   Colon                      Mario                    5/15/2017             5/29/2018         5/23/2017   TTEC
   Colvin                     Danaya                   7/30/2018             9/11/2018         8/27/2018   TTEC
   Conerly                    Bianca                   9/16/2016              1/3/2019         9/16/2016   TTEC
   Conley                     Justin                   4/23/2018             3/15/2019         4/24/2018   TTEC
   Connor                     Novell                  11/27/2017              3/8/2018        11/27/2017   TTEC
   Conroy                     Sean                    10/15/2018             11/1/2018        10/17/2018   TTEC
   Constant                   Anitha                   8/26/2016            12/21/2016         8/29/2016   TTEC
   Constant                   Johane                   8/26/2016              3/3/2017         8/29/2016   TTEC
   Cooke-Arellano             Lisa                     10/8/2018              5/1/2019        10/23/2012   TTEC
   Cooney                     Jessie                   6/27/2019             8/15/2019         7/11/2019   TTEC
   Cooper                     John                      4/1/2019   Current Employee            7/12/2019   TTEC
   Cooper                     Latrice                  7/29/2016            11/21/2016         7/29/2016   TTEC
   Cooper                     Miranda                   9/9/2019   Current Employee             9/9/2019   TTEC
   Cope                       Taylor                   4/30/2018             6/29/2018          5/1/2018   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Corbett                    KoKeyna                 10/16/2017             3/16/2018        10/23/2017   TTEC
   Cordell                    Heather                 11/13/2018             5/11/2019         10/6/2015   TTEC
   Cordero                    Alexandra               11/27/2017             5/10/2019        10/11/2019   Taleo
   Cordero                    Wanda                    9/11/2017            11/21/2017         9/29/2017   TTEC
   Cordle                     Felecia                   8/5/2016            11/10/2016          8/5/2016   TTEC
   Cordova                    Abigail                  9/11/2017             4/20/2018         9/11/2017   TTEC
   Cornelius                  Myrna                    10/1/2018   Current Employee            10/2/2018   TTEC
   Cortina                    Aaron                    7/10/2017             8/18/2017         7/10/2017   TTEC
   Corvello                   Rebecca                  7/21/2017             7/26/2017         8/26/2016   TTEC
   Cosby                      Brettia                  1/15/2018             7/16/2018         1/15/2018   TTEC
   Cosby                      Zandra                   10/2/2017            11/27/2017         10/3/2017   TTEC
   Cotto                      Lisandra                 8/28/2017            10/27/2017         9/20/2017   TTEC
   Couch                      Accoreia                10/15/2018            11/19/2018        10/16/2018   TTEC
   Couch                      Lakisha                  8/29/2018             4/10/2019          9/6/2018   TTEC
   Coughlan                   Patricia                 8/13/2018             8/21/2018         8/13/2018   TTEC
   Covert                     Dawn                    11/13/2017              2/5/2018        11/22/2017   TTEC
   Cox                        Glenda                   5/15/2017             6/26/2017         5/23/2017   TTEC
   Cox                        Larry                    12/6/2018              1/9/2019         12/6/2018   TTEC
   Cox                        Sandra                    8/2/2018              9/7/2018         8/30/2018   TTEC
   Cox                        Schanan                  6/11/2018             8/17/2018         6/12/2018   TTEC
   Cox                        Susan                   10/14/2016            10/18/2016         9/28/2017   TTEC
   Coyazo                     Marissa                  9/26/2018             12/7/2018        10/15/2018   TTEC
   Craven                     Heather                  10/9/2017             9/17/2018         10/9/2017   TTEC
   Crawford                   Cynthia                   9/3/2019   Current Employee             8/3/2018   TTEC
   Crawford                   Eboni                    1/17/2019             4/12/2019         9/14/2018   TTEC
   Crawford                   Shanice                  9/16/2016              1/2/2017         12/3/2015   TTEC
   Crawford                   Vanessa                  3/19/2018             11/7/2018         3/19/2018   TTEC
   Crawley                    Chabria                  8/31/2018            10/30/2018          9/7/2018   TTEC
   Crayton                    Wakesha                  8/12/2019   Current Employee            8/15/2019   TTEC
   Cremeans                   Michael                 10/23/2017             1/13/2018         7/10/2017   TTEC
   Cretsinger                 Moretta                  12/4/2017             1/25/2018         12/5/2017   TTEC
   Crew                       Laura                   11/12/2018            11/29/2018        11/13/2018   TTEC
   Cribas                     Melanie                  8/14/2017            12/14/2017        10/20/2015   TTEC
   Cribbs                     John                     3/27/2019             8/21/2019         1/11/2017   TTEC
   Crittenden                 David                    8/26/2019   Current Employee            8/26/2019   TTEC
   Croce                      James                    9/18/2017              3/9/2019         9/20/2017   TTEC
   Cross                      Shawnda                   5/7/2018             7/22/2018          5/7/2018   TTEC
   Crouch                     Katie                    8/27/2018             1/31/2019         8/27/2018   TTEC
   Crowder                    Tammy                    11/8/2018              8/9/2019         11/9/2018   TTEC
   Crowell                    Chrischana                1/7/2019             1/11/2019         1/10/2019   TTEC
   Crowley                    Kaelen                   9/17/2018             1/10/2019         9/19/2018   TTEC
   Crown                      Diana                     9/6/2018             5/24/2019         9/10/2018   TTEC
   Crumbey                    Remona                   6/19/2017             2/10/2018         6/19/2017   TTEC
   Crump                      Christopher             12/17/2016            12/17/2016         4/25/2017   TTEC
   Crump                      Clarice                  5/22/2017   Current Employee             6/1/2017   TTEC
   Crump                      LaToya                   9/11/2017            10/18/2017         9/14/2017   TTEC
   Crumpton                   Brittany                11/27/2017             4/10/2019        11/27/2017   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Cruz                       Aneley                    2/4/2019             7/17/2019          2/4/2019   TTEC
   Cruz                       Genesis                 10/30/2017             1/23/2018        10/31/2017   TTEC
   Cruz                       Luz                      5/15/2017             9/14/2018         5/23/2017   TTEC
   Cuenca                     Wilmar                   5/15/2017   Current Employee            5/24/2017   TTEC
   Culbertson                 Matthew                  3/27/2017              8/1/2017         3/27/2017   TTEC
   Culleton                   Dylan                    9/10/2018             10/8/2018        10/19/2017   TTEC
   Cummings                   Madison                  11/3/2016            11/16/2016          7/8/2013   TTEC
   Cunningham                 Stacie                   8/28/2017             12/8/2017        10/31/2017   TTEC
   Cureton                    Jasmine                  5/15/2017             8/31/2017         5/24/2017   TTEC
   Currier                    Lisa                     7/29/2016              9/1/2016         7/29/2016   TTEC
   Cushman                    Christine                 6/5/2018              6/5/2018         9/10/2012   TTEC
   Custer                     Cynthia                  1/29/2018   Current Employee            1/29/2018   TTEC
   Czekalski                  Brock                    3/27/2019             8/27/2019          4/2/2019   TTEC
   DaCosta                    April                    9/21/2017            10/20/2017         1/10/2017   TTEC
   Dalton                     Ericka                    7/2/2018            11/29/2018          8/6/2018   TTEC
   Dameus                     Betena                   9/24/2018            11/22/2018         10/8/2018   TTEC
   Damron                     Amanda                    7/2/2018             7/16/2018          7/2/2018   TTEC
   Danas                      Erika                    7/22/2016             1/30/2017          6/2/2014   TTEC
   Daniel                     Temisha                  7/17/2015             2/25/2019         8/29/2014   TTEC
   Daniels                    Davida                   8/28/2017             5/16/2018         8/29/2017   TTEC
   Daniels                    Marteka                  6/11/2018              9/6/2018         6/12/2018   TTEC
   Daniels                    Yalissa                  11/6/2017             4/27/2018         11/8/2017   TTEC
   Darby                      Andre                    8/28/2017            10/20/2017         9/12/2017   TTEC
   Darby                      Tierra                   9/24/2018             12/8/2018         10/5/2018   TTEC
   Dardick                    Jason                    8/20/2018             12/9/2018         8/22/2018   TTEC
   Darnell                    Sarah                   10/28/2016             1/17/2017         10/2/2017   TTEC
   DaSilva                    Dona                     9/25/2017            12/15/2017         9/28/2017   TTEC
   Daughett                   Harriet                  6/24/2019              9/5/2019         6/25/2019   TTEC
   Davidson                   Antonishia               6/19/2017              7/8/2018         6/21/2017   TTEC
   Davidson                   Leslie                    3/4/2019             7/23/2019          3/4/2019   TTEC
   Davis                      Alexandra                9/18/2017              4/5/2018         9/20/2017   TTEC
   Davis*                     Andrea                  10/14/2016             5/19/2017        10/24/2016   TTEC
   Davis*                     Andrea                   5/15/2017             1/12/2018         5/19/2017   TTEC
   Davis                      Carla                     9/3/2018             9/20/2018          9/6/2018   TTEC
   Davis                      Donna                    3/24/2003   Current Employee           11/23/2012   TTEC
   Davis                      Elizabeth                9/21/2018              3/8/2019         9/26/2018   TTEC
   Davis                      Grant                     8/2/2018             8/14/2018        12/10/2018   TTEC
   Davis                      Jakira                   8/12/2019   Current Employee             8/8/2019   Taleo
   Davis                      Jasmine                   4/1/2019   Current Employee            4/12/2019   TTEC
   Davis                      Judy                     5/15/2017              4/5/2018         9/12/2017   TTEC
   Davis                      Katina                  11/12/2018            11/21/2018        11/13/2018   TTEC
   Davis*                     Kimberly                  9/5/2017             12/3/2017          1/9/2017   TTEC
   Davis*                     Kimberly                 5/21/2018             5/21/2018         6/28/2018   TTEC
   Davis                      Kimberlyn                5/21/2018             5/21/2018         6/28/2018   TTEC
   Davis                      Latasha                   8/6/2018             9/25/2018          8/9/2018   TTEC
   Davis                      Layah                    9/26/2018              2/5/2019         1/10/2019   TTEC
   Davis*                     Melissa                   9/9/2016             7/25/2018         2/27/2017   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Davis*                     Melissa                 10/25/2016            10/18/2017         2/10/2017   TTEC
   Davis                      Michael                   9/5/2017             2/21/2018          9/6/2017   TTEC
   Davis                      Pam                      7/22/2019   Current Employee            7/23/2019   TTEC
   Davis                      Royace                   5/15/2017             6/13/2018         6/23/2017   TTEC
   Davis                      Sierra                   11/6/2017             7/10/2018         11/7/2017   TTEC
   Davis                      Siobhan                  2/20/2017             2/28/2017         10/7/2013   TTEC
   Davis                      Takeisha                 3/20/2019             3/20/2019        11/12/2018   TTEC
   Davis                      Tanisha                  8/16/2018             10/1/2018         8/16/2018   TTEC
   Davis*                     Wanda                   10/15/2018            12/17/2018        10/19/2018   TTEC
   Davis*                     Wanda                   11/12/2018   Current Employee           11/13/2018   TTEC
   Davis                      Tremain                  8/19/2019             8/19/2019          8/5/2019   Taleo
   Dawdy                      LaDora                   10/2/2017              5/9/2018         10/3/2017   TTEC
   Day                        Debbie                   7/17/2017            11/14/2017         7/17/2017   TTEC
   Day                        Dominique                5/13/2019             6/17/2019          9/7/2018   TTEC
   Day                        Tatianna                 7/31/2017             11/6/2017         12/4/2013   TTEC
   Dayton                     Amanda                   7/22/2019   Current Employee            7/23/2019   TTEC
   Dean                       Jordan                   7/16/2018             3/21/2019         7/16/2018   TTEC
   Dean                       Sharita                 10/16/2017             11/8/2017         12/4/2017   TTEC
   Dearen                     Taylor                   9/16/2016             10/2/2016         9/19/2016   TTEC
   Dearing                    Nanci                    5/15/2017             9/23/2017         5/19/2017   TTEC
   Debose                     Dashawn                  7/10/2017             8/21/2017         7/10/2017   TTEC
   Debose                     Nasha                     1/8/2018             6/26/2018          1/8/2018   TTEC
   Dedeaux                    Breona                    8/6/2018              9/4/2018          8/8/2018   TTEC
   Dees                       Nicole                    4/2/2018             6/17/2019         4/13/2018   TTEC
   Degrate                    Marquisha               12/17/2018             7/30/2019        12/17/2018   TTEC
   Del Racio Navarro-Herman   Maria                    10/8/2018              2/8/2019         10/9/2018   TTEC
   Delgado                    Edgar                     3/4/2019   Current Employee            8/28/2015   TTEC
   Delian                     Nehemie                 11/26/2018             2/26/2019        11/26/2018   TTEC
   Denning                    Kimberly                  7/2/2018             7/16/2018          7/2/2018   TTEC
   Densley                    Kristine                  9/2/2016             1/18/2017         8/27/2013   TTEC
   Derico                     Dorothy                   6/3/2019   Current Employee            10/9/2018   TTEC
   Deronvil                   Birchars                10/14/2016            10/21/2016        10/14/2016   TTEC
   Despenza                   Kendreion                10/9/2017             1/19/2018         10/9/2017   TTEC
   Dessert                    Siearra                  1/13/2014              8/3/2017         1/13/2014   TTEC
   Deuel                      Nikki                   11/21/2016             1/13/2017        11/21/2016   TTEC
   Devora                     Josie                   10/16/2017            12/21/2017        10/23/2017   TTEC
   Dewitt                     Leslie                   9/11/2017            12/11/2017         9/18/2017   TTEC
   Diamond                    Jared                    12/3/2018              1/8/2019         12/6/2018   TTEC
   Diaz                       Antonio                  8/19/2016              2/3/2017         3/27/2017   TTEC
   Diaz                       Janel                     1/8/2019             6/29/2019          1/9/2019   TTEC
   Dickens                    Christine                8/19/2019   Current Employee            8/19/2019   TTEC
   Dickerson                  Lakeisha                  9/9/2019              9/9/2019         9/18/2017   TTEC
   Dickinson                  Vicky                    8/17/2018             8/24/2018        11/28/2017   TTEC
   Dickson                    Stephanie                 7/2/2018            10/15/2018          7/2/2018   TTEC
   DiFatta                    John                     7/18/2019             9/19/2019         7/25/2019   TTEC
   Dillon                     Devin                    5/13/2019             6/19/2019         5/14/2019   TTEC
   Dilloway                   Daniel                   8/27/2018             12/3/2018         8/27/2018   TTEC


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                                                                                         Date of               Form of
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                                                                    Employment Status/  Arbitration          Agreement
            Last Name             First Name       Date of Hire    Assignment End Date Agreement              Accepted
   Dilse                      Mellissa                 7/10/2017             10/4/2017          4/8/2016   TTEC
   Dilts                      Jeremy                   1/15/2018             3/29/2018         1/15/2018   TTEC
   Dimartino                  Jennifer                11/19/2018             3/23/2019        11/28/2018   TTEC
   Dingus                     Darien                  12/10/2016   Current Employee           12/16/2016   TTEC
   Dion                       Carol                    3/27/2019             4/11/2019          4/2/2019   TTEC
   Dixon                      Jazmyn                   9/11/2017              8/4/2018         9/27/2017   TTEC
   Dixon                      LaErica                  6/19/2017            12/11/2017         6/22/2017   TTEC
   Dixon                      Shanquanta               7/15/2019             8/24/2019         7/31/2017   TTEC
   Dixon Cross                Cassandra                3/18/2016             10/6/2016         5/16/2019   TTEC
   Doane                      Danielle                  9/5/2017   Current Employee            1/10/2018   TTEC
   Dobbins                    Raven                    5/15/2017            12/31/2017         6/13/2017   TTEC
   Dodd                       Judy                      8/7/2017             9/13/2019        10/22/2018   TTEC
   Dodson                     JoAnn                   10/24/2018            10/24/2018          7/2/2019   TTEC
   Dominique                  Lindsey                  5/21/2018             11/8/2018          6/6/2018   TTEC
   Donald                     Aaron                    7/23/2018            12/14/2018          9/5/2017   TTEC
   Donley                     Allison                  10/7/2016            11/22/2016         10/7/2016   TTEC
   Doolittle                  Leigh                    8/26/2019             8/26/2019        10/22/2018   TTEC
   Dorden                     Jessica                  8/16/2018             11/2/2018         8/21/2018   TTEC
   Dorsey                     Marcia                  10/15/2018             11/6/2018        10/19/2018   TTEC
   Dotson                     Bobby                    9/18/2017              8/6/2018         1/10/2018   TTEC
   Dotson                     Kimberly                12/10/2018              1/1/2019          5/3/2018   TTEC
   Dotson                     Michelle                 7/10/2017             3/15/2019         8/11/2017   TTEC
   Dotson                     Travis                   5/29/2018             10/4/2018         5/30/2018   TTEC
   Douglas                    Abc'de                  11/20/2017             5/24/2018        11/21/2017   TTEC
   Douglas                    Marie                    5/15/2017              8/7/2018         5/19/2017   TTEC
   Douglas                    Tanekia                  3/26/2018             8/29/2019         3/26/2018   TTEC
   Douglas                    Tricia                   5/15/2017             6/14/2019         5/26/2017   TTEC
   Douglas                    Willie                   8/14/2017              6/5/2018         9/27/2017   TTEC
   Doward                     Monique                   3/2/2017             3/23/2017         2/11/2019   TTEC
   Downa                      Elizabeth                 2/1/2017             4/12/2018          2/1/2017   TTEC
   Dowsey                     Andrew                   6/28/2019   Current Employee             7/9/2019   TTEC
   Doyle                      Richard                 10/15/2018             11/8/2018        10/16/2018   TTEC
   Drake                      Angelica                  9/5/2017             2/28/2018          9/6/2017   TTEC
   Drinkard                   Dorothy                  8/29/2018             3/13/2019          9/6/2018   TTEC
   Drucker                    Alan                     4/10/2017             6/30/2017         4/12/2017   TTEC
   Drye                       Alethea                  5/15/2017             7/19/2017         5/26/2017   TTEC
   Drye-Strother              Kieta                    9/17/2018            11/28/2018         9/19/2018   TTEC
   DuBose                     Catina                   5/15/2017              5/3/2018         5/25/2017   TTEC
   Dubose                     Taneisha                 8/19/2019   Current Employee           10/23/2017   TTEC
   Ducasse                    Leroy                    10/8/2018             4/16/2019         10/8/2018   TTEC
   Duckworth                  Kiycolea                  4/4/2016              4/3/2017         12/2/2015   TTEC
   Dudley                     Salena                   8/26/2016            12/15/2016         8/29/2016   TTEC
   Duffel                     Charles                  8/15/2014             1/20/2017         8/15/2014   TTEC
   Duncan                     Jeffrey                  1/28/2019             3/13/2019          2/1/2019   TTEC
   Duncan                     Misty                     1/9/2017             3/22/2017          1/9/2017   TTEC
   Dunlap                     Ciarra                   5/15/2017   Current Employee            5/25/2017   TTEC
   Dunlap                     Denise                   8/28/2017            10/17/2017         8/29/2017   TTEC


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           Last Name             First Name        Date of Hire   Assignment End Date Agreement               Accepted
   Dunlap                     Jonathan                 8/19/2016          11/20/2016           8/19/2016   TTEC
   Dunn                       Destiny                  8/21/2017           9/22/2017           8/23/2017   TTEC
   Dunn                       Taneshia                 8/19/2019           9/10/2019           8/19/2019   TTEC
   Dunstan                    Ernest                  11/25/2013           5/11/2017          10/29/2015   TTEC
   Durant                     Vanessa                   8/2/2018          11/26/2018          10/17/2019   Taleo
   Durham                     Brittany                 9/24/2018          11/15/2018           9/26/2018   TTEC
   Durham                     Tempestt                 7/15/2019           7/22/2019           5/26/2017   TTEC
   Duvall                     Amanda                   9/11/2017           8/14/2018           9/18/2017   TTEC
   Dyer                       Annette                 10/16/2017          12/19/2017          10/11/2016   TTEC
   Dyer                       Dena                     6/17/2019 Current Employee              8/12/2019   TTEC
   Dyer                       Robert                   9/25/2017           12/8/2018          10/30/2017   TTEC
   Dyess                      Lydell                    8/5/2016          11/14/2016           8/19/2016   TTEC
   Dyson                      Rachael                  7/18/2019 Current Employee              7/19/2019   TTEC
   Ealum                      Theresa                  8/13/2018           8/21/2018           9/27/2017   TTEC
   Earl                       Charrisa                 11/5/2018           5/24/2019           11/6/2018   TTEC
   Ebron                      Shakeita                 7/16/2018           8/12/2019           7/16/2018   TTEC
   Echevarria                 Daisy                   10/23/2017           2/26/2018          10/23/2017   TTEC
   Echeverry                  Normand                  7/29/2016           9/19/2016           8/21/2015   TTEC
   Edinborough                Bernard                  5/15/2017           11/4/2017           5/22/2017   TTEC
   Edmundson                  Katrina                  4/29/2019           5/13/2019            5/2/2019   TTEC
   Edochie                    Patina                   8/10/2015           3/24/2017           8/14/2017   TTEC
   Edwards                    Darrius                  10/7/2016          12/29/2016           8/28/2017   TTEC
   Edwards                    Emily                    3/11/2019            9/4/2019           7/21/2017   TTEC
   Edwards                    Jacob                   11/12/2018           4/30/2019          11/13/2018   TTEC
   Edwards                    Jameicia                  1/8/2018           4/19/2018            1/8/2018   TTEC
   Edwards                    Jasmine                  2/13/2017            5/1/2017           2/13/2017   TTEC
   Edwards                    Justice                  8/22/2016            2/3/2017           12/1/2015   TTEC
   Edwards                    Kaia                     9/21/2017          10/17/2017           9/25/2019   Taleo
   Edwards                    Keisha                   8/15/2014            6/8/2017           8/15/2014   TTEC
   Edwards                    Kiara                    7/30/2018            2/5/2019           7/30/2018   TTEC
   Edwards                    LaQuinta                10/29/2018 Current Employee             10/29/2018   TTEC
   Edwards                    Latoya                   9/24/2018            2/4/2019          11/23/2018   TTEC
   Edwards                    Monesa                    9/4/2018            7/3/2019            9/5/2018   TTEC
   Edwards                    Rosalind                 1/15/2018           2/20/2018           7/30/2018   TTEC
   Edwards                    Sara                     5/15/2017            9/4/2019            8/2/2019   TTEC
   Edwards                    Veronica                  9/6/2013            1/2/2017            9/7/2013   TTEC
   Eichelberger               Tammy                     8/8/2017           8/28/2017           4/13/2017   TTEC
   El                         Iya                     11/13/2018           3/27/2019            3/8/2019   TTEC
   Elam                       Jackie                   5/15/2017           8/31/2017           5/24/2017   TTEC
   Elder                      Juaquina                  9/6/2018          10/18/2018           9/28/2018   TTEC
   Ellerbe                    Demetrice                 8/7/2017          10/16/2017            8/9/2017   TTEC
   Elliott                    Brandon                 10/14/2016           12/8/2016           8/29/2013   TTEC
   Elliott                    Matthew                  3/13/2017           4/27/2017           3/13/2017   TTEC
   Ellis.                     Bradley                  9/25/2017           1/29/2018          10/23/2017   TTEC
   Elswick                    Jessica                   9/5/2017            7/7/2018           9/12/2017   TTEC
   Emilien                    Christina               10/15/2018          11/12/2018          10/19/2018   TTEC
   Engelbrecht                Glenn                     8/6/2018          11/15/2018           9/13/2018   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Engineer                   Bipinchandra              8/9/2019   Current Employee             8/9/2019   TTEC
   England                    Michael                  9/18/2017             3/15/2019         10/2/2017   TTEC
   Engleman                   Brandy                   9/25/2017             10/7/2017        11/24/2014   TTEC
   English                    Tiffany                  8/26/2016            12/16/2016         8/21/2018   TTEC
   Erby                       Barbara                  10/8/2018              2/4/2019        10/21/2019   Taleo
   Ervin                      Felicia                  10/9/2017              8/8/2019         10/9/2017   TTEC
   Escuadra                   Ana                      11/8/2017             7/30/2018         11/8/2017   TTEC
   Escuadra                   Loreida                 11/20/2017             6/18/2019        11/20/2017   TTEC
   Eskola                     Nancy                    8/28/2017            10/15/2017         8/28/2017   TTEC
   Etim                       Queeny                    9/6/2018              6/3/2019         9/10/2018   TTEC
   Eubanks                    Michael                   3/7/2019              4/9/2019         3/29/2019   TTEC
   Evans                      Allan                    8/26/2019   Current Employee           12/11/2017   TTEC
   Evans                      Edith                    7/31/2017   Current Employee            8/10/2017   TTEC
   Evans Donnell              Edward                   8/12/2019              9/9/2019         8/15/2019   TTEC
   Evers                      Thomas                   7/18/2019   Current Employee            7/24/2019   TTEC
   Fair                       Stephanie                9/16/2019   Current Employee            8/22/2019   Taleo
   Faison                     Alexandria              11/14/2017            12/29/2017        11/17/2017   TTEC
   Fanner                     Jamie                   11/19/2018   Current Employee           11/28/2018   TTEC
   Fant                       Brian                    10/8/2018             1/28/2019        10/26/2018   TTEC
   Farmer                     George                   9/17/2018            12/13/2018         4/13/2017   TTEC
   Farms                      Charity                  12/3/2018            12/12/2018         12/6/2018   TTEC
   Farris                     Bonnie                   8/13/2019             8/16/2019         7/26/2019   Taleo
   Feaster                    Lisa                     8/27/2018             9/12/2018         8/28/2018   TTEC
   Fenner                     Starr                   10/12/2016            12/31/2016         9/10/2015   TTEC
   Fennig                     Robert                   7/31/2017              2/8/2018         7/31/2017   TTEC
   Ferguson                   Octavia                  7/16/2018            11/27/2018         7/16/2018   TTEC
   Fida                       Gaetano                   6/3/2019             7/31/2019          6/6/2019   TTEC
   Fiedler                    Muriel                   8/14/2017             8/14/2017         7/29/2019   TTEC
   Fields                     Phyllis                   2/5/2018              6/4/2019          2/5/2018   TTEC
   Fields                     Tiffany                   9/9/2019   Current Employee             9/3/2019   Taleo
   Figueroa                   Trayshawn               10/24/2018            12/31/2018        10/31/2018   TTEC
   Files                      Mary                     3/11/2019             5/20/2019         3/13/2019   TTEC
   Fine                       Joseph                   9/26/2018            11/30/2018        10/17/2018   TTEC
   Finney                     Dyphia                   1/23/2018              3/5/2018         1/31/2018   TTEC
   Fischer                    David                    8/26/2019   Current Employee            1/21/2019   TTEC
   Fish                       Mark                      8/7/2017             12/7/2017         8/17/2017   TTEC
   Fisher                     Gisela                   8/29/2018            10/26/2018          9/5/2018   TTEC
   Fletcher                   Nicole                   8/26/2016             1/27/2017         8/29/2016   TTEC
   Fletcher                   Nicole                    7/1/2019             8/15/2019          7/1/2019   TTEC
   Flores                     Anita                   11/27/2017            12/27/2017        11/27/2017   TTEC
   Flores                     Luis                     8/19/2016             7/26/2017         3/20/2015   TTEC
   Flowers                    Abigail                 10/15/2018             6/20/2019         3/27/2019   TTEC
   Flowers                    Davina                   9/24/2018   Current Employee           10/10/2014   TTEC
   Flowers                    Jakeria                  4/29/2019              7/3/2019         1/18/2019   TTEC
   Flowers                    Tammy                    8/12/2019   Current Employee             8/9/2019   Taleo
   Floyd                      Dianna                   9/26/2018             1/11/2019         11/6/2018   TTEC
   Floyd                      Faye                      6/5/2017              4/9/2018          6/6/2017   TTEC


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                                                                                        Date of                Form of
                                                                                      Acceptance:            Arbitration
                                                                   Employment Status/  Arbitration           Agreement
            Last Name            First Name        Date of Hire   Assignment End Date Agreement               Accepted
   Floyd                      Patricia                 3/25/2019           5/17/2019           3/26/2019   TTEC
   Foots                      Rejia                     5/8/2017           9/29/2017            5/8/2017   TTEC
   Ford                       Catherine               10/23/2017          12/27/2018          10/23/2017   TTEC
   Ford                       Emilee                   11/8/2018            7/8/2019           11/8/2018   TTEC
   Ford                       Francis                  5/15/2017          12/31/2017           5/26/2017   TTEC
   Ford                       Latasha                  5/15/2017           6/19/2019           6/11/2017   TTEC
   Ford                       Shirley                  5/15/2017 Current Employee              5/24/2017   TTEC
   Ford                       Twila                    1/26/2019           3/17/2019          12/11/2017   TTEC
   Fordham                    Edna                     6/11/2018            4/4/2019           6/11/2018   TTEC
   Foster                     Deandre                 11/20/2017            5/5/2018          11/20/2017   TTEC
   Foster                     Tinisha                  6/10/2019           6/11/2019            6/7/2017   TTEC
   Foster                     Tony                    11/27/2017           3/28/2018          11/27/2017   TTEC
   Foster                     Yvonne                   9/21/2018          12/18/2018           9/21/2018   TTEC
   Foston                     Atlanta                  10/9/2017           2/19/2018           10/9/2017   TTEC
   Foulks                     Stephania               11/16/2017           3/29/2018           5/22/2018   TTEC
   Fountain                   Evelyn                   10/7/2016            9/9/2019           10/7/2016   TTEC
   Fox                        Christy                 10/23/2017          11/29/2017          10/24/2017   TTEC
   Fox                        Kasey                    9/10/2018           5/15/2019          10/29/2018   TTEC
   Franceschi                 Jason                    10/1/2018            2/1/2019           10/1/2018   TTEC
   Franco                     Carrie                    7/9/2018            1/9/2019            7/9/2018   TTEC
   Francois                   Jahniyah                 9/17/2018 Current Employee              9/18/2018   TTEC
   Franklin                   Jenice                   9/18/2017           1/19/2018           9/18/2017   TTEC
   Franklin                   Shantell                 10/7/2016           1/16/2017           10/7/2016   TTEC
   Frausto                    Miguel                   8/17/2017           9/18/2017           8/21/2017   TTEC
   Frazier                    Daniella                 8/26/2016          10/12/2016           8/26/2016   TTEC
   Frazier                    Kristin                   8/7/2017          11/21/2017           8/17/2017   TTEC
   Frazier                    Sharnette                 6/2/2014           1/16/2017           9/18/2017   TTEC
   Frederick                  Britney                   9/9/2016           12/8/2016            9/9/2016   TTEC
   Fredericks                 Barbara                   8/7/2017            8/7/2017           8/20/2019   TTEC
   Freeman                    Cheryl                   5/15/2017           8/25/2017           5/30/2017   TTEC
   Freeman                    Georgia                  5/15/2017 Current Employee               6/6/2017   TTEC
   Freeman                    Pamela                   12/5/2018          12/19/2018           11/3/2017   TTEC
   Frey                       Danyel                   7/16/2018          12/27/2018           7/16/2018   TTEC
   Frias                      Alejandro                5/14/2018          10/19/2018           5/14/2018   TTEC
   Frigo                      Christopher              9/26/2017          10/17/2017           4/25/2017   TTEC
   Fry, Jr.                   Donald                    9/5/2017           8/29/2018          12/11/2017   TTEC
   Fugate                     Vanessa                  9/18/2017          10/30/2017           10/9/2017   TTEC
   Fulton                     Trenetha                 9/17/2018           9/27/2018           9/18/2018   TTEC
   Fuqua                      Debra                    9/25/2017           5/11/2018          10/26/2017   TTEC
   Fussell                    Scott                   10/14/2016          10/19/2016          11/12/2015   TTEC
   Gabos                      Julie                    10/1/2018          12/10/2018           10/5/2018   TTEC
   Gaboton                    Kenny                     8/6/2018            8/7/2018           9/20/2018   TTEC
   Gadsden                    Joelle                   4/22/2019            6/7/2019           4/23/2019   TTEC
   Gage                       Kiara                    8/21/2017          12/20/2017           8/21/2015   TTEC
   Gainus                     April                    7/22/2016            4/1/2017           1/14/2014   TTEC
   Gales                      Gayla                     9/4/2018            3/5/2019            9/5/2018   TTEC
   Gammon                     Carrie                   7/24/2017           10/4/2017           7/25/2017   TTEC


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                                                                                         Date of               Form of
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                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Garber                     Chrystal                11/23/2015              8/5/2016        11/24/2015   TTEC
   Garcia                     Emily                    12/4/2017              7/5/2019        12/18/2017   TTEC
   Garcia*                    Jessica                  8/29/2014   Current Employee           10/15/2018   TTEC
   Garcia*                    Jessica                  8/19/2016             12/6/2016         8/14/2015   TTEC
   Garcia*                    Jessica                  8/14/2017             8/18/2017         8/28/2015   TTEC
   Garcia                     Juana                    5/15/2017             5/26/2019         5/25/2017   TTEC
   Garcia                     Lina                    12/11/2017             1/15/2018        12/26/2017   TTEC
   Garcia                     Lisa                     9/11/2017             12/9/2018         9/27/2017   TTEC
   Garcia                     Pamela                   3/26/2018             7/25/2018         3/27/2018   TTEC
   Garcia                     Ramon                   10/16/2017              4/3/2018        10/17/2017   TTEC
   Gard                       Melanie                  7/24/2017             2/14/2019         7/24/2017   TTEC
   Gardner                    Adrianna                 7/18/2019             7/25/2019          9/5/2019   TTEC
   Gardner                    Duncan                   9/14/2015              6/1/2018         9/15/2015   TTEC
   Garner                     Rylee                     9/9/2019   Current Employee             9/3/2018   TTEC
   Garrett                    Deborah                  8/21/2017             9/20/2017         9/25/2015   TTEC
   Garrett                    Jamie                   10/23/2017              3/3/2018        10/24/2017   TTEC
   Garrett                    Jennifer                 8/26/2016             1/11/2017         8/26/2016   TTEC
   Garza IV                   Nicholas                12/10/2018              7/6/2019        12/11/2018   TTEC
   Gaskins                    Vanisa                   5/22/2017              7/9/2018         5/30/2017   TTEC
   Gates                      Avontae                 10/16/2017              1/3/2018        11/15/2017   TTEC
   Gatewood                   Christina                 6/3/2019             6/24/2019        10/29/2018   TTEC
   Gearron III                Welton                    1/2/2018             2/16/2018          1/3/2018   TTEC
   Gembarski                  Zandra                    7/8/2019   Current Employee             7/9/2019   TTEC
   Gensinger                  Linda                    5/21/2018              9/8/2019         5/23/2018   TTEC
   George                     Daniel                   8/13/2018             7/15/2019         8/14/2018   TTEC
   Gethers                    Tina                     7/26/2019   Current Employee             8/2/2018   TTEC
   Ghiloni                    Kevin                    1/15/2018              7/1/2018         1/15/2018   TTEC
   Giannini                   Rebecca-Jo                5/6/2019   Current Employee            5/17/2019   TTEC
   Gibbon                     Jakiya                   1/15/2018             9/19/2018         1/15/2018   TTEC
   Gibson                     David                    9/24/2018            10/25/2018         9/26/2018   TTEC
   Gibson                     Debra                    5/15/2017             12/8/2018         5/19/2017   TTEC
   Gibson                     Mallory                  8/29/2018             10/8/2018          9/6/2018   TTEC
   Gibson                     Shaunte                  9/18/2017             7/26/2018         9/19/2017   TTEC
   Gibson                     Venus                    9/11/2017             1/25/2018         1/11/2018   TTEC
   Gilchrist                  Sakaila                  6/10/2019   Current Employee            6/16/2016   TTEC
   Gildwell                   Cathy                   10/24/2018              2/8/2019        10/31/2018   TTEC
   Gilkes                     Jeremy                   9/11/2017            10/23/2017         4/12/2017   TTEC
   Gill                       Ingram                   5/15/2017             8/31/2017         5/23/2017   TTEC
   Gill                       Sonia                    9/16/2019   Current Employee            6/18/2019   TTEC
   Gilliam                    Matthew                  2/26/2018             6/10/2019         2/26/2018   TTEC
   Gilliam                    Natasha                  11/6/2017   Current Employee            11/8/2017   TTEC
   Gilliam                    Reginald                11/13/2017             8/26/2019         6/16/2014   TTEC
   Gilmore                    Amina                   10/16/2017             3/22/2018        11/13/2017   TTEC
   Gilmore                    Cheyenne                 8/21/2017              5/6/2018         8/23/2017   TTEC
   Gilmore                    Fredrick                  9/2/2016              1/5/2017          9/6/2016   TTEC
   Gilmore-Withers            Cierra                    3/5/2019              3/5/2019          1/2/2018   TTEC
   Glenn                      Fredricka                 5/8/2017            11/29/2018         5/22/2017   TTEC


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                                                                                         Date of               Form of
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                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Glenn                      Tamecia                   3/6/2017             4/19/2017          3/8/2017   TTEC
   Glidewell                  Cathy                     5/9/2018              6/1/2018         5/20/2018   TTEC
   Glisson                    James                    10/7/2016             10/7/2016        12/30/2015   TTEC
   Glover                     Arcaya                   9/18/2017              8/6/2018         1/10/2018   TTEC
   Glover                     Barbara                 10/19/2017              4/7/2018        10/24/2017   TTEC
   Glover                     Marquita                 5/15/2017             6/17/2017         5/30/2017   TTEC
   Godbold                    Noah                      4/9/2018             7/28/2018         4/10/2018   TTEC
   Godfrey                    Meechell                11/19/2018             3/29/2019        11/28/2018   TTEC
   Goff                       Bailey                   11/6/2017             4/12/2018         11/6/2017   TTEC
   Goff                       Christian                 9/3/2019   Current Employee            9/16/2019   TTEC
   Goff                       Robert                   8/13/2018             9/13/2018         8/17/2018   TTEC
   Goins                      Kaneshia                 8/27/2018             1/14/2019         8/27/2018   TTEC
   Goins                      Krystal                  9/16/2016              8/3/2018         9/11/2015   TTEC
   Goldsberry                 Ora                      6/10/2016              4/7/2017         6/28/2016   TTEC
   Golshahr                   Benjamin                  1/2/2018             4/30/2019          1/3/2018   TTEC
   Gomez                      Mary                     3/19/2018              5/1/2018         3/21/2018   TTEC
   Gondrezick                 Travis                   1/15/2018             5/11/2018         1/16/2018   TTEC
   Gonzalez                   Jonathan                 5/20/2019             6/19/2019         5/23/2019   TTEC
   Goodman                    Kisha                    5/15/2017             9/14/2017         5/25/2017   TTEC
   Goodrich                   Jessica                  1/15/2018              3/5/2018         1/16/2018   TTEC
   Goodrum                    Amy                      4/18/2016              1/2/2019         4/19/2016   TTEC
   Gordon                     Jennifer                 2/26/2018              6/7/2019         2/27/2018   TTEC
   Gordon                     Raven                     5/7/2018             7/31/2018          5/7/2018   TTEC
   Gordon                     Samuel                   5/15/2017             6/12/2017         5/25/2017   TTEC
   Gordon                     ShaQualla                 5/8/2017              5/8/2017        10/25/2018   TTEC
   Gordon                     Tammy                     8/7/2017            12/26/2017         8/17/2017   TTEC
   Gordon                     Zakiyyah                  7/5/2018             2/18/2019         10/8/2018   TTEC
   Gouldbourne                Shantell                  9/6/2018              3/1/2019          9/7/2018   TTEC
   Gouws                      Lynda                    9/11/2017             12/4/2017         10/9/2017   TTEC
   Goyocochea                 Itzamna                 10/30/2017             8/15/2018        10/30/2017   TTEC
   Gracie                     Carla                   12/11/2017   Current Employee           12/11/2017   TTEC
   Grady                      Annie                    1/21/2019             8/10/2019         7/23/2018   TTEC
   Grady                      Keyanna                  6/19/2017              3/8/2018         6/21/2017   TTEC
   Graham                     Destiny                 11/13/2018   Current Employee            3/30/2019   TTEC
   Graham                     Heather                  8/29/2018            10/10/2018          9/6/2018   TTEC
   Graham                     Khalia                   9/25/2017             11/1/2017         9/27/2017   TTEC
   Graham                     Kortney                 10/14/2016              7/6/2017        10/17/2016   TTEC
   Granger                    Martina                 12/28/2016             2/19/2017          1/4/2017   TTEC
   Grant                      Bobbie                   8/21/2017             9/14/2017         8/22/2017   TTEC
   Grant                      Deja                     7/24/2017              9/6/2019         7/24/2017   TTEC
   Grant                      Kelly                     5/8/2017             1/30/2019          5/9/2017   TTEC
   Grant                      Lane                     8/14/2017             3/29/2019         8/14/2017   TTEC
   Grant                      Lisa                    11/13/2018             5/11/2019        10/15/2019   Taleo
   Grant                      Wayne                   12/27/2010   Current Employee           12/29/2010   TTEC
   Grant-Ellison              Lisa                      4/1/2019             6/22/2019          4/4/2019   TTEC
   Graves                     Evelyn                   1/16/2017             2/22/2017         4/26/2011   TTEC
   Graves                     Theresa                  1/20/2014             2/17/2017         1/20/2014   TTEC


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                                                                    Employment Status/  Arbitration          Agreement
            Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Gray*                      Angela                   5/15/2017            11/10/2017         5/23/2017   TTEC
   Gray*                      Angela                  11/20/2017            11/30/2017        11/20/2017   TTEC
   Gray*                      Brianna                   8/7/2017            10/28/2018          8/8/2017   TTEC
   Gray*                      Brianna                  3/19/2018             7/18/2018         3/21/2018   TTEC
   Gray                       Carrissa                 2/26/2018             2/26/2018         7/10/2017   TTEC
   Gray                       Edward                    6/3/2019              7/9/2019          6/6/2019   TTEC
   Gray                       Shauntae                 6/19/2017             9/13/2017         6/20/2017   TTEC
   Gray                       Shonda                  10/13/2017              1/7/2019         9/12/2019   TTEC
   Gray                       Tabbatha                 6/11/2018              9/1/2018         6/12/2018   TTEC
   Grays                      Ebony                    9/17/2018             4/30/2019         9/17/2018   TTEC
   Green                      Jenaya                   5/15/2017             9/29/2017         5/26/2017   TTEC
   Green                      Taheisha                  8/7/2017   Current Employee             8/9/2017   TTEC
   Green                      Tony                     9/24/2018            10/30/2018         9/28/2018   TTEC
   Greenwood                  Doris                    7/29/2013             4/14/2017         7/29/2013   TTEC
   Gregory                    Aliyah                   6/19/2017             6/19/2017         6/20/2017   TTEC
   Gregory                    Roian                   10/24/2018   Current Employee           10/31/2018   TTEC
   Gregory                    Shireyah                 8/20/2019             9/18/2019          8/9/2019   Taleo
   Grier                      Jenise                   7/16/2018            12/10/2018         8/13/2018   TTEC
   Griffin                    Mary                     8/16/2018              9/7/2018          1/7/2019   TTEC
   Griffin                    Sharon                   11/1/2017             3/12/2018         11/1/2017   TTEC
   Grim                       Karen                   11/20/2018              1/3/2019        11/21/2018   TTEC
   Grimes                     Andrea                   7/15/2019   Current Employee            7/15/2019   TTEC
   Grimes                     Camisa                   6/17/2019             7/24/2019        10/26/2012   TTEC
   Grimsley                   Gariana                  7/24/2017             7/26/2017        11/28/2017   TTEC
   Groen                      Marsha                   8/19/2016             11/7/2016         2/26/2016   TTEC
   Guedon                     Rainette                 7/23/2018            12/10/2018         9/12/2018   TTEC
   Guerrant                   Peggy                    5/15/2017              8/9/2018         5/26/2017   TTEC
   Guessford                  Candice                  2/27/2017             1/21/2019         8/22/2014   TTEC
   Guevara                    Tabitha                  8/15/2019   Current Employee            8/15/2019   TTEC
   Guillory                   Angela                  10/16/2017             2/19/2018        10/16/2017   TTEC
   Gunn                       Diamond                  7/30/2018             8/10/2018         7/30/2018   TTEC
   Gunter                     Lisa                    10/22/2018             4/30/2019        10/30/2018   TTEC
   Gustine                    Kimberly                 8/27/2018             9/16/2019         9/17/2018   TTEC
   Gutierrez                  Chasity                  1/15/2018             4/16/2018         1/15/2018   TTEC
   Gutierrez                  Zury                     8/26/2016            10/19/2016         8/26/2016   TTEC
   Guy                        Drew                     10/6/2017             3/29/2018         10/6/2017   TTEC
   Guyah                      Ameelia                  7/10/2017             10/2/2017         8/26/2019   TTEC
   Guzman                     Jesus                    6/17/2019             8/20/2019         6/19/2019   TTEC
   Haas                       Jennifer                 1/17/2019             4/12/2019         1/18/2019   TTEC
   Haggins                    Monique                  5/21/2018             7/26/2018         5/21/2018   TTEC
   Hagler                     Bakari                   5/22/2017             10/1/2017         5/25/2017   TTEC
   Hale                       Amanda                   5/15/2017            12/31/2017         5/26/2017   TTEC
   Hale                       Mary                     9/18/2015             5/19/2017         9/24/2015   TTEC
   Haliday                    Jennifer                 6/17/2019             6/26/2019         6/20/2019   TTEC
   Hall                       Alanitra                10/24/2018             4/12/2019        10/31/2018   TTEC
   Hall                       Danielle                  8/6/2018             8/21/2018          8/7/2018   TTEC
   Hall                       Jennifer                 8/19/2016              1/5/2017         8/25/2015   TTEC


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           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Hall                       Parris                  10/23/2017              3/9/2018        10/24/2017   TTEC
   Hall                       Stacy                     9/5/2017             1/21/2019         1/10/2018   TTEC
   Hall                       Danielle                  8/6/2018             8/21/2018          8/7/2018   TTEC
   Halley                     Jenia                     9/3/2019   Current Employee           10/16/2018   TTEC
   Hamilton                   April                   10/30/2017             2/14/2019         11/6/2017   TTEC
   Hamilton                   Candacian                4/30/2018              6/5/2018          5/2/2018   TTEC
   Hamilton                   Cheyenne                 5/14/2018              2/6/2019         5/14/2018   TTEC
   Hamilton                   Felicia                  9/27/2016              5/4/2017         8/15/2014   TTEC
   Hamilton                   Stephan                 10/30/2017             2/14/2019         11/6/2017   TTEC
   Hamilton                   Tiffany                 10/28/2016            12/30/2016          7/9/2018   TTEC
   Hamilton                   Tonya                    10/2/2017             11/9/2017        11/28/2017   TTEC
   Hammell                    Lee                       9/9/2016             3/26/2018          9/7/2016   TTEC
   Hammons                    Emily                   10/30/2017            11/27/2017         3/27/2017   TTEC
   Hampton                    Chere                    9/11/2017   Current Employee            9/11/2017   TTEC
   Hampton                    Daquesha                  7/3/2017             1/30/2018          7/5/2017   TTEC
   Hampton-Fair               Shannon                 11/20/2017             3/17/2018        11/20/2017   TTEC
   Hankins                    Kirsten                   8/7/2017             8/10/2018         9/11/2017   TTEC
   Harders                    Maritza                  11/5/2018             4/10/2019         11/5/2018   TTEC
   Hardiman                   Melinda                  4/23/2018              9/2/2018         4/24/2018   TTEC
   Hardy                      Tatia                    2/20/2018             4/19/2018         2/27/2018   TTEC
   Hardy-Parker               Rena                     7/10/2017             8/15/2017          7/2/2018   TTEC
   Harnish                    Jocelyn                  3/20/2019   Current Employee            9/14/2018   TTEC
   Harp                       Taylor                   11/6/2017             3/15/2018         11/6/2017   TTEC
   Harr                       Elizabeth                3/19/2018             5/18/2018         3/19/2018   TTEC
   Harrell                    Jennifer                  9/9/2016             2/21/2017         9/12/2016   TTEC
   Harrell                    Nicole                   10/9/2017             1/16/2018         10/9/2017   TTEC
   Harris                     Brett                    1/21/2019             2/28/2019         1/21/2019   TTEC
   Harris                     Bridgitt                  8/5/2019   Current Employee             9/9/2019   TTEC
   Harris                     Christina               11/19/2018             1/25/2019         8/22/2017   TTEC
   Harris                     Courtney                 10/8/2018              3/9/2019         8/21/2015   TTEC
   Harris                     Dana                     5/15/2017   Current Employee            5/19/2017   TTEC
   Harris                     Jatara                  10/15/2018             4/30/2019        10/15/2018   TTEC
   Harris                     Keona                    8/15/2014             5/25/2018         8/15/2014   TTEC
   Harris*                    Kimberly                 2/11/2016             1/27/2017          6/8/2017   TTEC
   Harris*                    Kimberly                10/30/2017            10/12/2018        10/30/2017   TTEC
   Harris                     Lakendra                 5/15/2017             6/23/2017         5/26/2017   TTEC
   Harris*                    LaWanda                   9/2/2016             9/10/2016         8/11/2015   TTEC
   Harris*                    LaWanda                  5/15/2017             9/19/2018         11/2/2011   TTEC
   Harris                     Melody                   4/18/2019             6/11/2019         4/28/2019   TTEC
   Harris                     Mercedes                 8/27/2018            11/29/2018         8/27/2018   TTEC
   Harris                     Micha                     1/7/2016              7/5/2017          1/8/2016   TTEC
   Harris                     Rochele                  12/6/2018             7/19/2019         12/6/2018   TTEC
   Harris                     Runika                   4/11/2017             4/28/2017          1/9/2017   TTEC
   Harris                     Sharon                   1/15/2018            11/12/2018         1/16/2018   TTEC
   Harris                     Tavia                    9/24/2018            12/19/2018         9/25/2018   TTEC
   Harris                     Theresa                   8/2/2018            12/26/2018          8/3/2018   TTEC
   Harris                     Tyesha                    8/6/2018             8/29/2018          8/7/2018   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
            Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Harrison                   Tyler                    7/30/2018             1/21/2019          8/7/2018   TTEC
   Harrison-Hall              Tacompsy                 8/13/2018             2/15/2019         8/14/2018   TTEC
   Harshe                     Alma                     9/24/2018              3/5/2019        10/17/2018   TTEC
   Hart                       Anyla                    11/5/2018             11/7/2018         8/27/2019   TTEC
   Hart                       Deserai                  7/31/2017              8/4/2017         8/14/2018   TTEC
   Hart                       Jakia                    7/31/2017   Current Employee             4/2/2018   TTEC
   Hart                       Monae                   11/13/2017             2/13/2018        12/26/2017   TTEC
   Hartfield                  Alisha                   10/2/2017             3/20/2018         11/1/2017   TTEC
   Hartlaub                   Lydia                    5/15/2017             11/1/2017         5/19/2017   TTEC
   Harvey                     Jazmine                 11/27/2017             4/27/2018        11/27/2017   TTEC
   Harvin                     Eloise                    1/8/2018            11/24/2018         1/24/2018   TTEC
   Hass                       Brandy                   5/15/2017              8/1/2017         5/16/2017   TTEC
   Hassell                    Kelsey                   11/3/2017             2/12/2018        12/11/2017   TTEC
   Hatton                     Misty                     8/7/2017             1/25/2019         7/28/2014   TTEC
   Hawkins                    Amanda                    8/5/2016             1/18/2017          8/5/2016   TTEC
   Hawkins                    Brittaney                 8/7/2019   Current Employee             8/8/2019   TTEC
   Hawkins                    Errick                    1/2/2018             5/11/2018         1/16/2018   TTEC
   Hawkins                    Kurt                    10/24/2016   Current Employee            8/20/2019   TTEC
   Hawkins                    Kurtis                   4/15/2019   Current Employee            4/15/2019   TTEC
   Hawkins-Nolen              Jamieon                   1/2/2018              1/2/2018          1/3/2018   TTEC
   Hawthorne                  Nardia                  10/16/2017             2/19/2018        10/17/2017   TTEC
   Hayden                     Allesha                  7/16/2018            12/10/2018         7/16/2018   TTEC
   Hayden                     Jabria                    8/6/2018             9/10/2018          8/7/2018   TTEC
   Hayes                      Shawn                   10/19/2015              3/7/2017        10/21/2015   TTEC
   Hayman                     Lena                      9/3/2019   Current Employee           10/13/2014   TTEC
   Haynes                     Patricia                  9/2/2016             2/25/2019         1/15/2018   TTEC
   Hayward                    Shanygne                 8/28/2017             5/23/2019          9/1/2017   TTEC
   Haywood                    Valencia                 6/27/2017             4/13/2018         6/27/2017   TTEC
   Hearn                      Lakaydra                 5/15/2017             1/23/2018         5/19/2017   TTEC
   Heaton                     Dawn                     6/17/2019             8/14/2019         6/25/2019   TTEC
   Heinze                     Joann                    3/22/2019   Current Employee             7/3/2018   TTEC
   Hejny                      Cheyenne                 7/30/2018             6/18/2019         7/30/2018   TTEC
   Helm                       Gina                     6/18/2018            12/17/2018         7/16/2018   TTEC
   Henderson                  Bernadette                9/4/2018            10/29/2018          9/6/2018   TTEC
   Henderson                  Chelsea                  9/17/2018             4/30/2019         9/17/2018   TTEC
   Henderson                  Damien                    2/4/2019             5/14/2019          2/5/2019   TTEC
   Henderson                  Evette                   1/21/2019              2/8/2019          2/5/2019   TTEC
   Hendricks                  Keshma                   11/7/2018             11/7/2018         3/23/2016   TTEC
   Henegar                    Carrie                   3/27/2017             7/21/2017         3/27/2017   TTEC
   Henke                      Kendra                   7/29/2016   Current Employee             4/7/2014   TTEC
   Henning                    Kirby                   10/11/2018              5/2/2019         4/10/2019   TTEC
   Henry                      Teresa                    8/5/2016             2/12/2017         10/2/2015   TTEC
   Hensley                    Jesse                    5/15/2017             6/21/2017         5/16/2017   TTEC
   Herbert                    Alison                   4/23/2018   Current Employee            4/25/2018   TTEC
   Herman                     Joyce                    9/11/2017            11/24/2017         9/11/2017   TTEC
   Hernandez                  Angel                    5/15/2017            10/20/2018         5/26/2017   TTEC
   Hernandez                  Ibeth                    5/15/2017             5/31/2019         5/25/2017   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
           Last Name              First Name       Date of Hire    Assignment End Date Agreement              Accepted
   Hernandez                  Joe                      9/25/2017              1/2/2019         9/25/2017   TTEC
   Hernandez                  Mary-Grace               11/7/2018             4/10/2019        11/14/2018   TTEC
   Hernandez                  Rickie                  10/22/2018            11/29/2018        10/23/2018   TTEC
   Herrada                    Karol                    8/13/2019             9/11/2019         8/23/2019   TTEC
   Herron                     Heather                 10/28/2016             2/24/2017         11/2/2016   TTEC
   Hester                     Bobbi                   12/17/2018              1/2/2019        12/17/2018   TTEC
   Hester                     Hernika                  11/6/2017             5/10/2018         11/7/2017   TTEC
   Hewey                      Jaclyn                   5/15/2017             6/18/2019         5/23/2017   TTEC
   Hibbler                    Talaya                  10/23/2017            10/23/2017          7/5/2019   TTEC
   Hicklin                    Margie                   5/15/2017             8/31/2017         5/19/2017   TTEC
   Hicks                      Chasidy                  5/15/2017              8/8/2017         5/15/2017   TTEC
   Hicks                      Dawn                     2/11/2019              8/2/2019         2/12/2019   TTEC
   Hicks                      Lyndell                   4/9/2018              4/9/2018         4/24/2018   TTEC
   Hicks                      Teresa                   7/23/2018            12/10/2018         7/23/2018   TTEC
   Hildebrand                 Tracy                    6/17/2016             4/17/2019         2/25/2019   TTEC
   Hill                       Amelia                   5/15/2017              3/6/2019         5/19/2017   TTEC
   Hill                       Angelic                  9/11/2017             3/15/2019        10/23/2017   TTEC
   Hill                       Brian                    10/8/2018              8/5/2019        12/12/2018   TTEC
   Hill                       Derrika                  8/19/2019   Current Employee            8/23/2019   TTEC
   Hill                       Dianca                   5/15/2017              6/3/2017         5/19/2017   TTEC
   Hill*                      Jessica                  9/17/2018              2/6/2019         9/18/2018   TTEC
   Hill*                      Jessica                  9/16/2019             9/18/2019         8/26/2019   Taleo
   Hill                       Kelley                    8/2/2018             1/31/2019          8/2/2018   TTEC
   Hill                       Marion                   7/31/2017             1/29/2019          8/1/2017   TTEC
   Hill                       Mary                      4/3/2017              4/3/2017         5/30/2017   TTEC
   Hill-Johns                 Linda                     1/2/2018              1/4/2018          1/2/2018   TTEC
   Hilton                     Brittany                10/26/2016             12/9/2016          2/1/2019   TTEC
   Hime                       Karen                   10/20/2018             12/3/2018         1/22/2019   TTEC
   Hinchman                   Kelly                    2/12/2018              4/2/2018         2/12/2018   TTEC
   Hinds                      Marcia                   7/29/2019   Current Employee            7/30/2019   TTEC
   Hines                      Larissa                 12/10/2018             4/28/2019        12/10/2018   TTEC
   Hines                      Shelicia                 7/17/2017   Current Employee            7/18/2017   TTEC
   Hingst                     James                    10/8/2018             12/8/2018         10/8/2018   TTEC
   Hinkle                     Mary                     10/7/2016              1/9/2017         4/11/2016   TTEC
   Hinson                     Isznic                   3/19/2018             5/31/2018         3/21/2018   TTEC
   Hinson                     Sakiya                   4/16/2018              1/6/2019         4/16/2018   TTEC
   Hirt                       Caitlin                  10/7/2016              5/3/2017        10/19/2016   TTEC
   Hobbs                      George                   8/13/2018             11/4/2018         8/28/2018   TTEC
   Hocker III                 Daniel                  10/10/2016             5/16/2017        10/10/2016   TTEC
   Hodges                     Crystal                  4/22/2019             8/28/2019         4/22/2019   TTEC
   Hodgson                    Allison                  6/19/2017            11/10/2017         6/20/2017   TTEC
   Hofert                     Barbara                  8/19/2019   Current Employee            8/19/2019   TTEC
   Hoffman                    Kayla                    8/28/2017              2/4/2019        12/11/2017   TTEC
   Hoffman                    Michele                 10/14/2016            12/22/2016        10/17/2016   TTEC
   Holden                     Ashley                    2/5/2018             5/15/2018          2/5/2018   TTEC
   Holder                     Mark                     11/6/2017             11/2/2018         11/8/2017   TTEC
   Holliman                   Makedah                   9/6/2018            11/30/2018          9/6/2018   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
           Last Name               First Name      Date of Hire    Assignment End Date Agreement              Accepted
   Hollingshed                Victoria                 3/27/2019             3/27/2019         10/7/2015   TTEC
   Hollingsworth              Alexis                   7/10/2017             7/11/2017         7/29/2016   TTEC
   Hollins                    Tatiana                  6/26/2017              2/8/2018         6/26/2017   TTEC
   Holloway                   Beverly                 10/15/2018            12/17/2018        10/18/2018   TTEC
   Holloway                   Wayne                   11/12/2018              3/1/2019        11/13/2018   TTEC
   Holmes                     Rhatasha                 9/11/2017              1/9/2019         9/27/2017   TTEC
   Holt                       Bruce                    7/21/2017             7/26/2017         8/22/2014   TTEC
   Hood                       Amanda                    9/3/2019   Current Employee            8/31/2019   Taleo
   Hooks                      Carroll                  8/13/2018             12/8/2018        10/20/2017   TTEC
   Hooks                      Lavern                  10/15/2018            10/31/2018        10/15/2018   TTEC
   Hooper Denmon              Paula                    7/29/2016             5/31/2017          4/2/2015   TTEC
   Hooten                     Daniele                   8/5/2016            12/19/2016          8/5/2016   TTEC
   Hopkins                    Devon                     9/5/2017              2/9/2018          9/5/2017   TTEC
   Hopkins                    Joanna                   7/17/2017            11/21/2017         7/18/2017   TTEC
   Hopson                     Husniyah                 1/15/2018             5/23/2018         1/16/2018   TTEC
   Horace                     Kayla                    5/15/2017             7/10/2017         5/25/2017   TTEC
   Horn                       Jessica                 11/19/2018             4/27/2019          3/5/2012   TTEC
   Horne                      Jill                    10/24/2018            12/26/2018        10/31/2018   TTEC
   Horsley                    Jennifer                 8/13/2019   Current Employee            8/14/2019   TTEC
   Horton                     Chandra                  5/15/2017   Current Employee            5/26/2017   TTEC
   Horton                     Vicki                    8/29/2018             8/29/2018        10/14/2015   TTEC
   Hosier                     Mark                     10/2/2017             11/7/2017        10/31/2017   TTEC
   Hoskins                    Real                    11/27/2017             3/17/2018        11/27/2017   TTEC
   Houston                    Francis,                  7/3/2018             8/20/2018        10/19/2017   TTEC
   Hout                       Brittney                 10/2/2017              4/8/2019        10/10/2017   TTEC
   Howard                     Gregory                 10/24/2018              8/6/2019         11/1/2018   TTEC
   Howard                     Shaner                   7/16/2018            12/10/2018         8/27/2018   TTEC
   Huddleston                 Tyler                     8/5/2016             1/13/2019        10/23/2017   TTEC
   Hudson                     Andrea                    6/3/2019   Current Employee             6/6/2019   TTEC
   Huffman                    Arlee                   10/24/2018             12/3/2018        10/31/2018   TTEC
   Huffstutler                Molly                    4/16/2018             8/20/2019         4/16/2018   TTEC
   Huggins                    Sherrie                  5/15/2017             1/13/2018         5/19/2017   TTEC
   Hughes                     Markeyda                 8/15/2019   Current Employee            9/20/2017   TTEC
   Hull                       Nadia                    3/28/2016             6/30/2017         3/28/2016   TTEC
   Huntley                    Bernadette                7/8/2019   Current Employee            7/15/2019   TTEC
   Hurst                      Kristie                  8/20/2018            12/10/2018         8/22/2018   TTEC
   Hutchinson                 Samantha                 1/12/2017             2/17/2017         1/14/2017   TTEC
   Hutton                     Nathan                   1/31/2019             2/12/2019          4/8/2019   TTEC
   Hyjek                      Helen                    1/15/2018             10/9/2018         1/15/2018   TTEC
   Ice                        Roresha                   4/4/2016              2/1/2017         12/3/2015   TTEC
   Irons                      Jamie                    5/15/2017              4/9/2019         5/25/2017   TTEC
   Irwin                      World                    10/9/2017            11/30/2017        10/12/2017   TTEC
   Isaac                      Kisha                     6/5/2017              9/5/2017          6/5/2017   TTEC
   Isom                       Erin                      9/9/2019   Current Employee            8/28/2017   TTEC
   Isom                       Tyesha                   9/17/2018             10/3/2018         9/17/2018   TTEC
   Ituwe                      Anita                     9/6/2018            10/11/2018          9/6/2018   TTEC
   Ivey                       Rhonda                  10/29/2018             5/30/2019          3/7/2019   TTEC


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                                                                                         Date of               Form of
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                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Ivey                       Sharon                   9/17/2018            10/25/2018         9/24/2018   TTEC
   Ivory                      Dominique                7/30/2018             3/15/2019          8/7/2018   TTEC
   Jackson                    Bettie                   8/29/2018   Current Employee             9/7/2018   TTEC
   Jackson*                   Bridgette                11/9/2015             10/3/2016        11/10/2015   TTEC
   Jackson*                   Bridgette                6/17/2016             7/15/2016         6/17/2016   TTEC
   Jackson*                   Charles                   7/1/2019   Current Employee             7/2/2019   TTEC
   Jackson*                   Charles                  7/29/2019              8/1/2019         7/23/2019   Taleo
   Jackson                    Constance                 6/5/2017             12/6/2018          6/6/2017   TTEC
   Jackson                    Courtney                 8/13/2018             9/18/2018         11/6/2019   Taleo
   Jackson                    Gwendolyn               10/15/2018             1/22/2019        10/15/2018   TTEC
   Jackson                    LaShinda                 4/23/2018              7/6/2018         4/24/2018   TTEC
   Jackson                    Lynnell                  11/6/2017             2/28/2018          2/6/2018   TTEC
   Jackson                    Marynetra                4/18/2017             5/11/2017         7/20/2018   TTEC
   Jackson                    Rocky                     9/5/2017            11/24/2017          9/6/2017   TTEC
   Jackson                    Sandra                   5/21/2018             8/15/2018         5/22/2018   TTEC
   Jackson                    Shameka                  5/22/2017              7/5/2017         5/23/2017   TTEC
   Jackson                    Shirley                  9/25/2017            12/19/2017         9/26/2017   TTEC
   Jackson                    Tiffany                  7/30/2018            10/13/2018         7/30/2018   TTEC
   Jackson                    Toneka                    9/6/2018             4/16/2019          9/6/2018   TTEC
   Jackson                    Wesley                   7/31/2017             10/2/2017         7/31/2017   TTEC
   Jacobs                     Brittany                  9/6/2018            11/23/2018         9/10/2018   TTEC
   Jacobs                     Joycelin                 11/6/2017              2/6/2018         11/6/2017   TTEC
   Jacobs                     Teeara                  10/29/2018             1/16/2019        10/29/2018   TTEC
   Jacono                     Jessica                  10/9/2017             5/29/2018         1/10/2018   TTEC
   Jacono                     Vicki                     8/6/2018             12/6/2018         9/26/2017   TTEC
   Jamerson                   Travon                  10/23/2017             5/26/2018        11/15/2017   TTEC
   James                      Anna                    10/10/2018            10/30/2018        11/30/2012   TTEC
   James                      Austin                    3/6/2017   Current Employee             3/6/2017   TTEC
   James                      Jack                     7/24/2017              8/8/2017         7/31/2017   TTEC
   James                      Michael                  7/30/2018              8/1/2018         7/30/2018   TTEC
   James                      Sierrah                  9/11/2017              9/9/2018         1/10/2018   TTEC
   James                      William                   1/4/2016             3/22/2017         1/14/2016   TTEC
   Jarrett                    Adrianna                  9/4/2018              2/6/2019          9/5/2018   TTEC
   Jarrett                    Connie                   9/25/2017            10/24/2017        10/16/2017   TTEC
   Jarvis                     Trinkett                  6/5/2017             8/28/2017          6/5/2017   TTEC
   Jean                       Guerline                  1/2/2018             3/14/2018          1/3/2018   TTEC
   Jean-Michel                Lakisha                  8/16/2018             8/22/2018         8/17/2018   TTEC
   Jefferson                  Chantella                8/16/2018              1/9/2019         8/16/2018   TTEC
   Jefferson                  Skydell                  5/22/2017            10/11/2017          6/1/2017   TTEC
   Jenkins                    Amber                    12/4/2017            12/15/2017        12/22/2017   TTEC
   Jenkins                    Asia                     9/18/2017              1/5/2018         9/19/2017   TTEC
   Jenkins                    Kesha                    8/26/2019   Current Employee            4/23/2019   TTEC
   Jenkulprasoot              Vipha                    8/15/2019   Current Employee            8/19/2019   TTEC
   Jennings                   Jasmine                  8/16/2013   Current Employee            8/19/2013   TTEC
   Jesse                      Angela                   8/29/2018             1/16/2019          9/7/2018   TTEC
   Jettinghoff                Erik                     8/19/2016             4/26/2017          1/3/2017   TTEC
   Jewell                     Sheila                   3/19/2018             3/19/2018         3/11/2019   TTEC


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   Jitta                      Peter                    3/13/2017              4/5/2017        11/12/2015   TTEC
   John                       Patricia                 9/17/2018             1/14/2019         9/23/2018   TTEC
   Johnson                    Andria                   5/15/2017             6/28/2017         5/23/2017   TTEC
   Johnson                    Aneesah                 10/15/2018             12/6/2018        10/19/2018   TTEC
   Johnson                    Audrey                  12/17/2018             1/21/2019        12/17/2018   TTEC
   Johnson                    Brenda                  10/30/2017              6/8/2018        10/30/2017   TTEC
   Johnson                    Carlos                   8/28/2017             8/31/2018        10/23/2017   TTEC
   Johnson                    Chantel                   9/4/2018             1/24/2019         10/4/2018   TTEC
   Johnson                    Charltorio               6/25/2018             10/2/2018         6/25/2018   TTEC
   Johnson                    Darius                   2/19/2018             7/17/2018         2/20/2018   TTEC
   Johnson                    David                    7/31/2017             6/19/2018          8/1/2017   TTEC
   Johnson                    Dawnalisa                 2/4/2019              3/4/2019          9/4/2018   TTEC
   Johnson                    Deirdre                   9/3/2018             12/3/2018          9/6/2018   TTEC
   Johnson                    Eureka                  10/30/2017             4/26/2018         11/6/2017   TTEC
   Johnson                    Faith                    7/16/2018             8/31/2018         7/16/2018   TTEC
   Johnson                    Jaquasia                11/20/2017              5/1/2018        11/21/2017   TTEC
   Johnson                    Jasmine                   7/2/2018             9/14/2018          8/8/2018   TTEC
   Johnson                    Kaela                    5/15/2017              9/5/2017         5/23/2017   TTEC
   Johnson                    Kenneth                  3/12/2018   Current Employee            3/15/2018   TTEC
   Johnson                    Kirshawna                9/17/2018             9/24/2018          4/2/2018   TTEC
   Johnson                    LaCrisha                11/27/2017              6/3/2018        11/28/2017   TTEC
   Johnson                    Michelle                 6/24/2019   Current Employee            6/28/2019   TTEC
   Johnson                    Natassia                 7/17/2017             8/28/2017         7/18/2017   TTEC
   Johnson                    Natheia                  10/1/2018              2/4/2019         10/1/2018   TTEC
   Johnson                    Nia                      8/13/2018             4/17/2019         8/28/2018   TTEC
   Johnson                    Nicolas                 10/30/2017   Current Employee           10/30/2017   TTEC
   Johnson                    Nicole                    5/8/2017             10/7/2017         5/26/2017   TTEC
   Johnson                    Pamela                  10/16/2017            10/16/2017         4/13/2017   TTEC
   Johnson                    Patricia                  4/8/2019             6/29/2019          5/8/2018   TTEC
   Johnson                    Roberta                  8/26/2016              2/2/2019         8/29/2014   TTEC
   Johnson                    Ryan                     8/19/2016             1/30/2017         8/12/2015   TTEC
   Johnson                    Seniece                  10/7/2016             10/7/2016          3/6/2017   TTEC
   Johnson                    Shirley                   4/4/2011             6/22/2017          4/4/2011   TTEC
   Johnson                    Stephanee                 6/4/2018             7/12/2018         6/11/2018   TTEC
   Johnson                    Stormy                  11/27/2015             7/13/2016        12/28/2015   TTEC
   Johnson                    Tahila                   9/11/2017             5/30/2018         9/12/2017   TTEC
   Johnson                    Tamala                    6/3/2019   Current Employee             6/6/2019   TTEC
   Johnson                    Tarik                     7/2/2018             7/27/2018         8/23/2019   Taleo
   Johnson                    Tawanna                  9/30/2016             10/5/2016         4/28/2016   TTEC
   Johnson                    Trishanna                 1/2/2018             4/27/2018          1/5/2018   TTEC
   Johnson                    Yarmayne                11/12/2018             3/14/2019        11/12/2018   TTEC
   Johnson Reese              Wanda                    8/19/2016   Current Employee            8/19/2016   TTEC
   Johnson-Isom               Lanette                   1/8/2018             1/24/2018         1/10/2018   TTEC
   Johnston                   Scott                     8/6/2018             9/27/2018          8/6/2018   TTEC
   Johnstone                  Scott                    3/27/2017              4/3/2017        12/11/2017   TTEC
   Jones                      Adrienne                 9/20/2019             9/23/2019          9/5/2019   Taleo
   Jones                      Alyssa                    7/9/2018             7/26/2019          7/9/2018   TTEC


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                                                                    Employment Status/  Arbitration          Agreement
           Last Name              First Name       Date of Hire    Assignment End Date Agreement              Accepted
   Jones                      Ankisiya                  5/7/2018             12/3/2018          5/7/2018   TTEC
   Jones                      Cassandra                7/10/2017             3/17/2018         1/31/2018   TTEC
   Jones                      Chandra                  10/7/2016            11/14/2016         10/8/2016   TTEC
   Jones                      Corey                    4/15/2019              7/1/2019         4/15/2019   TTEC
   Jones                      Craig                    7/31/2017             8/30/2017         9/12/2018   TTEC
   Jones                      Deeangela                8/19/2019   Current Employee            9/16/2019   TTEC
   Jones                      Desiree                  9/10/2018   Current Employee            9/11/2018   TTEC
   Jones                      Heather                  9/14/2018   Current Employee            9/14/2018   TTEC
   Jones                      Jacqueline                8/2/2018             12/7/2018          8/3/2018   TTEC
   Jones                      Jazman                   3/19/2018            11/27/2018         3/21/2018   TTEC
   Jones                      Jeffrey                  9/12/2014   Current Employee            9/12/2014   TTEC
   Jones                      Jessica                  9/24/2018            11/29/2018         9/26/2017   TTEC
   Jones                      Khadijah                 9/23/2019   Current Employee            7/30/2018   TTEC
   Jones                      Morris                   9/11/2017   Current Employee            9/12/2017   TTEC
   Jones                      Sandra                  10/29/2018             12/5/2018        10/30/2018   TTEC
   Jones                      Shonta                   6/17/2019   Current Employee            6/20/2019   TTEC
   Jones                      Tiya                     8/26/2016              2/2/2019         8/26/2016   TTEC
   Jones                      Victoria                  7/2/2018              8/3/2018         5/25/2017   TTEC
   Jones                      Vinmel                   7/29/2016   Current Employee            7/29/2016   TTEC
   Joplin                     Antinika                 2/13/2017             2/23/2017         2/15/2017   TTEC
   Jordan                     Colleen                   8/6/2018              9/7/2019         8/10/2018   TTEC
   Jordan                     Cynthia                  5/15/2017            12/12/2018         5/29/2018   TTEC
   Jordan                     Gregory                  1/10/2019             1/25/2019         9/11/2018   TTEC
   Joseph                     Judith                    8/2/2018   Current Employee             8/2/2018   TTEC
   Joynes                     Nancy                    11/2/2016             4/28/2017          3/9/2018   TTEC
   Julien                     Sylvester                 9/9/2019   Current Employee            9/26/2019   TTEC
   June                       Dyesheikia              10/15/2018             11/5/2018         9/16/2019   Taleo
   Jung                       Laura                    7/23/2018             7/23/2018         12/2/2015   TTEC
   Justice                    Elijah                   7/19/2019             8/26/2019         7/26/2019   TTEC
   Kalogris                   Penny                   10/23/2018             5/30/2019          3/7/2019   TTEC
   Kanu                       Bakaih                   6/10/2019             7/12/2019         6/26/2019   TTEC
   Kaylor                     Cheryl                  10/30/2017             6/27/2018         11/3/2017   TTEC
   Kearse                     Charles                  8/12/2019   Current Employee             8/8/2019   Taleo
   Keegan                     Sean                     9/11/2017             9/28/2017         1/11/2017   TTEC
   Keller                     James                    8/13/2018             8/23/2018         8/13/2018   Revana
   Keller                     Jeremiah                 9/16/2016             6/21/2017          9/5/2017   TTEC
   Kelly                      Erin                    10/10/2018             2/15/2019        10/23/2017   TTEC
   Kelly                      Lori                     9/25/2017            12/29/2017         9/29/2017   TTEC
   Kemp                       Dava                    10/15/2018            11/16/2018        10/22/2018   TTEC
   Kemp                       Taninika                 7/17/2017              9/7/2017         11/5/2019   Taleo
   Kendrick                   Destanie                 7/16/2018             11/5/2018         9/17/2018   TTEC
   Kennedy                    Jahmeka                   4/1/2019              6/7/2019          4/2/2019   TTEC
   Kennedy                    Shawnika                 7/22/2019             7/24/2019        10/22/2012   TTEC
   Kenyon                     John                     9/18/2017            10/10/2018         10/9/2017   TTEC
   Key                        Kayla                    4/23/2018             8/29/2018          5/8/2018   TTEC
   Key                        Santana                   8/7/2017             10/3/2017          8/9/2017   TTEC
   Keys                       Gregory                  8/30/2018   Current Employee             9/4/2018   TTEC


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                                                                                         Date of               Form of
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                                                                    Employment Status/  Arbitration          Agreement
           Last Name              First Name       Date of Hire    Assignment End Date Agreement              Accepted
   Kilgour                    Chynae                  11/13/2018             3/29/2019         3/27/2019   TTEC
   Killeen                    Judy                    11/27/2017             6/29/2018        11/30/2017   TTEC
   Killough                   Kendra                   9/30/2016              2/8/2017         1/13/2015   TTEC
   Kilmain                    Cheryl                   8/23/2013            11/16/2017         8/27/2013   TTEC
   Kimble                     Teyanna                  6/19/2017             5/30/2018         6/20/2017   TTEC
   Kinard                     Latisha                  9/25/2017            12/27/2017         9/25/2017   TTEC
   King                       James                     8/7/2017              8/7/2017         8/21/2015   TTEC
   King                       Molly                    11/8/2017             1/31/2018         11/8/2017   TTEC
   King                       Sherri                    9/9/2016            10/27/2016         9/10/2016   TTEC
   Kiplinger                  Brianna                  4/18/2019              6/3/2019         4/24/2019   TTEC
   Kipp                       Alice                    7/26/2019   Current Employee           12/11/2017   TTEC
   Kirastoulis                Elena                    6/17/2019             8/19/2019         5/19/2017   TTEC
   Kirkpatrick                Jakenia                  7/31/2017             8/14/2017         7/31/2017   TTEC
   Kirkwood                   Madison                   8/7/2017             9/24/2018         8/11/2017   TTEC
   Klafka                     Molly                    11/6/2017             9/11/2018         11/7/2017   TTEC
   Klaus                      Lollie                   7/31/2017             7/31/2017         10/3/2018   TTEC
   Knight                     Quiana                  10/10/2018            10/24/2018         9/23/2019   Taleo
   Kooiker                    Denise                   8/26/2019   Current Employee            8/27/2019   TTEC
   Kovacs                     Kathleen                11/30/2017             2/19/2018         12/1/2017   TTEC
   Kramer                     Tonva                    6/25/2018   Current Employee            6/26/2018   TTEC
   Krehye-Holland             Bernadine               10/24/2018            12/31/2018         11/1/2018   TTEC
   Krier                      Jeanette                12/12/2016            10/13/2017        12/12/2016   TTEC
   Krug                       Michael                  9/17/2018              4/3/2019         9/17/2018   TTEC
   Kubena                     Loretta                  5/14/2018             6/28/2018         5/15/2018   TTEC
   Kuhns                      Karla                   11/19/2018             5/21/2019        11/26/2018   TTEC
   Kunde                      Loraine                 11/13/2018   Current Employee             7/2/2019   TTEC
   LaBleu                     Shelley                  9/11/2017            12/11/2017         9/11/2017   TTEC
   Lachance                   Katherine                9/11/2017              1/3/2018         9/12/2017   TTEC
   Lacson                     Ruth                     10/2/2017             5/30/2018        10/20/2017   TTEC
   Ladson                     Kaila                     4/1/2019              5/4/2019          4/3/2019   TTEC
   LaFaille                   Bereki                    3/6/2017              3/8/2017         8/22/2014   TTEC
   LaFleur                    Erma                     8/13/2019   Current Employee            8/14/2019   TTEC
   Lake                       Felicia                 11/19/2018   Current Employee           11/28/2018   TTEC
   Lakes                      Joyabenine               6/17/2019             7/12/2019         6/20/2019   TTEC
   Lamb                       Stacey                   11/6/2017              3/6/2018         11/8/2017   TTEC
   Lampasona                  Teresa                   10/8/2018             2/17/2019        10/30/2018   TTEC
   Lancon                     Silveria                10/15/2018             1/30/2019        10/15/2018   TTEC
   Landay                     Alan                    10/26/2016             2/17/2017        10/27/2016   TTEC
   Lane                       Jacqueline              12/19/2016             4/20/2017        12/10/2018   TTEC
   Lang                       Olivia                   9/21/2018             9/21/2018         11/3/2017   TTEC
   Langston                   Jasmine                 11/20/2017              1/7/2018        11/20/2017   TTEC
   Lantigua                   Michelle                 8/15/2016             2/17/2017         8/15/2016   TTEC
   LaPlace                    Allison                  10/1/2018              2/1/2019         10/1/2018   TTEC
   Laplante                   Thomas                   12/4/2017             3/29/2018         12/5/2017   TTEC
   Larry                      Jacqueline              10/30/2017             7/27/2018        10/30/2017   TTEC
   Larsson                    Angel                    6/24/2019             8/26/2019        11/14/2018   TTEC
   Laughlin                   Celia                     9/4/2018            12/10/2018         9/24/2018   TTEC


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                                                                                         Date of               Form of
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   Law                        Yolanda                 10/22/2018             5/10/2019         11/6/2018   TTEC
   Lawrence                   Brian                   10/28/2016             12/5/2016        10/19/2015   TTEC
   Laws                       Kara                    10/30/2017             4/14/2018        10/30/2017   TTEC
   Leach                      Enoch                   11/20/2017             4/27/2018        11/21/2017   TTEC
   Leach                      Jayme                    7/18/2016            12/29/2017         7/25/2016   TTEC
   Leak                       Monepha                  11/5/2018            11/19/2018         11/6/2018   TTEC
   Leake                      NaCalie                  10/2/2017             12/4/2017         10/3/2017   TTEC
   Leavitt                    Tanya                    3/18/2019   Current Employee            4/12/2019   TTEC
   Lech                       Stephen                  7/30/2018             12/5/2018          8/7/2018   TTEC
   Ledesma                    Stephanie                8/26/2016            12/16/2016         8/29/2016   TTEC
   Ledford                    Jamie                    5/15/2017             3/20/2018         5/25/2017   TTEC
   Lee                        Brittany                 12/7/2015             3/10/2017         12/9/2015   TTEC
   Lee                        Danesha                 10/29/2018             12/7/2018         11/8/2018   TTEC
   Lee                        Doris                    6/19/2017   Current Employee            10/6/2014   TTEC
   Lee                        Jaqueline                7/18/2019             7/18/2019         1/11/2018   TTEC
   Lee                        Robbin                    8/7/2017             6/29/2018         9/21/2017   TTEC
   Lee                        Roshanda                 5/29/2018              7/3/2018         5/29/2018   TTEC
   Lee                        Tammy                     6/5/2017             4/15/2019          6/7/2017   TTEC
   Leftwich                   April                    12/5/2016             2/20/2017         12/6/2016   TTEC
   Leger                      Kelly                    10/7/2016             10/7/2016        11/20/2017   TTEC
   LeGrand                    Sabrina                  5/15/2017             9/17/2017         6/18/2017   TTEC
   Leinbach                   Seth                    12/11/2018             7/18/2019        12/11/2018   TTEC
   Lemon                      Dremika                  7/29/2019   Current Employee             9/9/2019   TTEC
   Lenon                      Classy                   8/19/2016            12/22/2016         9/11/2015   TTEC
   Leslie                     Tee                     10/29/2018              3/4/2019        10/29/2018   TTEC
   Levin                      Austin                   8/19/2019   Current Employee            9/23/2019   TTEC
   Lewis                      Andrea                  10/22/2018             1/16/2019         11/1/2018   TTEC
   Lewis                      Aujeanae                 10/9/2017             11/6/2017        10/12/2017   TTEC
   Lewis                      Donovan                  9/17/2018              1/4/2019         11/3/2017   TTEC
   Lewis                      Kathleen                10/16/2015   Current Employee            11/6/2015   TTEC
   Lewis                      Lakesha                 11/19/2018   Current Employee           11/28/2018   TTEC
   Lewis                      Shakoyia                  4/4/2016              2/2/2017         12/3/2015   TTEC
   Lightford                  Terri                    9/24/2018             10/2/2018         11/2/2017   TTEC
   Liles                      Modesta                  9/13/2017             9/13/2017        12/18/2014   TTEC
   Lilley                     Alyce                     8/2/2018             8/15/2018          8/3/2018   TTEC
   Lindsey                    Betty                    9/11/2017             3/15/2019         9/18/2017   TTEC
   Lindsey                    Kendra                   9/18/2017             4/30/2018         5/17/2017   TTEC
   Lindsey                    Shaketa                  9/10/2018              5/3/2019         5/25/2017   TTEC
   Lindsley                   Tameka                  10/15/2018            12/11/2018        10/31/2017   TTEC
   Lingo                      Elizabeth                11/6/2017             11/7/2017        12/14/2017   TTEC
   Lino                       Lavern                   5/15/2017   Current Employee            5/26/2017   TTEC
   Lissade                    Pearl                    7/31/2017             8/24/2017         7/31/2017   TTEC
   Little                     Caitlyn                   7/8/2019             9/10/2019         7/10/2019   TTEC
   Little                     Chelsea                 11/19/2018            12/19/2018        11/26/2018   TTEC
   Livesay                    Margaret                 7/17/2017             4/30/2019         7/17/2017   TTEC
   Lloyd                      Jenelle                  12/4/2017              5/3/2018         12/6/2017   TTEC
   Lockett                    Arlana                   5/15/2017             11/3/2017         5/25/2017   TTEC


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                                                                                         Date of               Form of
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           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Lofton                     Brenda                   12/5/2016              2/2/2017         12/5/2017   TTEC
   LoGalbo                    Maria                    8/20/2017            12/27/2017         11/6/2017   TTEC
   Logan                      Whitney                  8/28/2017            10/27/2017          9/8/2017   TTEC
   Lopez                      Nancy                   10/29/2018            11/14/2018          9/6/2018   TTEC
   Lopez                      Shaista                 10/22/2018            10/22/2018        11/14/2018   TTEC
   Lorfils                    Ashley                   4/22/2019             6/29/2019         4/23/2019   TTEC
   Lott                       Tina                     8/19/2019   Current Employee            8/16/2019   Taleo
   Louissaint                 Lateshia                  8/7/2017             5/25/2018          8/9/2017   TTEC
   Lovell                     Joann                    10/8/2018             11/7/2018        10/15/2018   TTEC
   Lowe                       Shanekia                11/13/2018             2/20/2019          7/9/2013   TTEC
   Lowenthal                  Angela                   1/22/2014             8/13/2019         7/16/2018   TTEC
   Lowry                      Lorisha                  8/26/2019             8/26/2019         8/19/2019   Taleo
   Lucas                      Courtney                 5/30/2017             9/12/2017          7/5/2017   TTEC
   Lucas                      Kaneesha                  5/8/2017              8/4/2018         5/26/2017   TTEC
   Lucas                      Tracy                    7/22/2016             12/7/2016         7/22/2016   TTEC
   Luckey                     Felicity                 9/10/2018            12/17/2018         9/14/2018   TTEC
   Lugo                       Jessica                 11/12/2018              1/9/2019         7/16/2018   TTEC
   Lumpkins                   M'Kayla                 10/24/2018             2/11/2019         11/1/2018   TTEC
   Luster                     Doris                    9/11/2017            12/11/2017         9/11/2017   TTEC
   Luther                     Amy                      9/25/2017            12/12/2017         9/25/2017   TTEC
   Luther                     Kenya                     9/4/2018             1/14/2019         10/4/2018   TTEC
   Luton                      Constance                8/28/2017             5/12/2019         8/28/2017   TTEC
   Lutz                       Charles                   2/5/2018             8/10/2018         2/13/2018   TTEC
   Luzader                    Crystal                  5/30/2017   Current Employee            5/30/2017   TTEC
   Luzincourt                 Ruth                      2/4/2019             5/16/2019          8/3/2018   TTEC
   Lynch                      Destiny                   5/8/2017            10/12/2018         5/19/2017   TTEC
   Lynn                       Deborah                   5/2/2016   Current Employee             3/9/2018   TTEC
   Mach                       Taylor                   9/11/2017             12/8/2017         10/9/2017   TTEC
   Mack                       Aliciana                 9/18/2017            10/16/2018         9/25/2017   TTEC
   Mack                       Markeneshia               9/4/2015             12/7/2016         9/18/2015   TTEC
   Mackie                     Marisa                   9/26/2018             12/8/2018        10/23/2018   TTEC
   MacKinney                  Thomas                   8/22/2019   Current Employee            8/23/2019   TTEC
   Madden                     Dejanee                   9/6/2018            11/21/2018          9/6/2018   TTEC
   Maddox                     John                    10/14/2016             12/2/2016        10/14/2016   TTEC
   Madigan                    Shane                    5/15/2017             7/16/2019         5/25/2017   TTEC
   Magnett                    Diijon                    5/8/2017            10/25/2017         5/15/2017   TTEC
   Majors                     Ashley                   9/25/2017             1/26/2018         10/5/2017   TTEC
   Mallon                     Carolina                 8/28/2017            10/23/2017        10/14/2016   TTEC
   Mallory                    Jacqueline                9/9/2016            10/26/2016          9/9/2016   TTEC
   Mandeville                 Sarah                   11/19/2018              8/8/2019        11/26/2018   TTEC
   Manger                     Gerald                   5/29/2018             1/28/2019         5/29/2018   TTEC
   Manigault                  Heather                 11/16/2017              3/4/2018        11/21/2017   TTEC
   Mankowski                  Sarah                    2/20/2017             6/12/2017         7/24/2017   TTEC
   Manone                     Steven                    9/4/2018             12/8/2018         9/12/2018   TTEC
   March                      Shanique                 10/8/2018             11/8/2018         10/8/2018   TTEC
   Marchant                   Mary                     5/15/2017   Current Employee            12/2/2019   Taleo
   Marion                     Taloria                  8/21/2019              9/4/2019         9/20/2019   Taleo


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           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Markgraf                   Deborah                  8/21/2017              9/7/2017         8/23/2017   TTEC
   Marks                      Shakilah                 9/16/2016            10/21/2016         9/16/2016   TTEC
   Marsh                      Lamiya                   6/10/2019   Current Employee            7/11/2019   TTEC
   Marshall                   Icey                     7/10/2017              3/6/2018        10/28/2016   TTEC
   Marshall                   Megan                   10/22/2018            12/15/2018        10/23/2018   TTEC
   Martin                     Chante                   10/9/2017   Current Employee           11/17/2017   TTEC
   Martin                     Delona                   9/26/2017            11/28/2017         9/26/2017   TTEC
   Martin                     Jerry                    12/7/2015             7/28/2017        12/22/2015   TTEC
   Martin                     Jevonne                  3/20/2019             6/26/2019        11/29/2018   TTEC
   Martin                     Kori                     10/7/2016            12/26/2016          1/9/2016   TTEC
   Martin                     Michella                 8/17/2017            12/30/2017         8/22/2017   TTEC
   Martin                     Vickie                   8/28/2017             2/15/2018         10/3/2017   TTEC
   Martinez                   Anahi                    9/18/2017              8/2/2019         9/18/2017   TTEC
   Martinez                   Elisa                    10/1/2018             5/30/2019         10/1/2018   TTEC
   Martinez                   Raul                      8/7/2019   Current Employee             8/8/2019   TTEC
   Martinsen                  Helen                    8/27/2018            10/17/2018         9/24/2018   TTEC
   Marx                       Dan                     11/27/2017   Current Employee           11/27/2017   TTEC
   Marx                       Karina                   8/27/2018   Current Employee            9/18/2018   TTEC
   Marx                       Sasha                    8/27/2018   Current Employee            9/17/2018   TTEC
   Mason-Mileto               Clayton                  9/27/2016             11/3/2016          7/6/2011   TTEC
   Massey                     Chance                   8/26/2016            12/13/2016         8/26/2016   TTEC
   Massey                     Verna                   10/27/2017             7/31/2018         11/3/2017   TTEC
   Matheny                    Deidre                   5/15/2017             8/31/2017         5/24/2017   TTEC
   Mathess                    Alexandria               10/3/2016             8/25/2017         10/3/2016   TTEC
   Mathis                     Debbie                   3/19/2018              1/5/2019         3/21/2018   TTEC
   Mathis                     Debrah                  10/15/2018              1/4/2019        10/15/2018   TTEC
   Mathis                     Eletrica                  8/2/2018             9/12/2018          8/2/2018   TTEC
   Mathis                     Gabrielle                7/29/2019              8/7/2019        10/30/2017   TTEC
   Matlock                    Taniqua                  9/11/2017            11/13/2017         9/11/2017   TTEC
   Matthews                   Demetrius                8/26/2016             1/22/2018         8/29/2016   TTEC
   Matthews                   Ebony                    8/20/2018              3/5/2019        10/15/2018   TTEC
   Mattioda                   Michelle                 1/15/2018             12/3/2018         1/15/2018   TTEC
   Maurici                    Kathleen                 5/15/2017             1/23/2018         5/26/2017   TTEC
   Maus                       Sharon                    7/8/2019             8/14/2019         2/27/2017   TTEC
   Maxwell                    Carrie                  10/30/2017             2/14/2018        10/31/2017   TTEC
   Maye                       Kayla                    7/30/2018             1/22/2019         7/30/2018   TTEC
   Mays                       Carolyn                  11/6/2017             4/13/2018         11/7/2017   TTEC
   Maywald                    Megan                    4/29/2019   Current Employee             5/2/2019   TTEC
   Mbah                       Frank                    7/10/2017             7/10/2017         9/26/2017   TTEC
   McAndrew                   Fredericka               8/19/2016             9/28/2018         2/10/2014   TTEC
   McArthur                   Domisha                  6/19/2017              9/1/2017         4/21/2017   TTEC
   McBride                    Desiree                   8/6/2018            12/14/2018         9/17/2018   TTEC
   McBride                    Karisse                  11/6/2017             4/24/2018         11/7/2017   TTEC
   Mccann                     Desiree                  11/7/2018             1/29/2019        11/14/2018   TTEC
   McClellan                  Johnny                  11/11/2016             6/27/2017        11/14/2016   TTEC
   Mcclure                    Angelica                 6/11/2018              8/2/2018         6/11/2018   TTEC
   McCormac                   Sherry                  10/14/2016             9/28/2018          1/3/2017   TTEC


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                                                                                         Date of               Form of
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                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   McCoy                      Kennedy                 10/29/2018             2/12/2019        10/30/2018   TTEC
   McCoy                      Kimberly                 11/5/2018             8/16/2019         11/6/2018   TTEC
   McCoy                      Tradrick                 9/24/2018             11/2/2018         9/28/2018   TTEC
   McCracken                  Dallas                   9/18/2017             1/14/2018         9/13/2018   TTEC
   McCray                     Stephanie                10/2/2017              1/2/2018         10/3/2017   TTEC
   McCray                     Teriauna                 3/26/2018             6/18/2018         3/29/2018   TTEC
   McCrea                     Wendy                    5/15/2017            10/13/2017         11/6/2013   TTEC
   McCurdy                    Sandra                   8/26/2019   Current Employee            8/26/2019   TTEC
   McDaniel                   Bryan                    8/19/2016              1/6/2017         9/10/2018   TTEC
   McDaniel-Carter            Lorenda                  1/15/2018             1/29/2018         1/15/2018   TTEC
   McDannel                   Susan                    11/5/2018              4/5/2019         11/6/2018   TTEC
   McDonald                   Sierra                   8/27/2018             9/12/2018         11/6/2018   TTEC
   Mcduffie-Cuttino           Toni                     6/12/2017             9/16/2017         6/13/2017   TTEC
   McElvin                    Tamela                   4/30/2018   Current Employee            5/22/2018   TTEC
   McFadden                   Kalia                    5/15/2017             7/20/2017         5/25/2017   TTEC
   McFarland                  LaShonda                 9/24/2018            12/12/2018         9/25/2018   TTEC
   McFarland                  Mykiesha                  1/2/2018             2/16/2018          1/5/2018   TTEC
   McGahee                    Brandee                   6/3/2019   Current Employee            6/25/2019   TTEC
   McGee                      George                   6/11/2018             8/20/2018         8/30/2017   TTEC
   McGee                      Shae                    11/19/2018              1/5/2019        11/26/2018   TTEC
   Mcgill                     China                    9/17/2018             4/30/2019          4/2/2018   TTEC
   McGill                     Wanda                    5/15/2017             8/31/2017         5/26/2017   TTEC
   McGuire                    Leighandra                6/4/2018             9/12/2018          6/4/2018   TTEC
   McIlwain                   Felicia                   8/5/2019             9/20/2019        10/22/2018   TTEC
   McIlwain                   Shakita                   5/8/2017            10/24/2018         5/19/2017   TTEC
   Mcintyre                   Alexus                  10/23/2017            12/21/2017        10/25/2017   TTEC
   McKeaver                   Janessa                  3/27/2017             3/28/2017          1/6/2015   TTEC
   McKenzie                   Zoe                      8/19/2016            10/28/2016          6/6/2017   TTEC
   McKinney                   Kimberly                11/19/2018              1/3/2019        11/28/2018   TTEC
   McKinney                   Patricia                 8/26/2016              9/9/2016         8/29/2016   TTEC
   Mckoy                      Latoya                   11/7/2018             3/22/2019        11/15/2018   TTEC
   Mclaurin                   Larresa                 11/20/2017             8/22/2018        11/21/2017   TTEC
   McLeod                     Delcia                    8/2/2018             10/8/2018          8/2/2018   TTEC
   Mcleod                     Devin                    10/2/2017             6/28/2018        10/23/2017   TTEC
   Mcleod                     Jennifer                  5/9/2018              7/5/2018         5/17/2018   TTEC
   McMillian                  Lavora                   8/29/2018            11/12/2018          9/6/2018   TTEC
   McMullen                   Sara                     5/15/2017             6/27/2017          6/3/2017   TTEC
   McMurray                   Susan                    12/5/2016            11/21/2017        12/13/2016   TTEC
   McMurren                   Shamitra                 6/26/2017             8/10/2017         6/27/2017   TTEC
   Mcmurrian                  Aleshia                  7/16/2018             7/16/2018         9/11/2017   TTEC
   McNamara                   Geraldine                7/31/2017             12/9/2018         8/23/2017   TTEC
   Mcneal                     Geneva                   8/21/2017             10/4/2017         8/22/2017   TTEC
   McNeal                     Mia                      6/18/2018   Current Employee             8/5/2016   TTEC
   McNorton                   Caroline                 1/14/2019   Current Employee            1/14/2019   TTEC
   Mcpeak                     Kenneth                  5/15/2017              5/3/2019         5/19/2017   TTEC
   McPhatter                  Taneesha                 9/10/2018            12/10/2018         9/11/2018   TTEC
   Mcrae                      Cherry                  10/11/2018   Current Employee            5/14/2019   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
            Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
   McReynolds                 Dietra                  10/29/2018             4/10/2019        10/29/2018   TTEC
   McTiller                   Eunice                   5/15/2017            12/31/2017         6/13/2017   TTEC
   Meadows                    Korah                    3/20/2017             4/20/2017         3/20/2017   TTEC
   Meier                      Shelby                   9/25/2017             3/13/2018         9/28/2017   TTEC
   Mejia                      Ashley                   9/17/2018              2/8/2019         9/17/2018   TTEC
   Melendez                   Lidia                   12/12/2018             4/14/2019         6/10/2019   TTEC
   Melton                     Josh                     8/19/2016             12/6/2018         6/29/2019   TTEC
   Melton                     Stephen                  9/25/2017             2/12/2018          1/7/2016   TTEC
   Melvin                     Timothy                  6/25/2018             9/16/2019         6/26/2018   TTEC
   Mendoza                    Brionna                 11/26/2018             3/21/2019        11/26/2018   TTEC
   Mendoza                    Ricardo                  5/29/2018             5/29/2018         9/14/2017   TTEC
   Mendoza-Bell               Janice                  10/30/2017            12/17/2018        10/30/2017   TTEC
   Menefield                  Myia                     9/11/2017             1/28/2019         9/12/2017   TTEC
   Mercado                    Yasmine                  6/10/2019   Current Employee            6/13/2019   TTEC
   Merilan                    Rebecca                  10/8/2018              2/1/2019         10/8/2018   TTEC
   Merrell                    Travis                   3/27/2017            12/27/2017         3/28/2017   TTEC
   Merritt                    Patricia                  9/3/2018             1/31/2019          9/8/2018   TTEC
   Metcalf                    Ashley                   7/18/2019   Current Employee            11/3/2017   TTEC
   Metelus                    Paul                    12/11/2017             1/22/2018        12/11/2017   TTEC
   Meyer                      Ann                      7/23/2018             3/17/2019          9/5/2018   TTEC
   Micael                     Tinsae                   5/15/2017             8/22/2019         5/19/2017   TTEC
   Mihok                      Gregory                 11/19/2018             3/13/2019        11/26/2018   TTEC
   Mikutel                    Steven                    8/7/2017             10/6/2017          8/8/2017   TTEC
   Miles                      Sholeh                   8/26/2019   Current Employee            8/26/2019   TTEC
   Miller                     Antoinette               5/30/2017             5/30/2017        10/25/2017   TTEC
   Miller                     Austin                   5/21/2018              1/7/2019         5/21/2018   TTEC
   Miller                     Brittney                 9/18/2017             1/30/2018         4/17/2018   TTEC
   Miller                     Deasia                    8/6/2018             8/31/2018          8/6/2018   TTEC
   Miller                     Diamond                 10/23/2017            12/12/2018        10/23/2017   TTEC
   Miller                     Ebony                    7/23/2018            11/13/2018         7/23/2018   TTEC
   Miller                     Elissa                   5/22/2017             5/30/2017         5/23/2017   TTEC
   Miller                     Emily                    4/11/2016             5/25/2018         4/12/2016   TTEC
   Miller                     Georgia                   7/9/2018             3/27/2019         9/25/2018   TTEC
   Miller                     Gwendolyn                4/29/2019             7/27/2019         4/29/2019   TTEC
   Miller                     Jessica                  11/5/2018            12/17/2018         11/6/2018   TTEC
   Miller                     Kavonna                  9/16/2019   Current Employee            9/17/2019   TTEC
   Miller                     Leslie                   9/18/2017             5/16/2019         9/19/2017   TTEC
   Miller                     Robin                    6/18/2018             6/30/2018         9/14/2018   TTEC
   Miller                     Yakine                  10/15/2018             3/20/2019        10/15/2018   TTEC
   Milligan                   Richard                  6/25/2018             12/6/2018         8/14/2018   TTEC
   Mills                      Rhonda                   9/11/2017             2/14/2018        12/13/2017   TTEC
   Milton                     Brittany                10/23/2018              6/1/2019          3/7/2019   TTEC
   Ming                       Kelly                     1/7/2019             9/17/2019         1/10/2019   TTEC
   Mingo                      Marquetia                 6/5/2017              6/5/2017         9/18/2017   TTEC
   Mitchell                   Clayton                  9/17/2018             7/19/2019         9/21/2018   TTEC
   Mitchell                   Elaine                    6/3/2019             7/11/2019          6/6/2019   TTEC
   Mitchell                   Jordy                    7/15/2019              9/9/2019         7/15/2019   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
            Last Name             First Name       Date of Hire    Assignment End Date Agreement              Accepted
   Mitchell                   Rachel                  10/16/2017              2/9/2018         11/3/2017   TTEC
   Mitchell                   Tarmaya                 10/25/2018             11/8/2018        10/28/2018   TTEC
   Mobley                     Akilah                    8/6/2018            10/31/2018         8/21/2018   TTEC
   Modeste                    Francess                 8/26/2019   Current Employee           11/12/2018   TTEC
   Mohon                      Emily                    8/26/2016             1/11/2017         8/29/2016   TTEC
   Molden-Murphy              Sharde                    6/3/2019   Current Employee            6/25/2019   TTEC
   Monahan                    April                    5/20/2019             5/20/2019         4/21/2017   TTEC
   Monroe                     Larrisha                  9/6/2018            11/12/2018         9/10/2018   TTEC
   Monroe                     Pamela                   12/4/2017             3/19/2018         12/5/2017   TTEC
   Montejano                  Maria                   10/29/2018             7/29/2019        10/29/2018   TTEC
   Montgomery                 Andreal                   9/7/2018             9/26/2018         9/12/2018   TTEC
   Montgomery                 Harriet                  7/29/2019              8/7/2019         7/30/2019   TTEC
   Montgomery                 Keesha                  10/24/2018             12/6/2018         12/5/2017   TTEC
   Montgomery                 Kenyetta                10/15/2018            12/29/2018        10/15/2018   TTEC
   Montgomery                 Lisa                     7/24/2017             3/18/2019         7/24/2017   TTEC
   Montgomery                 Shakiki                  7/22/2019   Current Employee            7/26/2019   TTEC
   Montgomery                 Tiffanie                 10/9/2017            12/11/2017         11/3/2017   TTEC
   Moody                      Coty                      7/3/2017              7/3/2017          8/9/2019   Taleo
   Moore                      Allison                  10/3/2016             2/24/2017        10/10/2016   TTEC
   Moore                      Alonya                   7/15/2019             9/20/2019         7/16/2019   TTEC
   Moore                      Caitlyn                  8/20/2018            11/16/2018         9/24/2018   TTEC
   Moore                      Camry                   10/16/2017             2/13/2018        10/17/2017   TTEC
   Moore                      Charita                  12/6/2018             12/6/2018         9/16/2019   TTEC
   Moore                      Denise                   5/22/2017              6/1/2018         5/22/2017   TTEC
   Moore                      Gloria                   7/31/2017            11/13/2017          8/4/2017   TTEC
   Moore                      Gwendolyn               10/15/2018            12/17/2018        10/18/2018   TTEC
   Moore                      Lamarr                    9/6/2018            11/16/2018          9/6/2018   TTEC
   Moore                      Marquinton                8/6/2018             5/21/2019          8/7/2018   TTEC
   Moore                      Myrtle                   7/24/2017             8/23/2017         7/24/2017   TTEC
   Moore                      Nicole                   2/26/2018              8/7/2018         2/27/2018   TTEC
   Moore                      Veronica                  9/6/2018              2/1/2019          9/6/2018   TTEC
   Moore                      Whitney                 10/22/2018              8/2/2019        10/25/2018   TTEC
   Moore                      Yolanda                  3/19/2018              3/1/2019         3/19/2018   TTEC
   Moore-Garcia               Lamanda                   4/1/2019   Current Employee             4/5/2019   TTEC
   Morell                     John                     3/13/2012   Current Employee            3/14/2012   TTEC
   Morgan                     Candace                  10/8/2018              3/1/2019         10/8/2018   TTEC
   Morgan                     LaTora                  12/12/2016             3/21/2017        12/12/2016   TTEC
   Morgan                     Marvin                    7/8/2019   Current Employee             7/8/2019   TTEC
   Morgan                     Richard                  7/26/2019   Current Employee            7/31/2019   TTEC
   Morin                      Josefina                 7/17/2017            12/28/2018         7/17/2017   TTEC
   Morman                     Shantia                  7/16/2018             7/16/2018         10/9/2018   TTEC
   Morris                     Brigitte                 9/18/2017             1/22/2018          1/8/2018   TTEC
   Morris                     Christopher             11/23/2015             3/30/2017        11/24/2015   TTEC
   Morris                     Deonna                    6/4/2018             12/6/2018         8/15/2018   TTEC
   Morris                     Tameka                    1/7/2019             1/28/2019         1/10/2019   TTEC
   Morris                     Tramaine                 9/16/2016            12/23/2016         9/16/2016   TTEC
   Morrow                     Debra                     7/3/2017             11/2/2017         3/27/2017   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Morse                      Sherry                    6/3/2019              8/2/2019          6/6/2019   TTEC
   Morse                      Steve                     9/3/2019   Current Employee             9/6/2019   TTEC
   Mosby                      William                  8/28/2017             6/30/2018          9/9/2017   TTEC
   Moser                      Shania                   9/27/2016             11/2/2016         2/18/2015   TTEC
   Mosley                     Julian                   4/12/2017             8/15/2017         4/12/2017   TTEC
   Mothershed                 Jason                    8/28/2017            10/16/2017         5/12/2015   TTEC
   Mouelet                    Locleche                 12/4/2017   Current Employee            12/7/2017   TTEC
   Mouzon                     Letitia                 12/17/2018              2/8/2019        12/17/2018   TTEC
   Mowatt                     Marlene                  5/15/2017   Current Employee            12/6/2017   TTEC
   Moyer                      Taylor                   1/28/2019              3/4/2019          2/1/2019   TTEC
   Muchen                     Felicia                  11/5/2018             5/14/2019         11/5/2018   TTEC
   Muhammad                   Malika                    8/9/2019              8/9/2019         7/19/2019   Taleo
   Mulligan                   Talisa                   10/8/2018   Current Employee            10/9/2018   TTEC
   Mulvey                     Philip                  12/19/2016             4/28/2017         7/10/2017   TTEC
   Murphy                     Shane                    9/17/2018            10/24/2018         9/19/2018   TTEC
   Murray                     Ashley                    8/6/2018              6/6/2019         8/13/2018   TTEC
   Murray                     Franchaska               5/15/2017             6/25/2018         5/25/2017   TTEC
   Murray                     Malinda                  10/3/2016             6/29/2018         10/3/2016   TTEC
   Murry                      Cameron                  6/24/2019   Current Employee            10/5/2017   TTEC
   Myers                      LaQuana                  10/7/2016              1/9/2017         12/1/2015   TTEC
   Nabors                     Courtney                 8/26/2019             9/23/2019         8/27/2019   TTEC
   Nash                       Ivan                     8/28/2017             6/21/2018          9/6/2017   TTEC
   Nash                       Reshandra                1/21/2019             7/17/2019         7/17/2018   TTEC
   Nattiel                    Victoria                 4/16/2018             4/16/2018         5/23/2018   TTEC
   Natto                      Kardakh                   8/6/2018             11/9/2018        11/22/2017   TTEC
   Nava                       Raul                     5/15/2017             9/14/2017         5/24/2017   TTEC
   Neal                       Amber                    9/11/2017             3/15/2019        10/16/2017   TTEC
   Neatherlin                 Charity                   1/8/2018             1/17/2018        11/28/2017   TTEC
   Needer                     Chelsie                 10/14/2016            12/29/2016        10/14/2016   TTEC
   Neeley                     Ebony                    1/15/2018             6/24/2018         1/16/2018   TTEC
   Nelmes                     Kelvin                   7/24/2017            11/24/2017         7/24/2017   TTEC
   Nelson                     Amir                    10/11/2018             8/23/2019        10/12/2018   TTEC
   Nelson                     Brandy                    9/5/2017             11/7/2018          9/7/2017   TTEC
   Nelson                     Clinton                  5/29/2018             1/31/2019         5/29/2018   TTEC
   Nelson                     Connie                   5/15/2017   Current Employee            5/24/2017   TTEC
   Nelson                     John                     8/27/2018            11/23/2018         10/8/2018   TTEC
   Nelson                     Monique                   6/4/2018              8/9/2018          6/4/2018   TTEC
   Nelson                     Patricia                 6/13/2019              7/1/2019        12/11/2017   TTEC
   Nelson                     Stephanie                 7/2/2018              7/5/2018         3/13/2019   TTEC
   Nesby                      Brianna                  7/17/2017             8/20/2017         7/20/2017   TTEC
   Neveu                      Jane                     7/13/2018            12/21/2018         8/14/2018   TTEC
   Newman                     Kevin                     8/5/2019             8/23/2019          8/9/2019   TTEC
   Newsom                     Marvin                   4/22/2019   Current Employee            4/23/2019   TTEC
   Newton                     Larroquetta              8/28/2017             9/18/2017          9/6/2017   TTEC
   Nicholson                  Sheila                   8/28/2017   Current Employee             9/5/2017   TTEC
   Nickelberry                Auburn                   5/21/2018              1/4/2019         5/22/2018   TTEC
   Nocks                      Alison                   6/18/2019              7/7/2019          8/1/2018   TTEC


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                                                                                         Date of               Form of
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                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Nollie                     Yolanda                  10/2/2017            11/20/2017         10/6/2017   TTEC
   Norman                     Angelita                 5/15/2017   Current Employee            5/23/2017   TTEC
   Notaro                     Mary                     7/10/2017            11/15/2018         7/10/2017   TTEC
   Nubin                      Asianna                  7/31/2017            10/16/2017         7/31/2017   TTEC
   Nuccio                     Benjamin                10/16/2017            12/26/2017        10/25/2017   TTEC
   Nunez                      Sloane                    4/1/2019             6/19/2019         6/28/2018   TTEC
   Oakman                     Kendra                  11/20/2017             7/29/2018        11/28/2017   TTEC
   Obodo                      Wendy                     8/2/2018            12/10/2018          8/3/2018   TTEC
   O'Conner                   Sharon                  10/15/2018            12/17/2018        10/19/2018   TTEC
   O'Donnell                  Christine               11/19/2018             1/24/2019        11/19/2018   TTEC
   Oganessian                 Suren                    9/23/2019   Current Employee            9/13/2019   Taleo
   Ogburn                     Beverly                  9/16/2019   Current Employee            9/16/2019   Taleo
   Ohara                      Hilaria                   5/9/2018             9/18/2018         5/22/2018   TTEC
   Ohara                      Joseph                   7/29/2016             9/19/2016         7/24/2017   TTEC
   Ojeda Naranjo              Amy                      5/13/2019             6/13/2019         9/24/2018   TTEC
   Olatona                    Opeyemi                  5/14/2019             6/17/2019        11/14/2018   TTEC
   Olavarria                  Hector                   7/29/2019   Current Employee            7/23/2019   Taleo
   Oleus                      Shella                   7/18/2019   Current Employee            7/24/2019   TTEC
   Olivero                    Laura                    1/17/2019   Current Employee            9/17/2018   TTEC
   Olivier                    Cassandra                8/26/2019   Current Employee            8/27/2019   TTEC
   Olowu                      Airat                    5/15/2017             9/22/2017         5/26/2017   TTEC
   Olsen                      Joshua                  11/12/2018             1/12/2019        11/13/2018   TTEC
   Oluyemo                    Casey                     7/8/2019   Current Employee            8/12/2019   TTEC
   O'Neal                     Susie                    12/4/2017             2/20/2018         12/5/2017   TTEC
   Opitek                     Agata                   10/16/2017             3/22/2019         6/17/2013   TTEC
   Orantes                    Silvia                   8/26/2019   Current Employee            8/26/2019   TTEC
   Orr                        Annette                  5/15/2017            10/12/2017         5/24/2017   TTEC
   Ortiz                      Lissette                  5/6/2019              5/6/2019         7/10/2017   TTEC
   Osterfeld                  Amanda                   7/21/2017             3/23/2018         7/24/2017   TTEC
   Ostermiller                Misty                    9/30/2016             12/5/2016        10/10/2016   TTEC
   Ottenbaker                 Jessica                  3/26/2018              4/5/2019         3/30/2018   TTEC
   Ottman                     Sandra                    2/5/2018   Current Employee             2/5/2018   TTEC
   Owens                      Andrea                   11/5/2018             7/15/2019        11/15/2018   TTEC
   Owens                      Brandi                   7/29/2019   Current Employee            11/1/2018   TTEC
   Owens                      Jasmine                  9/17/2018              4/9/2019         8/14/2017   TTEC
   Owens                      Warren                   5/15/2017   Current Employee            5/26/2017   TTEC
   Pabon                      Christina               12/10/2018             1/17/2019        12/10/2018   TTEC
   Pace                       Tanya                    7/22/2019             9/13/2019         7/22/2019   TTEC
   Padalino                   Samantha                 6/27/2019             7/19/2019         7/11/2019   TTEC
   Paddie                     Martha                    3/4/2019   Current Employee             3/4/2019   TTEC
   Page                       Sinom                     1/2/2018             2/16/2018          1/5/2018   TTEC
   Page                       Tammy                    12/3/2015             1/31/2017         12/8/2015   TTEC
   Palacios                   Kimberley                8/28/2017   Current Employee            8/28/2017   TTEC
   Parker                     Nicole                  10/15/2018             12/7/2018        10/16/2018   TTEC
   Parks                      Dwight                   7/17/2015             7/10/2019         6/11/2019   TTEC
   Parks                      Jaminecia                1/14/2019             2/25/2019         1/14/2019   TTEC
   Parnell                    Stacy                    9/24/2018             5/20/2019         9/28/2018   TTEC


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                                                                                         Date of               Form of
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                                                                    Employment Status/  Arbitration          Agreement
            Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Paroski                    Trey                      6/7/2017            11/30/2017          6/7/2017   TTEC
   Parris                     Haylu                   10/15/2018              5/8/2019        10/15/2018   TTEC
   Paschal                    Shana                    6/28/2019              8/7/2019         7/10/2019   TTEC
   Paslay                     Leslie                   5/15/2017   Current Employee            5/23/2017   TTEC
   Passeggio                  Karen                    9/10/2018            12/10/2018         9/10/2018   TTEC
   Pasteris                   John                     5/15/2017            12/31/2017         5/25/2017   TTEC
   Pate                       Wanda                   10/14/2016             2/28/2017        10/14/2016   TTEC
   Patterson                  Kimberlie                11/2/2015             8/19/2016         11/3/2015   TTEC
   Patterson                  Tyrell                    1/2/2019             1/29/2019          1/4/2019   TTEC
   Paul                       Lakenda                  7/29/2016              8/1/2016         7/30/2016   TTEC
   Payne                      Victoria                10/22/2018            12/22/2018        10/25/2018   TTEC
   Payne                      Violet                   10/8/2018             12/8/2018        11/22/2017   TTEC
   Pearcy                     Leandra                 11/13/2017             1/15/2018        11/13/2017   TTEC
   Peck                       Jeffrey                  2/14/2019             3/30/2019         2/14/2019   TTEC
   Pena                       Liana                   10/15/2018            11/14/2018        10/16/2018   TTEC
   Pendergrass                Kenya                   10/16/2017              1/3/2018        10/16/2017   TTEC
   Pendleton                  Whitney                  3/27/2017              5/8/2018         3/27/2017   TTEC
   Pennington                 Joseph                   7/29/2016             4/20/2018         7/29/2016   TTEC
   Peoples                    Bessie                   7/29/2019   Current Employee            7/27/2019   Taleo
   Percival                   Patricia                 5/15/2017   Current Employee             7/7/2017   TTEC
   Perez                      Brandi                   7/15/2019   Current Employee            7/15/2019   TTEC
   Perez                      Grishel                  8/19/2019   Current Employee            8/13/2019   Taleo
   Perez                      Katarina                 2/18/2019             2/18/2019         3/20/2017   TTEC
   Perez                      Yasmeen                   8/6/2018             1/25/2019          8/7/2018   TTEC
   Perez                      Yvonne                  11/13/2017             2/26/2018        12/26/2017   TTEC
   Perez Pagan                Coralys                  5/15/2017              8/4/2018         5/25/2017   TTEC
   Perfetti                   Amber                     2/4/2019             7/11/2019          2/4/2019   TTEC
   Pergande                   Lacey                    5/30/2017             5/23/2019         5/30/2017   TTEC
   Perkins                    Bruce                   10/11/2017             11/2/2017        10/11/2017   TTEC
   Perkins                    Nicholas                 11/3/2017            11/24/2018         11/6/2017   TTEC
   Perkins                    Quinn                    7/18/2019   Current Employee            7/19/2019   TTEC
   Perry                      Alphelia                 6/25/2018              8/2/2018         6/26/2018   TTEC
   Perry                      Veronica                 9/17/2018              2/6/2019         9/20/2018   TTEC
   Peters                     Daniel                   7/31/2017            12/10/2017         9/24/2018   TTEC
   Peters                     Kirk                     3/11/2019   Current Employee            3/13/2019   TTEC
   Peters                     Lisa                    11/12/2018              3/1/2019        11/13/2018   TTEC
   Petersen                   Ashley                    8/7/2017             9/26/2017         8/11/2017   TTEC
   Peterson                   Brandi                   2/26/2018             3/13/2018         2/27/2018   TTEC
   Peterson                   Bridget                   4/1/2019             6/11/2019         9/28/2017   TTEC
   Peterson                   Julian                   8/29/2018            10/18/2018        10/26/2017   TTEC
   Peterson                   Meredith                  7/9/2018             7/26/2018          9/4/2019   Taleo
   Peterson                   Tenisha                 10/23/2018             2/11/2019         3/20/2015   TTEC
   Petrella                   Mariah                    9/5/2017            11/11/2018         9/27/2017   TTEC
   Phelan                     Michael                   6/5/2017   Current Employee            7/31/2017   TTEC
   Phifer                     Justin                   6/11/2018              8/9/2018         6/11/2018   TTEC
   Phillips                   Jeremiah                  4/2/2018            10/16/2018         4/13/2018   TTEC
   Phillips                   Keylon                  12/10/2018             8/31/2019        12/10/2018   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
            Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Phillips                   Rita                      1/7/2019             2/13/2019         1/11/2019   TTEC
   Phillips                   Vicki                   10/23/2017            10/31/2017         7/15/2019   TTEC
   Phillips                   Wendy                    9/23/2019   Current Employee            9/27/2019   TTEC
   Pich                       Kyle                     10/7/2016            11/14/2016        10/26/2015   TTEC
   Pickens                    Shayla                   9/17/2018             2/20/2019         9/17/2018   TTEC
   Pickett                    Aunslow                  7/17/2017              2/9/2018         7/18/2017   TTEC
   Pierce                     Nashina                  3/19/2018             6/11/2019         3/19/2018   TTEC
   Pierce                     Otishea                  5/21/2018             1/31/2019         5/21/2018   TTEC
   Pierre                     Fabiola                   4/9/2018              6/3/2018          4/9/2018   TTEC
   Pilon                      Nicholas                12/10/2016              2/9/2018        12/16/2016   TTEC
   Pinchera                   Leah                      6/7/2017              1/9/2019        12/23/2016   TTEC
   Pinkowski                  Jason                    8/27/2018            10/17/2018         8/30/2018   TTEC
   Pirolle                    Anaika                   10/2/2017            11/13/2017         10/6/2017   TTEC
   Planty                     Helen                   10/29/2018             5/30/2019         11/5/2018   TTEC
   Pless                      Shawn                    9/18/2017             5/18/2018         9/18/2017   TTEC
   Poe                        Tera                     8/19/2016             8/23/2016          4/8/2016   TTEC
   Pohren                     Stephen                  5/15/2017              3/1/2019         5/26/2017   TTEC
   Pointer                    DeShunte                 7/17/2017              8/8/2017         7/17/2017   TTEC
   Pollard                    Austin                  10/22/2018             12/7/2018        11/16/2018   TTEC
   Ponder                     Eva                      7/17/2018             8/11/2018          8/3/2018   TTEC
   Ponnell                    Angela                   8/21/2015   Current Employee             7/5/2019   TTEC
   Poole                      Stacey                  10/12/2015             2/21/2017        10/12/2015   TTEC
   Pope                       Breanna                  9/17/2018             1/30/2019         9/18/2018   TTEC
   Pope                       Peter                     8/6/2018            12/10/2018         2/15/2018   TTEC
   Porcher                    Tyra                     4/30/2018   Current Employee             5/1/2018   TTEC
   Porter                     Sparkle                  5/15/2017             5/21/2018         5/26/2017   TTEC
   Posey                      Miranda                   2/2/2015             1/17/2019         8/14/2017   TTEC
   Posey                      Shawna                   9/27/2016             9/30/2016         7/27/2015   TTEC
   Posey                      Stephen                 10/10/2018             7/19/2019         4/30/2018   TTEC
   Pospisil                   Meagan                   8/17/2017              1/8/2018         8/22/2017   TTEC
   Poston                     Adam                    12/10/2016             2/28/2017         1/26/2017   TTEC
   Potter                     Karwin                    9/5/2017              3/9/2018         9/18/2017   TTEC
   Potter                     Kimberly                11/14/2017              3/4/2018        11/17/2017   TTEC
   Pouge                      Leticia                   4/8/2019   Current Employee           10/17/2017   TTEC
   Powell                     Amanda                  10/22/2018             2/27/2019        10/22/2018   TTEC
   Powell                     Angel                   11/12/2018   Current Employee           11/13/2018   TTEC
   Powell                     Machaela                10/24/2016             1/12/2018        10/24/2016   TTEC
   Powell                     Michele                  7/23/2018             8/19/2018         7/23/2018   TTEC
   Prevaut                    Ernise                   5/15/2017   Current Employee            6/28/2017   TTEC
   Price                      Kristy                   7/18/2019             7/18/2019         6/19/2018   TTEC
   Price                      La                      11/16/2017              3/4/2018          9/6/2017   TTEC
   Prince                     Justin                   6/18/2018            10/12/2018         7/30/2018   TTEC
   Pringnitz                  Howard                    4/1/2019   Current Employee            7/12/2019   TTEC
   Pruitt                     Kristy                   9/21/2017            12/30/2017         9/26/2017   TTEC
   Pryce                      Vicki                    7/17/2017             1/21/2019         7/19/2017   TTEC
   Pugh                       Denniseya                 9/3/2018             8/23/2019          9/4/2018   TTEC
   Pugh                       Jeronica                11/20/2017   Current Employee           11/21/2017   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Pujols                     Wilkenia                 11/1/2017             1/16/2018         11/1/2017   TTEC
   Purchase                   Robin                    9/10/2018             1/28/2019         1/10/2019   TTEC
   Puskarich                  Gabriel                  9/23/2016             1/12/2017         9/23/2016   TTEC
   Quashie                    Gloria                    9/2/2016             7/15/2019          9/7/2016   TTEC
   Query                      William                  1/21/2019   Current Employee            6/13/2018   TTEC
   Quinn                      Stephanie                5/13/2019   Current Employee            5/16/2019   TTEC
   Quinton                    Ivy                      11/7/2018             1/31/2019        11/15/2018   TTEC
   Radford                    Kionna                   9/12/2016              3/3/2017          3/7/2014   TTEC
   Ramey                      Nicole                   8/28/2017             1/31/2018         9/20/2017   TTEC
   Ramirez                    Jose                      6/3/2019             7/10/2019          6/6/2019   TTEC
   Ramos                      Rafael                   9/11/2017             12/1/2017         9/18/2017   TTEC
   Randall                    Halle                   11/12/2018              2/1/2019        11/12/2018   TTEC
   Randolph                   Lorrie                  10/11/2018             3/27/2019         10/3/2016   TTEC
   Ranking                    Lamersi                   9/3/2019   Current Employee            8/29/2019   Taleo
   Ransom                     Jasmine                   8/9/2019   Current Employee             9/2/2019   TTEC
   Ratzsch                    Josef                     5/8/2017   Current Employee            5/19/2017   TTEC
   Ravion                     Stephanie                 6/3/2019   Current Employee            6/11/2019   TTEC
   Rawlings                   Charmeia                 2/26/2018             3/27/2018         2/27/2018   TTEC
   Ray                        Georgetta                3/26/2018             8/14/2018         3/26/2018   TTEC
   Ray                        Kathleen                10/22/2018             2/26/2019        10/22/2018   TTEC
   Ready                      Brandon                  8/28/2015             7/25/2016          9/4/2015   TTEC
   Reaves                     Barbara                  1/15/2018             2/16/2018         1/15/2018   TTEC
   Reber                      Jordon                   8/26/2016             9/16/2016         8/26/2016   TTEC
   Reddick                    Henry                    9/25/2017            11/13/2017         9/26/2017   TTEC
   Redman-Photiou             Maranda                  3/28/2017              5/7/2018         9/29/2016   TTEC
   Reed                       Brian                    7/29/2019             8/21/2019         7/26/2019   Taleo
   Reed                       Cammille                  9/4/2018              4/1/2019          9/4/2018   TTEC
   Reed                       Tenecia                  10/7/2016            10/10/2016        10/10/2014   TTEC
   Reese                      Justin                    8/1/2017             9/16/2017         1/14/2017   TTEC
   Reese                      Tina                     7/30/2018             3/12/2019         7/30/2018   TTEC
   Reeves                     Vanessa                 11/20/2017             2/22/2018        11/28/2017   TTEC
   Reid                       Laketha                  8/19/2019   Current Employee            8/14/2019   Taleo
   Reid                       Paula                    5/15/2017              8/4/2017          6/6/2017   TTEC
   Reid                       Uniqua                    8/7/2017             9/17/2019         8/14/2017   TTEC
   Remling                    Stephanie                8/26/2016            12/21/2016         8/24/2015   TTEC
   Remmers                    Julie                    8/19/2016            12/13/2016         12/1/2015   TTEC
   Rene                       Karen                   10/14/2016             3/16/2017        10/14/2016   TTEC
   Rentz                      Brittney                 12/4/2017             3/28/2018         12/5/2017   TTEC
   Resnick                    Bruce                    7/29/2016             7/29/2016        12/19/2017   TTEC
   Reyes                      Brittany                  6/5/2017              6/5/2017         7/25/2017   TTEC
   Reyes                      Cecilia                  4/16/2018             6/20/2018         4/16/2018   TTEC
   Reyes                      Dominic                  4/15/2019             6/25/2019         4/15/2019   TTEC
   Reynolds                   Hattiona                  7/3/2017             9/25/2017          7/5/2017   TTEC
   Rhoads                     Rebecca                  9/25/2017             2/13/2019        10/16/2017   TTEC
   Rhodes                     Helen                    11/6/2017            11/10/2017         11/6/2017   TTEC
   Ribbke                     Roger                     7/9/2018             3/15/2019         9/25/2018   TTEC
   Ricci                      Joshua                   7/30/2018            12/31/2018         8/27/2018   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
           Last Name              First Name       Date of Hire    Assignment End Date Agreement              Accepted
   Rice                       Ashlie                   8/13/2019             9/19/2019         8/19/2019   TTEC
   Rice                       Deborah                  3/27/2019   Current Employee             4/2/2019   TTEC
   Rice                       Kendra                  11/20/2018             2/19/2019        11/20/2018   TTEC
   Rich                       Cecil                    8/13/2018             1/20/2019         9/10/2018   TTEC
   Rich                       Sandy                    7/16/2018             9/24/2018         7/16/2018   TTEC
   Richard                    Tina                    10/30/2017             6/20/2019        10/30/2017   TTEC
   Richardson                 Donna                    7/29/2019   Current Employee           12/26/2014   TTEC
   Richardson                 Erica                    9/10/2018            12/10/2018         9/10/2018   TTEC
   Richardson                 Rhonda                   4/30/2018             6/18/2018          5/1/2018   TTEC
   Richardson                 Sandra                   7/29/2013             9/16/2016         7/29/2013   TTEC
   Richardson                 Yvonne                    7/8/2019   Current Employee             7/9/2019   TTEC
   Rigby                      April                    8/17/2017            11/17/2017         8/21/2017   TTEC
   Riggs                      Larry                    8/19/2016             8/29/2016         9/20/2019   TTEC
   Riley                      Alyssa                   10/3/2018   Current Employee            12/5/2017   TTEC
   Riley                      Carl                     5/15/2017             7/11/2017         5/16/2017   TTEC
   Riley                      Kiana                     7/5/2018   Current Employee             7/9/2018   TTEC
   Riley                      Leticia                   9/3/2018            11/15/2018         2/15/2017   TTEC
   Riley                      Nekia                    8/30/2018             8/31/2018         8/16/2017   TTEC
   Rinaman                    Lacy                     9/27/2016             4/10/2017         9/27/2016   TTEC
   Ritger                     Jennifer                 8/16/2013             2/21/2019         8/16/2013   TTEC
   Rivera                     Cindy                    5/13/2019             7/22/2019         6/28/2019   TTEC
   Rivera                     Claudio                  6/18/2018              5/7/2019         7/13/2018   TTEC
   Rivera                     Isiah                     9/4/2018             9/20/2018          9/5/2018   TTEC
   Rivera                     Jessica                  8/27/2018            12/26/2018         8/29/2018   TTEC
   Rivers                     Allasia                  6/19/2017             9/22/2017         6/20/2017   TTEC
   Robbins                    Danna                    7/22/2016             7/22/2016          9/4/2015   TTEC
   Robbins                    Jessica                  4/30/2018             5/25/2018          5/2/2018   TTEC
   Robbins                    Rauquiyah                10/2/2017             10/2/2017         11/1/2017   TTEC
   Roberson                   Kaylah                   1/15/2018             6/17/2018         1/16/2018   TTEC
   Roberson                   Lyric                    1/15/2018             6/18/2018         1/16/2018   TTEC
   Roberts                    Deja                      4/9/2018             5/19/2018          4/9/2018   TTEC
   Roberts                    Dorothy                  10/8/2018             2/25/2019         10/8/2018   TTEC
   Roberts                    Tracy                     6/4/2018             7/23/2018          6/9/2018   TTEC
   Robertson                  Annette                   9/3/2019   Current Employee             8/2/2018   TTEC
   Robertson                  Chelsea                   7/9/2018             12/8/2018         1/12/2017   TTEC
   Robertson                  Keierra                  10/7/2016             9/15/2017        10/10/2016   TTEC
   Robertson                  Tracy                     6/2/2014              1/5/2017          6/2/2014   TTEC
   Robinson                   Almond                    9/5/2017            10/24/2017          9/5/2017   TTEC
   Robinson                   Camelia                  9/17/2018            11/19/2018         9/26/2018   TTEC
   Robinson                   Dorshena                 5/15/2017   Current Employee            7/28/2017   TTEC
   Robinson                   Ebony                    5/15/2017             7/11/2017         5/18/2017   TTEC
   Robinson                   Iris                     7/31/2017              8/8/2018         7/31/2017   TTEC
   Robinson                   Jacqueline               11/5/2018             7/19/2019         11/6/2018   TTEC
   Robinson                   Jeanne                   7/24/2017            10/17/2017         7/28/2017   TTEC
   Robinson                   Latrica                  8/26/2019             8/30/2019          8/8/2019   Taleo
   Robinson                   Natasha                  4/15/2019              7/1/2019         9/24/2019   TTEC
   Robinson                   Reginald                 8/26/2016             8/31/2016         8/26/2016   TTEC


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                                                                                         Date of               Form of
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                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Robinson                   Rhonda                   8/28/2015   Current Employee             6/4/2018   TTEC
   Robinson                   Shakhara                 6/19/2017             8/25/2017         6/20/2017   TTEC
   Robinson                   Shaterious              10/11/2017             4/13/2019        10/12/2017   TTEC
   Robinson                   Sheila                   8/14/2017   Current Employee             3/7/2014   TTEC
   Robinson                   Terrell                  5/15/2017   Current Employee            5/25/2017   TTEC
   Robinson                   Tristaca                 8/29/2018             9/11/2018          9/7/2018   TTEC
   Robinson                   Wiemyn                   8/28/2017             2/24/2018        12/27/2018   TTEC
   Robles                     Gabriel                 10/16/2017            12/12/2017        10/25/2017   TTEC
   Roby                       Yolanda                  2/27/2017            10/25/2018         8/16/2018   TTEC
   Roddy                      Haley                     5/2/2016             11/9/2016          5/3/2016   TTEC
   Rodgers                    Abbigail                 5/14/2018             5/15/2018         12/5/2017   TTEC
   Rodgers                    Valerie                  9/30/2016              1/6/2017         7/28/2014   TTEC
   Rodriguez                  Dina                      9/9/2019   Current Employee            9/26/2019   TTEC
   Rodriguez                  Jesus                     9/9/2016             2/17/2017          9/9/2016   TTEC
   Rodriguez                  Morningstar             10/30/2017             12/7/2017         11/1/2017   TTEC
   Rodriguez                  Yolanda                  11/1/2016             5/18/2018        12/18/2015   TTEC
   Roebuck-Mack               April                    8/26/2016             5/27/2019         8/30/2016   TTEC
   Roenbeck                   Loretta                  7/24/2017             1/23/2018         7/24/2017   TTEC
   Rogers                     Amber                   10/16/2017            12/28/2018        10/17/2017   TTEC
   Rogers                     Australia                1/14/2019              4/8/2019         1/15/2019   TTEC
   Rogers                     Boris                     9/6/2018             9/17/2018         9/10/2018   TTEC
   Rogers                     Danielle                 9/30/2016              6/8/2017         10/3/2016   TTEC
   Rogers                     Lynn                     9/18/2017             3/28/2018         9/18/2017   TTEC
   Rogers                     Stephanie                10/9/2017            12/31/2017        10/11/2017   TTEC
   Rogers                     Thomas                   7/31/2017   Current Employee             8/1/2017   TTEC
   Rogers                     Tomicha                   5/2/2019             8/13/2019          5/3/2019   TTEC
   Rollo                      Ashley                   8/29/2018             9/25/2018          9/7/2018   TTEC
   Rosales                    Alicia                  10/10/2016            12/16/2016         9/11/2018   TTEC
   Rosario                    Bethany                  12/3/2018             3/18/2019         12/3/2018   TTEC
   Rose                       Denise                  10/23/2017              8/6/2018        10/23/2017   TTEC
   Rose                       Dorothy                  7/30/2018            10/19/2018         8/24/2018   TTEC
   Roseboro                   Candice                  8/26/2019   Current Employee            5/19/2017   TTEC
   Ross                       Marci                   11/27/2017              8/1/2019        11/30/2017   TTEC
   Rounds                     Seth                    12/12/2016             3/27/2017        12/12/2016   TTEC
   Rowland                    Megan                    5/15/2017             7/19/2017          6/6/2017   TTEC
   Royston                    Jair                    10/29/2018            11/21/2018         12/3/2019   Taleo
   Rozier                     Jamilia                  10/8/2018            12/31/2018         10/8/2018   TTEC
   Rucker                     Bianca                   7/22/2016              9/6/2016         8/28/2015   TTEC
   Rucker                     Robin                    9/19/2014             12/3/2016         9/19/2014   TTEC
   Rucker                     Zachery                  3/27/2017             5/23/2017         3/28/2017   TTEC
   Ruiz                       Jasmine                  8/19/2019             9/10/2019         8/15/2019   Taleo
   Ruley                      Jarrod                   3/18/2019             4/22/2019         3/18/2019   TTEC
   Rumley                     Beverly                  5/15/2017   Current Employee            8/28/2019   TTEC
   Rupert                     Bethany                  7/23/2018             7/24/2018         8/20/2019   TTEC
   Russell                    Caitlin                 12/11/2017            12/11/2017        10/30/2017   TTEC
   Russell                    Jessica                  8/13/2018             12/9/2018         8/14/2018   TTEC
   Russell                    Kendra                   9/23/2016             3/15/2019         9/24/2016   TTEC


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                                                                                         Date of               Form of
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                                                                    Employment Status/  Arbitration          Agreement
            Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Russell                    Pamela                   9/11/2017            10/17/2017         9/12/2017   TTEC
   Russell-Scibilia           Madison                  10/9/2017             2/11/2018        10/11/2017   TTEC
   Rutledge                   Adrienne                 5/15/2017   Current Employee             6/3/2017   TTEC
   Ryan                       Seleta                   8/21/2017   Current Employee            8/23/2017   TTEC
   Saenz                      Erlinda                  7/31/2017            12/12/2017         8/21/2017   TTEC
   Saffa                      Sallieu                 10/16/2017             2/19/2018        10/17/2017   TTEC
   Sallie                     Kimberly                 9/18/2017              1/2/2018         9/18/2017   TTEC
   Sample                     Alysha                   9/18/2017              5/3/2019         10/1/2018   TTEC
   Sampson                    Latrisha                 4/16/2018             7/15/2019         4/16/2018   TTEC
   Sanchez                    Felipe                    8/6/2018              2/1/2019          8/9/2018   TTEC
   Sanchez                    Tiffany                   8/6/2018             1/17/2019         8/10/2018   TTEC
   Sanders                    Aleatha                  9/20/2019   Current Employee            9/26/2019   TTEC
   Sanders                    Brianna                  6/19/2017             7/17/2017         6/21/2017   TTEC
   Sanders                    Donesheia                5/15/2017            10/24/2017         5/26/2017   TTEC
   Sanders                    Scott                    9/12/2016   Current Employee            9/26/2016   TTEC
   Sanford                    Hayley                    9/9/2019   Current Employee            8/14/2017   TTEC
   Sanford                    Richard                  9/17/2018            10/23/2018         9/20/2018   TTEC
   Santana                    Carmen                   5/15/2017              4/1/2018         5/24/2017   TTEC
   Santos                     Areli                     1/8/2018              7/5/2019         4/22/2019   TTEC
   Santos                     Martha                   9/18/2017             3/15/2019        10/24/2017   TTEC
   Santos                     Oscar                    5/15/2017              3/1/2019         5/23/2017   TTEC
   Sasser                     Patricia                  9/3/2019              9/9/2019         8/21/2019   Taleo
   Sater                      Christian               10/24/2018            12/31/2018        10/31/2018   TTEC
   Sauls-Mynor                Farvette                  8/7/2017              8/7/2017          9/6/2018   TTEC
   Sauser                     Kathleen                11/17/2017             4/26/2018        11/22/2017   TTEC
   Sawyer                     Raquel                  10/16/2018             4/12/2019        10/16/2018   TTEC
   Scarlett                   Elizabeth                7/22/2019   Current Employee            8/26/2019   TTEC
   Schlussel                  Gary                    10/23/2018             5/20/2019          3/7/2019   TTEC
   Schoenweiss                Katherine                5/15/2017             8/31/2017         5/23/2017   TTEC
   Schoonover                 Lucrecia                 8/14/2015              2/8/2017         9/12/2014   TTEC
   Schurtz                    Brittany                10/29/2018            11/27/2018         11/7/2018   TTEC
   Scott                      Angel                     7/1/2019              7/5/2019          7/1/2019   TTEC
   Scott                      Darnique                 7/31/2017             3/19/2018          8/1/2017   TTEC
   Scott                      Denetra                  5/15/2017             8/31/2017         5/23/2017   TTEC
   Scott                      Helen                    3/28/2016            10/20/2016         3/28/2016   TTEC
   Scott                      Jessica                  6/19/2017              5/7/2018         6/20/2017   TTEC
   Scott                      June                     9/25/2017            12/11/2017         4/21/2014   Revana
   Scott                      Marion                   9/10/2018   Current Employee            9/11/2018   TTEC
   Scott                      Sarita                   5/15/2017             8/31/2017         5/23/2017   TTEC
   Scott                      Shonika                   1/8/2018             3/14/2018         1/18/2018   TTEC
   Scozzari                   Francis                   2/4/2019             8/28/2019         3/18/2019   TTEC
   Sculark                    Alexis                  10/30/2017            12/18/2017         11/6/2017   TTEC
   Sculark                    Britney                  7/31/2017             11/3/2017          8/1/2017   TTEC
   Searles                    Nancy                    8/21/2017             9/29/2017          7/2/2018   TTEC
   Sechler                    Bradley                  8/28/2017             7/16/2019         8/28/2017   TTEC
   Selmore                    Kenneth                  11/7/2018              1/2/2019        11/14/2018   TTEC
   Selvera                    Jordan                   2/19/2018              5/7/2018         2/20/2018   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
            Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Senat                      Karen                    4/20/2019             7/26/2019         4/30/2019   TTEC
   Sessoms                    Lakisha                 10/29/2018             5/30/2019         11/5/2018   TTEC
   Shackleford                Veronica                  4/4/2016              3/8/2018         12/2/2015   TTEC
   Shafiq                     Muhamad                  9/11/2017             3/15/2019         9/11/2017   TTEC
   Sharp                      Cory                     12/5/2018   Current Employee            9/25/2017   TTEC
   Sharper                    Tinisha                 10/16/2017             3/16/2018        10/23/2017   TTEC
   Shaw                       Shontion                10/16/2017             5/21/2018        10/16/2017   TTEC
   Shaw                       Wanda                    10/1/2018              3/4/2019         10/1/2018   TTEC
   Shelton                    Crystal                 10/22/2018             3/15/2019         11/8/2018   TTEC
   Shelton                    Jennifer                10/14/2016            10/14/2016          5/2/2018   TTEC
   Shelton                    Shelly                   7/10/2017             7/10/2017         11/8/2018   TTEC
   Shelton-Wells              Dawn                     6/19/2017             7/11/2017         6/21/2017   TTEC
   Sherman                    Tamela                   5/15/2017            11/13/2017         5/25/2017   TTEC
   Sherockman                 Jeanette                 3/26/2018              5/2/2019         4/20/2018   TTEC
   Shindler                   Susette                   7/8/2019             7/31/2019          7/9/2019   TTEC
   Shipley                    Tiffany                  4/15/2019             4/23/2019         4/15/2019   TTEC
   Shipp                      Janeene                 10/29/2018   Current Employee           10/30/2018   TTEC
   Shipp                      Kayla                    9/25/2017             5/29/2018        10/23/2017   TTEC
   Shockley                   Rachel                   7/27/2015            10/16/2017         7/28/2015   TTEC
   Shoe                       Renae                    5/15/2017              2/5/2019         5/23/2017   TTEC
   Shuster                    Yankel                  10/12/2015   Current Employee             5/9/2017   TTEC
   Sidberry                   Vernel                   5/19/2017             9/26/2017         5/19/2017   TTEC
   Siewharack                 Karma                     1/8/2018             3/22/2018         1/19/2018   TTEC
   Sifford                    Porsha                   7/31/2017              9/5/2017          8/1/2017   TTEC
   Sightler                   Shamika                  5/15/2017              8/7/2017         5/18/2017   TTEC
   Simmons                    Courtney                  9/3/2019   Current Employee            8/31/2019   Taleo
   Simmons                    Frances                  8/19/2016             1/11/2017         8/14/2017   TTEC
   Simmons                    Miasha                    9/8/2014             11/6/2016          9/8/2014   TTEC
   Simmons                    Vincentia                10/7/2016            10/13/2016         10/7/2016   TTEC
   Simmons                    Vonda                    5/15/2017            11/16/2017         5/25/2017   TTEC
   Simon                      Charles                  4/16/2018             7/27/2018         4/16/2018   TTEC
   Simpson                    Brittany                 12/3/2018             7/15/2019         12/6/2018   TTEC
   Sims                       Amber                     9/9/2016             8/21/2017         9/12/2016   TTEC
   Sims                       Anthony                  9/21/2017            10/19/2018         9/25/2017   TTEC
   Sims                       Gidget                   4/22/2019             4/22/2019         9/17/2019   Taleo
   Sims                       LaKeshia                  7/2/2018             7/26/2018         8/27/2018   TTEC
   Sinclair                   Shirese                 10/14/2016            10/19/2016          1/8/2018   TTEC
   Skaggs                     Sandra                   5/15/2017             6/18/2019         5/19/2017   TTEC
   Slater                     Delwin                   8/12/2019             8/12/2019         7/31/2019   Taleo
   Slater                     Mary                     7/17/2017   Current Employee            7/20/2017   TTEC
   Slater                     Tamara                   9/11/2015             11/2/2016         9/21/2015   TTEC
   Sloan                      Monteia                 12/10/2016              9/7/2018        12/29/2016   TTEC
   Slocumb                    Malcolm                   8/6/2018   Current Employee             9/4/2018   TTEC
   Sluss                      Alishia                 10/14/2016             4/26/2017        10/14/2016   TTEC
   Small                      Andrew                   5/29/2018             6/22/2018         5/30/2018   TTEC
   Smalls                     Mitchum                   9/2/2016             11/3/2016         8/29/2014   TTEC
   Smalls                     Tonnia                    9/2/2016             11/3/2016         8/29/2014   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Smith                      Allanda                  5/15/2017             8/15/2017         5/19/2017   TTEC
   Smith                      Arianna                  9/17/2018             1/14/2019         9/17/2018   TTEC
   Smith                      Carlos                   4/12/2016             10/3/2016         4/12/2016   TTEC
   Smith                      Chantelle                6/27/2017             4/13/2018         6/27/2017   TTEC
   Smith                      Danyelle                 10/2/2015             9/19/2016         10/5/2015   TTEC
   Smith                      Daynelle                 5/15/2017   Current Employee            5/31/2017   TTEC
   Smith                      Desmond                  8/14/2017             8/14/2017         8/28/2015   TTEC
   Smith                      Eric                     10/3/2016             1/27/2017         10/4/2016   TTEC
   Smith                      Haley                    12/3/2018              1/2/2019         12/6/2018   TTEC
   Smith                      Heather                  9/11/2017              4/1/2018        10/16/2017   TTEC
   Smith                      Kacie                    7/10/2017             1/17/2018         8/27/2018   TTEC
   Smith                      Kanesha                  9/25/2017             11/7/2018        10/24/2017   TTEC
   Smith                      Kim-Marie               12/10/2018             4/15/2019        12/11/2018   TTEC
   Smith                      Lashea                  11/14/2017              3/4/2018        10/12/2017   TTEC
   Smith                      Lena                     4/22/2019   Current Employee            4/25/2019   TTEC
   Smith                      Minnie                    9/2/2016   Current Employee            1/15/2018   TTEC
   Smith                      Nicholas                  9/2/2016              2/3/2017          9/2/2016   TTEC
   Smith                      Octavia                  7/29/2013              3/6/2019         7/29/2013   TTEC
   Smith                      Paula                     9/2/2014             12/2/2016          9/2/2014   TTEC
   Smith                      Schawanda                10/7/2016             7/19/2017         10/7/2013   TTEC
   Smith                      Shequan                  10/9/2017             4/13/2018         8/31/2018   TTEC
   Smith                      Tiffany G.              11/20/2017              2/1/2018        11/20/2017   TTEC
   Smith                      Tiffany C.               9/16/2019   Current Employee            8/22/2019   Taleo
   Smithhart                  Shadoe                   12/4/2017            12/28/2017         12/5/2017   TTEC
   Smithwick                  Alma                     8/15/2014             8/23/2016         8/22/2014   TTEC
   Smura                      Abigail                  7/29/2019   Current Employee           12/10/2018   TTEC
   Snider                     Laura                     7/9/2018             1/31/2019         9/14/2018   TTEC
   Snorton                    Alicia                  10/21/2016            11/19/2016        10/21/2016   TTEC
   Snorton                    Nettie                    1/2/2018              2/1/2019          1/3/2018   TTEC
   Solomon                    La                      11/19/2018             5/30/2019        11/28/2018   TTEC
   Soto                       Harrison                11/11/2017   Current Employee           11/11/2017   TTEC
   Souryyavongsa              Anhtrang                  7/9/2018             3/15/2019          9/5/2018   TTEC
   Southard                   Christine                9/24/2018            12/13/2018         9/25/2018   TTEC
   Southerland                Susan                    9/17/2018            10/18/2018         9/19/2018   TTEC
   Spaeth                     Elaine                   5/15/2017             6/30/2017         5/26/2017   TTEC
   Spaniel                    Sue                      7/24/2017             9/10/2019         8/28/2017   TTEC
   Spear                      Amber                    6/11/2018             7/24/2018         6/12/2018   TTEC
   Spearman                   Alicia                   5/15/2017             9/11/2017         5/24/2017   TTEC
   Spearman                   Kennisha                10/23/2017             11/8/2017         11/6/2018   TTEC
   Spears                     Kimberly                 8/19/2016             8/24/2017         8/29/2016   TTEC
   Spears                     Tamesha                 10/15/2018             1/29/2019        10/30/2018   TTEC
   Speed                      Carissa                  10/8/2018             8/19/2019         10/8/2018   TTEC
   Speed                      Dorothy                   3/6/2017             3/16/2017          3/6/2017   TTEC
   Spencer                    Amber                    10/9/2017            10/11/2018        10/16/2017   TTEC
   Spencer                    Gia                      8/11/2017             12/6/2017          9/5/2017   TTEC
   Spencer                    Shatavia                 9/10/2018             4/28/2019        12/27/2018   TTEC
   Spencer                    Terrell                   4/1/2019   Current Employee           11/12/2018   TTEC


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                                                                                         Date of               Form of
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                                                                    Employment Status/  Arbitration          Agreement
            Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Spriggs                    Mary                     1/21/2019   Current Employee            1/22/2019   TTEC
   Springs                    Vanessa                  5/15/2017              8/5/2017         5/26/2017   TTEC
   Sprouse                    Kenisha                 12/22/2016             4/26/2017         6/25/2018   TTEC
   Spry                       Jared                    9/11/2017            11/30/2017         9/11/2017   TTEC
   Squaire                    Neoshia                  10/8/2018              6/1/2019         3/27/2019   TTEC
   Staats                     Eric                      9/4/2018            12/10/2018         9/24/2018   TTEC
   Stahlman                   Jack                     8/26/2016             1/30/2017         8/26/2016   TTEC
   Stallard                   Harley                   9/24/2018            10/30/2018         9/26/2018   TTEC
   Stallworth                 Kenyanita                 5/9/2018   Current Employee            5/18/2018   TTEC
   Standley                   Nichole                  5/15/2017             8/16/2017         5/15/2017   TTEC
   Stanford                   Kendra                    9/4/2018             9/14/2018          9/5/2018   TTEC
   Stanley                    Ebony                   10/22/2018             2/20/2019         11/8/2018   TTEC
   Stanley                    Kendra                   8/28/2017            10/15/2018         9/12/2017   TTEC
   Staples                    Lakeisha                10/30/2017             11/8/2017        10/31/2017   TTEC
   Starkel                    Scott                    8/26/2016            11/28/2016         8/29/2016   TTEC
   Starling                   Ida                     11/16/2017             3/29/2018        11/21/2017   TTEC
   Stavola                    Paul                     12/9/2013             6/11/2019          4/4/2014   TTEC
   Steamer                    Edwin                    8/19/2019   Current Employee            8/20/2019   TTEC
   Steele                     Cortney                  10/8/2018            10/16/2018         9/22/2015   TTEC
   Steele                     Lakesha                  5/15/2017   Current Employee            9/24/2019   TTEC
   Stegall                    Joy                      8/26/2016            11/22/2016         8/26/2016   TTEC
   Steinke                    Sallie                   6/25/2018             7/11/2019         6/25/2018   TTEC
   Steinkirchner              Patricia                 8/14/2017             3/15/2019         8/18/2017   TTEC
   Stephan                    Michelle                10/29/2018             5/30/2019         11/5/2018   TTEC
   Stephens                   Grady                    5/15/2017             9/18/2017         5/19/2017   TTEC
   Stephens                   Willie                    9/5/2017            11/13/2017         9/14/2017   TTEC
   Stepp                      Leslie                   8/19/2016              5/1/2017         1/23/2015   TTEC
   Sterling                   Elyssabeth               5/20/2019             8/12/2019        11/14/2018   TTEC
   Sterns                     Brittanya                 5/6/2019              5/6/2019          1/6/2014   TTEC
   Stevenson                  LaTasha                 11/20/2017             1/22/2018        11/20/2017   TTEC
   Stevenson                  Onesha                   12/4/2017             1/24/2018        12/19/2017   TTEC
   Stevenson                  Reanna                   5/15/2017              8/1/2017         5/24/2017   TTEC
   Stevenson                  Stephanie                 9/5/2017            10/26/2017         9/18/2017   TTEC
   Steward-Smith              Laquita                  8/26/2016            11/12/2016         8/26/2016   TTEC
   Stewart                    Chanel                   5/15/2017             8/31/2017         5/25/2017   TTEC
   Stewart                    Sean                     1/11/2017             4/25/2017        12/11/2017   TTEC
   Stewart                    Siarra                    8/6/2018            12/10/2018        12/26/2017   TTEC
   Stewart                    Tylar                    7/22/2019   Current Employee            8/26/2019   TTEC
   Stickford                  Nikita                    8/7/2019              8/7/2019         7/23/2019   Taleo
   Stinson                    Jasmine                 11/13/2018            11/13/2018         12/9/2013   TTEC
   Stokes                     Vickie                   7/13/2018             9/21/2018         8/14/2018   TTEC
   Stoll                      Brian                     1/7/2019              1/7/2019        10/19/2018   TTEC
   Stone                      Dennis                    9/9/2019   Current Employee           10/24/2018   TTEC
   Stone                      Emily                     5/7/2018              8/9/2018          5/7/2018   TTEC
   Stone                      Gujasmine               10/19/2015             6/22/2017        10/20/2015   TTEC
   Stone                      Vivian                   9/17/2018             9/17/2018         5/15/2017   TTEC
   Storm                      Deborah                   8/2/2018             11/9/2018          8/3/2018   TTEC


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                                                                                         Date of               Form of
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                                                                    Employment Status/  Arbitration          Agreement
            Last Name              First Name      Date of Hire    Assignment End Date Agreement              Accepted
   Stout                      Ericka                  12/17/2018             4/12/2019        12/11/2017   TTEC
   Street                     Stacey                    1/2/2018             6/12/2018          1/2/2018   TTEC
   Streeter                   Tionna                   7/18/2019   Current Employee            7/24/2019   TTEC
   Strickland                 Magdalene                10/9/2017            11/17/2017        10/23/2017   TTEC
   Stricklin                  Kemory                   5/20/2019              8/7/2019         5/21/2019   TTEC
   Strother                   Demetria                10/23/2017             6/19/2018        10/23/2017   TTEC
   Stroud                     Yvette                   8/29/2019   Current Employee             9/6/2019   TTEC
   Struebig                   Kimberly                 4/30/2018             7/25/2018          5/1/2018   TTEC
   Strunk                     Paul                     7/29/2013             7/14/2016         7/29/2013   TTEC
   Stubblefield               Breia                    8/27/2018             1/14/2019         8/27/2018   TTEC
   Stubbs                     Andrene                  9/24/2018            11/20/2018         11/6/2018   TTEC
   Sturdivant                 Deondria                12/14/2015             8/26/2016        12/17/2015   TTEC
   Suggs                      Ashley                   6/27/2017             2/15/2018         6/27/2017   TTEC
   Suhr                       Chelsea                  6/18/2018              9/4/2018         6/18/2018   TTEC
   Sukel                      Kathy                    1/21/2019   Current Employee            9/10/2018   TTEC
   Sullivan                   Alexus                    9/4/2018   Current Employee             9/4/2018   TTEC
   Sullivan                   Mark W.                  5/15/2017             7/22/2017         5/23/2017   TTEC
   Sullivan                   Mark D.                  7/16/2018             3/15/2019         7/16/2018   TTEC
   Sully                      Nattash                  5/15/2017             6/21/2018         5/29/2017   TTEC
   Sumerset                   Camille                  4/22/2019             6/25/2019         4/23/2019   TTEC
   Summers                    Durindia                  9/9/2016             1/10/2017          9/9/2016   TTEC
   Sunderland                 Sonja                    5/30/2017             3/18/2019         5/30/2017   TTEC
   Sutton                     Briana                   5/15/2017             6/16/2017         5/25/2017   TTEC
   Sutton                     Kayla                   11/21/2016             5/16/2017        11/22/2016   TTEC
   Sutton                     Lakeisha                10/16/2017             2/19/2018        10/16/2017   TTEC
   Swafford                   Amy                     10/16/2017              3/8/2018        11/13/2017   TTEC
   Sweeney                    Elizabeth                1/12/2017              5/2/2017        11/14/2016   TTEC
   Swiger                     Heather                  10/3/2016            10/17/2016         9/26/2017   TTEC
   Swinson                    Shantel                 10/24/2018            12/13/2018         6/11/2018   TTEC
   Swinton                    Damon                    9/24/2018             12/6/2018         3/29/2018   TTEC
   Swygert                    Comyria                 10/22/2018             12/6/2018        10/26/2018   TTEC
   Sykes                      Tori                     9/11/2017             2/27/2019         11/6/2018   TTEC
   Syples                     Kimberly                 6/16/2014              9/8/2016         6/16/2014   TTEC
   Syrotchen                  Jill                     6/25/2018              2/4/2019          1/9/2017   TTEC
   Tabb                       Lloyd                    5/15/2017   Current Employee            5/26/2017   TTEC
   Tabor                      Anthony                  8/27/2018            11/29/2018         8/27/2018   TTEC
   Tabron                     Kameron                 10/23/2017            10/23/2017         11/5/2019   Taleo
   Talavera                   Margaret                 10/2/2017             1/30/2018         10/4/2017   TTEC
   Talbott                    Richard                  7/26/2019              9/5/2019          8/1/2019   TTEC
   Tatum                      Deshawn                  1/15/2018             4/30/2019         1/17/2018   TTEC
   Taylor                     Bryan                    9/17/2018             4/17/2019         9/17/2018   TTEC
   Taylor                     Cycelie                 11/19/2018             6/30/2019        11/28/2018   TTEC
   Taylor                     Deborah                 10/21/2015             4/28/2017        10/19/2018   TTEC
   Taylor                     DeMaya                   10/9/2017            12/22/2017        10/16/2017   TTEC
   Taylor                     Dilla                    10/9/2017            11/13/2017        10/11/2017   TTEC
   Taylor                     Eboni                    10/9/2017             11/2/2018         10/9/2017   TTEC
   Taylor                     Jacob                    5/13/2019              8/5/2019         5/16/2019   TTEC


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                                                                                         Date of               Form of
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                                                                    Employment Status/  Arbitration          Agreement
            Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Taylor                     Janine                   10/9/2017             11/2/2017        10/11/2017   TTEC
   Taylor                     Nicole                   8/28/2017            10/17/2018         8/29/2017   TTEC
   Taylor                     Richard                   6/5/2017             12/4/2018          6/5/2017   TTEC
   Taylor                     Savoris                  5/28/2019   Current Employee            6/26/2019   TTEC
   Taylor                     Shandrea                 5/15/2017              8/1/2017         5/25/2017   TTEC
   Teague                     Ebony                    7/11/2016             7/11/2016        12/12/2017   TTEC
   Teague                     Tiana                    5/30/2017             10/1/2018         5/30/2017   TTEC
   Teasley                    Brittany                 12/3/2015              8/9/2016         12/8/2015   TTEC
   Tedford                    Jonathan                10/23/2017              9/7/2018        11/18/2017   TTEC
   Temples                    Vicki                    8/21/2015            12/20/2016         10/1/2015   TTEC
   Terry                      Amber                     1/7/2019   Current Employee            8/27/2018   TTEC
   Thieme                     Hunter                   9/14/2015             12/5/2016         9/29/2015   TTEC
   Thomas                     Bobbie                   9/18/2017             2/28/2018        10/23/2013   TTEC
   Thomas                     Camille                  10/8/2018             8/17/2019         10/9/2018   TTEC
   Thomas                     Chantell                  7/2/2018             7/12/2019          7/2/2018   TTEC
   Thomas                     Corvina                   7/3/2017             7/12/2017          5/7/2018   TTEC
   Thomas                     Janea                    9/18/2017             11/1/2017         9/18/2017   TTEC
   Thomas                     Janice                   7/15/2019             7/30/2019         1/10/2019   TTEC
   Thomas                     Keyoshia                11/19/2018   Current Employee           11/20/2018   TTEC
   Thomas                     Lexus                     7/9/2018   Current Employee            7/11/2018   TTEC
   Thomas                     Mercede                  3/19/2018              9/8/2019         3/21/2018   TTEC
   Thomas                     Napoleon                 6/18/2018              1/4/2019         6/21/2018   TTEC
   Thomas                     Rossalynn               10/30/2017             4/18/2018        10/31/2017   TTEC
   Thomas                     Sean                    10/23/2017             2/18/2018        10/24/2017   TTEC
   Thomas                     Shyanna                 11/19/2018            11/28/2018        11/19/2018   TTEC
   Thomas                     Theodora                10/23/2018             1/10/2019          1/9/2017   TTEC
   Thompson                   Aubryelle                1/21/2019   Current Employee            1/22/2019   TTEC
   Thompson                   Britney                  7/30/2018             2/12/2019         7/30/2018   TTEC
   Thompson                   Daidrea                 10/23/2017              3/4/2019         11/2/2017   TTEC
   Thompson                   Jacquella                1/12/2019             3/26/2019          9/4/2018   TTEC
   Thompson                   Mark                      9/9/2016              1/6/2017          9/9/2016   TTEC
   Thornton                   Gwendolyn                4/11/2017             5/26/2017        11/23/2015   TTEC
   Thrasher                   Lane                    10/11/2018             6/28/2019        10/11/2018   TTEC
   Thurman                    Evelyn                   6/17/2019             7/23/2019          7/1/2019   TTEC
   Thurn                      Renee                    12/2/2013            11/12/2018         12/2/2013   TTEC
   Tidwell                    William                   8/5/2019   Current Employee            8/16/2019   TTEC
   Times                      Natalia                  7/29/2019   Current Employee            7/23/2019   Taleo
   Tims                       Micaela                  7/30/2018             8/14/2018         7/30/2018   TTEC
   Tipton                     Christian               11/30/2017   Current Employee            12/1/2017   TTEC
   Tirri                      Paul                     8/26/2019   Current Employee            8/23/2019   Taleo
   Tobias                     Keisha                   5/15/2017             8/31/2017         5/24/2017   TTEC
   Todd                       Felicia                  11/5/2018             8/19/2019         11/6/2018   TTEC
   Tolliver                   Samuel                    9/5/2017             6/15/2018          9/5/2017   TTEC
   Tomlinson                  Jelena                    9/8/2014              7/7/2016          9/9/2014   TTEC
   Toney                      Terrisha                10/15/2018             4/30/2019        11/13/2018   TTEC
   Tooley                     Martin                   9/16/2019   Current Employee           12/20/2017   TTEC
   Toombs                     Octavia                  8/21/2015            10/24/2016         8/15/2014   TTEC


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                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
            Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Toomer                     Sean                     10/8/2018              1/8/2019         10/8/2018   TTEC
   Torres                     Amber                    9/24/2018             11/8/2018         9/28/2018   TTEC
   Torres                     Elias                    7/31/2017              8/3/2017         11/6/2017   TTEC
   Torres                     Hector                   8/16/2018             10/4/2018         8/16/2018   TTEC
   Torres                     Jessica                 11/19/2018            12/12/2018         2/19/2018   TTEC
   Torres                     Linda                     3/4/2019   Current Employee             8/7/2018   TTEC
   Torrez                     Anthony                  7/31/2017             6/18/2019          8/2/2017   TTEC
   Towner                     Dameka                   7/18/2019   Current Employee           12/27/2018   TTEC
   Townsend                   Jessica                   5/6/2019             5/28/2019        11/26/2018   TTEC
   Townsend                   Myesha                   7/22/2019   Current Employee            7/22/2019   TTEC
   Townsend                   Stephanie                 8/6/2018            12/10/2018          8/6/2018   TTEC
   Toy                        Sean                      1/7/2019              4/2/2019         7/23/2018   TTEC
   Traxler                    Amanda                  10/11/2018             9/13/2019        10/12/2018   TTEC
   Trejo                      Rachelle                  9/1/2016              3/3/2017          3/7/2016   TTEC
   Treleven-Pendergast        Charmaine               10/29/2018             7/22/2019        10/29/2018   TTEC
   Tripp                      DeAnna                   7/17/2017             9/11/2017         7/20/2017   TTEC
   Tripplett                  Sherry                   5/28/2019   Current Employee            4/13/2017   TTEC
   Tripp-White                Patricia                11/19/2018            12/31/2018        11/26/2018   TTEC
   Triumph                    Eudel                    3/19/2018              8/1/2019         3/21/2018   TTEC
   Triumph                    Isaiah                    1/8/2018             6/18/2018          1/8/2018   TTEC
   Triumph-Yearwood           Monica                   3/26/2018             8/12/2019         3/30/2018   TTEC
   Trojacek                   Jessica                   3/6/2017              5/1/2017         10/6/2014   TTEC
   Trotman                    Shannon                  8/21/2017             4/16/2018        12/20/2019   Taleo
   Truesdale                  Charmin                  6/26/2017   Current Employee            6/27/2017   TTEC
   Trulock                    Stephanie               11/12/2018   Current Employee           11/12/2018   TTEC
   Trutter                    Gloria                   9/18/2017             7/19/2018         9/19/2017   TTEC
   Tucciarone                 Louis                   12/28/2015             8/21/2018        10/25/2016   TTEC
   Tucker                     April                   10/19/2015            11/11/2016        10/20/2015   TTEC
   Tucker Pelt                Cathy                     1/9/2017            12/12/2017         1/11/2017   TTEC
   Tullis                     Kadaja                  11/11/2017             8/12/2018        11/11/2017   TTEC
   Tumbleson                  Saxon                    8/20/2018             5/24/2019        10/23/2017   TTEC
   Turley-Johnson             Rhonda                  10/15/2018            12/10/2018         11/8/2018   TTEC
   Turner                     Britney                   5/9/2018             7/19/2018         5/21/2018   TTEC
   Turner                     Dennis                   6/12/2017             8/14/2017          1/3/2017   TTEC
   Turner                     Jerusha                  5/15/2017   Current Employee             6/8/2017   TTEC
   Turner                     John                     7/24/2017   Current Employee            7/28/2017   TTEC
   Tyler                      Kewona                   1/15/2018             8/20/2018         1/15/2018   TTEC
   Tyner                      Kimetra                  3/24/2014              7/2/2019         4/10/2019   TTEC
   Tyroch                     Brandi                   9/11/2017             12/9/2018         9/27/2017   TTEC
   Tyson                      Latasha                  8/29/2019             8/29/2019         8/16/2019   Taleo
   Ullysse                    Stephanie                9/18/2017              3/8/2018         9/18/2017   TTEC
   Upchurch                   Shawna                   8/21/2017             3/15/2019         8/21/2017   TTEC
   Utley                      Lori                     10/6/2018            12/11/2018         8/29/2017   TTEC
   Vail                       Samantha                 8/13/2018             1/17/2019          9/4/2018   TTEC
   Valdez                     David                    10/8/2018             8/16/2019         10/9/2018   TTEC
   Vance                      Alex                     5/27/2019             6/10/2019         5/30/2019   TTEC
   Vance                      Kimberely                 7/2/2018             9/19/2019         5/19/2017   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
            Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
   VanClief                   Shaina                  11/12/2018              5/8/2019        11/15/2018   TTEC
   Vandehey II                Michael                  7/30/2018              8/6/2019         7/30/2018   TTEC
   Vandenberg                 Emily                    10/2/2017            10/11/2017         10/2/2017   TTEC
   Vanderhorst                Ravonda                 11/27/2017             9/14/2018        11/27/2017   TTEC
   Vanterpool                 Chenel                  10/30/2017              1/8/2018         11/3/2017   TTEC
   Vaquera                    Debra                    9/24/2018             6/24/2019         9/28/2018   TTEC
   Varela                     Andrea                    9/9/2016              2/1/2017          9/9/2016   TTEC
   Vargas                     Katherine                5/13/2019              7/2/2019         5/13/2019   TTEC
   Vargas                     Marquis                  8/27/2018            12/17/2018         8/27/2018   TTEC
   Vasanjee                   Kishore                   6/5/2017   Current Employee            1/10/2018   TTEC
   Vasquez                    Mercedes                 6/26/2017             10/2/2017         6/26/2017   TTEC
   Vaughn                     Dora                    11/28/2016              7/5/2017        11/29/2016   TTEC
   Velasquez                  Rique                     5/8/2017             7/19/2017         5/26/2017   TTEC
   Velasquez                  Tracy                   10/23/2017              9/7/2019        10/26/2017   TTEC
   Venable                    Yasmine                   7/2/2018            12/10/2018        11/29/2017   TTEC
   Ventura                    Cecilia                  8/20/2018              9/6/2019         8/27/2018   TTEC
   Ventura                    Frances                  8/26/2016             8/26/2016         9/19/2014   TTEC
   Ventura                    Gisel                    8/27/2018             8/10/2019         8/27/2018   TTEC
   Vereen                     Chiquita                 8/13/2018            12/11/2018         9/22/2018   TTEC
   Verissimo                  Jessica                 10/23/2017             3/13/2018        10/23/2017   TTEC
   Vermeersch                 Aden                      3/6/2014             2/22/2017          3/6/2014   TTEC
   Vidija                     Lindah                   8/26/2019             8/26/2019          8/8/2019   Taleo
   Viecco                     Rocio                    5/15/2017   Current Employee            5/19/2017   TTEC
   Vigo                       Grisselle                6/22/2018            12/27/2018         1/16/2018   TTEC
   Villagomez                 DeAnna                   10/8/2018              7/7/2019        10/31/2018   TTEC
   Villalba                   Daynara                  8/17/2017             8/25/2017         1/14/2017   TTEC
   Villaluz                   Jennifer                 9/18/2017             11/8/2017         9/18/2017   TTEC
   Villarreal                 Jennifer                 4/23/2018             8/22/2018          5/8/2018   TTEC
   Vinson                     Latasha                  5/15/2017              6/5/2017         5/19/2017   TTEC
   Volfson                    Boris                    10/2/2017             4/10/2018        10/20/2017   TTEC
   Wade                       Ayanna                   9/17/2018             4/30/2019          1/3/2018   TTEC
   Wade                       Kwataje                  9/18/2017             12/6/2017         10/7/2016   TTEC
   Waggoner                   Deborah                  3/19/2018              6/5/2019         3/21/2018   TTEC
   Waisanen                   Mildred                  5/15/2017   Current Employee             6/6/2017   TTEC
   Walden                     Deanna                   8/20/2018             8/20/2018         10/2/2017   TTEC
   Walker                     Eden                     10/2/2017            12/28/2017         10/2/2017   TTEC
   Walker                     Jayvia                   9/24/2018            11/13/2018         9/26/2018   TTEC
   Walker                     Kathy                    6/17/2019             8/27/2019         6/19/2019   TTEC
   Walker                     Lindsey                  8/26/2016            12/28/2016         9/15/2014   TTEC
   Walker                     Luciana                 11/26/2018   Current Employee           11/26/2018   TTEC
   Walker                     Michelle                 1/21/2019             1/21/2019         7/24/2017   TTEC
   Walker                     Otis                    11/16/2017             11/8/2018        11/21/2017   TTEC
   Walker                     Samella                   9/4/2018   Current Employee             9/4/2018   TTEC
   Walker-Morton              Shanequa                 5/15/2017            10/13/2017         5/25/2017   TTEC
   Wallace                    Yolanda                 11/30/2017              1/5/2018         12/1/2017   TTEC
   Waller                     Kendall                  9/21/2017             1/16/2018         9/26/2017   TTEC
   Walls                      Tammy                    8/24/2018              6/4/2019         8/29/2018   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
           Last Name             First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Walsh                      Casey                    4/15/2019             9/17/2019         4/15/2019   TTEC
   Walsh                      Renae                   10/30/2017   Current Employee           10/31/2017   TTEC
   Walton                     Tovita                   8/26/2016            12/28/2016        10/20/2014   TTEC
   Wardlaw                    Tawny                    11/6/2017   Current Employee            11/6/2017   TTEC
   Ware                       Alessa                    5/7/2018              3/5/2019          5/8/2018   TTEC
   Ware                       Tanzania                 5/21/2018             6/14/2018         5/23/2018   TTEC
   Warren                     Latricia                 2/19/2018             3/15/2019         2/20/2018   TTEC
   Warren                     Sheena                   8/27/2018            11/26/2018         8/27/2018   TTEC
   Warthen                    Arnetta                  8/28/2017             9/12/2018         8/28/2017   TTEC
   Washington                 Amber                    11/6/2017            11/15/2017         7/30/2018   TTEC
   Washington                 Cassandra                7/22/2016             8/30/2016         7/22/2016   TTEC
   Washington                 Jenevia                  5/15/2017             2/24/2018         5/19/2017   TTEC
   Washington                 Jossie                   9/26/2018             12/9/2018        10/16/2018   TTEC
   Washington                 Michelle                 7/23/2018              9/3/2018         7/23/2018   TTEC
   Washington                 Morgan                   7/10/2017             12/4/2018         8/11/2017   TTEC
   Washington                 Shavon                   7/30/2018              5/5/2019         7/31/2018   TTEC
   Waters                     Audrey                  11/27/2017             2/26/2018        11/27/2017   TTEC
   Watkins                    Sophia                   6/11/2018             4/19/2019         6/12/2018   TTEC
   Watson                     Jessica                  2/13/2017             4/21/2017         2/14/2017   TTEC
   Watson                     Opal                      9/9/2017             11/6/2018        12/14/2017   TTEC
   Watson                     Sarah                    12/8/2014             4/25/2017        12/11/2014   TTEC
   Watson                     Tywan                    5/21/2018             10/1/2018         5/21/2018   TTEC
   Weaver                     Ray                      10/9/2017             1/16/2018        10/24/2017   TTEC
   Webb                       Gwendolyn               10/24/2018             1/17/2019        11/15/2018   TTEC
   Webb                       Jaleesha                 9/12/2016            12/21/2016          9/5/2017   TTEC
   Welch                      Tekeisha                  5/9/2018              5/9/2018        10/27/2014   TTEC
   Wellington                 Yvonne                  11/10/2014            10/18/2016        11/11/2014   TTEC
   Wells                      Chasity                 12/19/2017             2/26/2018        12/27/2017   TTEC
   Wells                      Gloria                  11/17/2017              5/4/2018        11/22/2017   TTEC
   Wells                      Rebecca                  4/22/2019              6/6/2019         4/23/2019   TTEC
   Wells                      Ruby                     12/6/2018              6/3/2019        12/19/2018   TTEC
   Wesley                     Chelsa                   8/12/2019   Current Employee             9/9/2019   TTEC
   Wesley                     Laprescious              5/15/2017            12/31/2017         5/25/2017   TTEC
   West                       Deirdre                  8/21/2017            12/11/2017         8/30/2019   Taleo
   West                       Helen                    8/19/2019   Current Employee            8/13/2019   Taleo
   West                       Wendy                    9/20/2019   Current Employee            8/16/2018   TTEC
   Whatley                    Alicia                  10/16/2017              2/2/2018        10/16/2017   Revana
   White                      Damika                   8/14/2017             7/10/2018         8/17/2017   TTEC
   White                      Danielle                 3/11/2019             4/19/2019         3/12/2019   TTEC
   White                      Darlene                 10/25/2016              4/3/2017        10/25/2016   TTEC
   White                      Elisha                   8/27/2018             10/5/2018         8/27/2018   TTEC
   White                      Justin                   8/14/2017              4/3/2018         9/20/2017   TTEC
   White                      Lapasha                 11/13/2018            11/13/2018         8/26/2014   TTEC
   White                      LaTeisha                 5/15/2017             4/22/2019         5/23/2017   TTEC
   White                      LaTorria                 10/2/2017   Current Employee            10/4/2017   TTEC
   White                      Shaneeka                 6/19/2017              7/6/2017         6/20/2017   TTEC
   White                      Sheryl                   11/6/2017             4/30/2019         11/7/2017   TTEC


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                                                                                         Date of               Form of
                                                                                       Acceptance:           Arbitration
                                                                    Employment Status/  Arbitration          Agreement
             Last Name           First Name        Date of Hire    Assignment End Date Agreement              Accepted
   White                      Wilda                     1/3/2017             4/20/2017          1/4/2017   TTEC
   White                      Zowie                     9/4/2015              6/2/2017          9/4/2015   TTEC
   Whiting-Polin              Dana                     10/2/2017             5/19/2018          9/5/2019   TTEC
   Whitley                    Jessica                  10/9/2017              3/4/2019        10/24/2017   TTEC
   Whittaker                  Sara                    10/16/2017              8/2/2018        10/17/2017   TTEC
   Widener                    Olivia                    9/1/2014             1/26/2018          9/2/2014   TTEC
   Widger                     Pennie                   8/26/2016             7/21/2017         8/28/2016   TTEC
   Wiggam                     Christopher               4/1/2019              5/6/2019         7/24/2017   TTEC
   Wiggins                    Ebony                    10/8/2018             3/27/2019          1/4/2019   TTEC
   Wilcox                     Christy                   8/6/2018             8/14/2019          8/7/2018   TTEC
   Wilford                    Jamie                     4/1/2019             9/20/2019          4/2/2019   TTEC
   Wilhite                    Deania                  11/27/2017              7/3/2018        11/27/2017   TTEC
   Willems                    Janet                   11/13/2017             2/15/2018        12/26/2017   TTEC
   Williams                   Capri                    3/11/2019             3/26/2019         3/13/2019   TTEC
   Williams                   Carla                    1/15/2018   Current Employee            1/15/2018   TTEC
   Williams                   Chasity                  8/28/2017             3/18/2019         8/28/2017   TTEC
   Williams                   Chrisha                   4/2/2018   Current Employee             4/2/2018   Revana
   Williams                   Cyasia                   12/4/2017             2/16/2018         12/5/2017   TTEC
   Williams                   Deidrianna              10/15/2018             4/30/2019        10/15/2018   TTEC
   Williams                   Diane                    3/26/2018   Current Employee            3/29/2018   TTEC
   Williams                   Jelesia                   7/1/2019   Current Employee            10/9/2017   TTEC
   Williams                   Katieleigh              10/22/2018             1/11/2019         11/8/2018   TTEC
   Williams                   Ladrea                   10/8/2018             4/30/2019         10/8/2018   TTEC
   Williams                   Lakesha                 10/13/2017             11/7/2017        10/19/2017   TTEC
   Williams                   Latasha                  6/10/2019   Current Employee            7/15/2019   TTEC
   Williams                   LaToya                  10/29/2018            10/31/2018        10/30/2018   TTEC
   Williams                   Lia                      9/17/2018             9/18/2018         9/19/2018   TTEC
   Williams                   Linda                   11/25/2013             5/16/2017         6/20/2018   TTEC
   Williams                   Lucretia                  8/5/2019   Current Employee             9/9/2019   TTEC
   Williams                   Marissa                  6/26/2017             7/10/2017         6/27/2017   TTEC
   Williams                   Melissa                 11/19/2018             1/16/2019        11/26/2018   TTEC
   Williams                   Pamela                   9/10/2018             6/17/2019        10/29/2018   TTEC
   Williams                   Quashema                10/10/2018   Current Employee             7/3/2019   TTEC
   Williams                   Rachel                  10/22/2018            12/15/2018        10/24/2018   TTEC
   Williams                   Raquel                    8/5/2016            12/15/2016          8/8/2016   TTEC
   Williams                   Rochelle                 5/30/2017              9/7/2017         7/20/2015   TTEC
   Williams                   Sonya                   10/20/2017             6/12/2018        10/27/2017   TTEC
   Williams                   Sureena                   8/7/2017             2/26/2019         8/15/2017   TTEC
   Williams                   Teaira                   11/6/2017             11/6/2017         11/6/2017   TTEC
   Williams                   Tquan                     1/8/2018              5/3/2018          1/8/2018   TTEC
   Williams                   Tuajuanna                 8/7/2017              8/7/2017         8/11/2017   TTEC
   Williams                   Tyesha                   7/30/2018             9/24/2018         7/30/2018   TTEC
   Williamson                 Melissa                 10/22/2018             2/13/2019        10/25/2018   TTEC
   Williamson                 Todd                    10/30/2017             5/21/2018        10/30/2017   TTEC
   Willis III                 Benjamin                12/10/2018             2/13/2019        12/10/2018   TTEC
   Wilmoth                    Casey                    9/17/2018             9/23/2019         10/5/2018   TTEC
   Wilson                     Adena                    8/26/2016             1/30/2017         8/26/2016   TTEC


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            Last Name            First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Wilson                     Alexandria              11/12/2018             6/17/2019        11/13/2018   TTEC
   Wilson                     Ebony                    7/24/2017   Current Employee            7/25/2017   TTEC
   Wilson                     Ethelean                10/24/2018            11/12/2018        10/31/2018   TTEC
   Wilson                     Faith                     3/5/2018             9/16/2019          3/9/2018   TTEC
   Wilson                     Manessa                 10/29/2018             5/11/2019         11/5/2018   TTEC
   Wilson                     Martez                   8/14/2017             8/14/2017         11/6/2017   TTEC
   Wilson                     Nakia                    5/15/2017             1/18/2018         5/25/2017   TTEC
   Wilson                     Shamaya                  8/19/2019   Current Employee            8/19/2019   TTEC
   Wilson                     Tarquse                  5/15/2017   Current Employee            5/24/2017   TTEC
   Wilson                     Teresa                  11/12/2018   Current Employee           11/12/2018   TTEC
   Wilson                     Tiffany                   8/6/2018            10/24/2018         9/13/2018   TTEC
   Wilson                     Verla                    4/23/2018              5/8/2018         4/24/2018   TTEC
   Wilson                     Wenona                   3/23/2017             6/12/2017         3/27/2017   TTEC
   Wiltsie                    Marguerite               8/14/2017             1/10/2018         8/14/2017   TTEC
   Winegar                    Kristen                  9/20/2017             1/11/2018         9/25/2017   TTEC
   Wingate                    Sherall                  8/14/2017             11/9/2017         8/17/2017   TTEC
   Winston                    Freda                    6/19/2017              8/3/2017         6/21/2017   TTEC
   Winston                    Patricia                 7/24/2017              8/4/2017         7/25/2017   TTEC
   Winthrop                   Arthur                   8/22/2016             4/29/2018        12/11/2017   TTEC
   Wise                       Jeffrey                  10/2/2017              5/4/2018         10/3/2017   TTEC
   Wise                       Tarsha                  10/29/2018             8/14/2019          3/7/2019   TTEC
   Witvliet                   Katya                    8/13/2018              5/3/2019          4/2/2018   TTEC
   Woffard                    Joeann                  12/19/2016             2/18/2017         5/17/2017   TTEC
   Wofford                    Lisa                     7/31/2017             9/20/2019          8/2/2017   TTEC
   Wonsley                    Jerode                   6/27/2017             9/14/2017         6/27/2017   TTEC
   Woodberry                  Muriel                   5/15/2017             11/1/2017         5/26/2017   TTEC
   Woods                      Julissa                  3/27/2019             8/26/2019          4/2/2019   TTEC
   Woods                      Misty                     1/7/2019   Current Employee            9/26/2017   TTEC
   Woodson                    Geraldine               11/26/2018             12/7/2018        11/26/2018   TTEC
   Woolridge                  Rachel                   6/24/2019   Current Employee            6/24/2019   TTEC
   Worthy                     Kieshay                   9/4/2015            10/13/2016          9/7/2015   TTEC
   Wrenfro                    Beverly                 10/22/2018            11/30/2018        10/26/2018   TTEC
   Wright                     Aaliyah                 10/22/2018   Current Employee           10/25/2018   TTEC
   Wright                     Charolett               10/11/2018             6/10/2019        10/11/2018   TTEC
   Wright                     Gizelle                 10/10/2018   Current Employee           10/13/2014   TTEC
   Wright                     Ida                     10/25/2017            10/25/2017         9/24/2018   TTEC
   Wright                     Lashataya                 9/9/2019              9/9/2019         8/26/2019   Taleo
   Wright                     Margaretta               5/22/2017             7/10/2017         5/25/2017   TTEC
   Wright                     Mariann                 11/13/2018   Current Employee            3/27/2019   TTEC
   Wright                     Megan                   10/14/2016             7/19/2017         7/29/2013   TTEC
   Wright                     Sawayla                  12/4/2017             6/22/2018         12/5/2017   TTEC
   Wright                     Steven                   1/30/2017            12/26/2017          2/6/2017   TTEC
   Wright                     Tai                      12/4/2017             5/17/2019         12/5/2017   TTEC
   Wright                     Tierra                  10/23/2017            12/20/2017        10/25/2017   TTEC
   Wright                     Veronica                 5/15/2017              8/4/2017         5/25/2017   TTEC
   Wykoff                     RoxaL.                   8/26/2019   Current Employee           12/11/2017   TTEC
   Wynn                       Aiesha                   9/18/2017             9/18/2017        11/20/2017   TTEC


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                                                                    Employment Status/  Arbitration          Agreement
          Last Name              First Name        Date of Hire    Assignment End Date Agreement              Accepted
   Yarbrough                  Natasha                 10/21/2016            12/15/2016        10/21/2016   TTEC
   Yawson                     Bobbie                    2/4/2019              3/6/2019          8/7/2018   TTEC
   Ybarra-Adrian              Celia                    7/18/2019   Current Employee            7/24/2019   TTEC
   Yeast                      Emily                    10/6/2017            10/23/2017        10/11/2017   TTEC
   York                       Terri                    8/14/2017   Current Employee            6/17/2016   TTEC
   Young                      Altavia                   8/6/2018              9/5/2018          8/6/2018   TTEC
   Young                      Janice                   11/5/2018             3/29/2019         11/5/2018   TTEC
   Young                      Kashawn                  3/26/2018            11/14/2018         3/26/2018   TTEC
   Young                      Yolanda                 10/23/2017            12/26/2018        10/23/2017   TTEC
   Zachery                    Katrina                   8/7/2017             9/29/2017          8/7/2017   TTEC
   Zamora                     Stephanie                8/19/2019   Current Employee            8/19/2019   TTEC
   Zanhour                    Rana                     12/3/2018              6/4/2019         12/6/2018   TTEC
   Zapata                     Demitryce                8/12/2019   Current Employee            7/31/2017   TTEC
   Zapata                     Demitryce                8/12/2019   Current Employee            7/31/2017   TTEC
   Zepeda                     Miguel                   10/1/2018             1/14/2019         10/1/2018   TTEC
   Zimmerman                  Calvin                    9/2/2016              2/4/2017          9/2/2016   TTEC
   Zisman                     Dayna                   11/19/2018            11/30/2018        11/28/2018   TTEC
   Zito                       Carol                    5/15/2017             8/28/2017         5/23/2017   TTEC
   Zlupko                     Jason                    1/13/2014            12/26/2017        10/25/2017   TTEC




   Certain individuals who opted into this lawsuit have names that appear in TTEC's database multiple times. Those marked
   with an asterisk refer to one filed opt-in consent form.

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